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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


                                                           §
In re:                                                     § Chapter 11
                                                           §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                         § Case No. 19-34054-sgj11
                                                           §
                                   Reorganized Debtor.     §
                                                           §




                                MOTION FOR LEAVE TO FILE PROCEEDING




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                          MOTION FOR LEAVE TO FILE PROCEEDING

         Movants The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain Investment

Trust (“Hunter Mountain” and collectively with Dugaboy, “Movants”) file this Motion for Leave

to File Proceeding.

                                SUMMARY AND STATEMENT OF FACTS1

         1.       Movants file this Motion for Leave to File Proceeding (the “Motion for Leave”) out

of an abundance of caution in light of the gatekeeper injunction (the “Gatekeeper Provision”)

contained in the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (as

Modified) (“Plan”) confirmed by order of this Court on February 22, 2021, § AA & Ex. A, Article

IX.F [Dkt. No.1950]. Specifically, Movants seek an order from the Court finding that the

Gatekeeper Provision is inapplicable to the proposed proceeding (the “Valuation Proceeding”) to

be commenced by Movants in this Court, or that the requisite standard is met.

         2.       The Valuation Proceeding largely seeks the same relief previously sought by

Movants through motion practice. In particular, the Valuation Proceeding seeks information

regarding the value of the estate, including the assets and liabilities of the Highland Claimant Trust

(the “Claimant Trust”) and related determinations by the Court. On December 6, 2022, the Court

ordered Movants to seek the relief previously sought by motion practice through an adversary

proceeding [Dkt. No. 3645]. As a result, Movants are required to name Highland Capital

Management, L.P. (“HCMLP” or "Debtor") and the Highland Claimant Trust (the “Claimant

Trust”) as defendants in the Valuation Proceeding, notwithstanding that what Movants are really




1
 Movants incorporate the facts alleged in their proposed Complaint To (I) Compel Disclosures About The Assets Of
The Highland Claimant Trust And (II) Determine (A) Relative Value Of Those Assets, And (B) Nature Of Plaintiffs'
Interests In The Claimant Tru[st ("Proposed Complaint" or "Valuation Complaint"), annexed hereto as Exhibit A.

                                                       1
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seeking is information from HCMLP and the Claimant Trust. Under the circumstances, Movants

believe their Valuation Proceeding should fall outside of the Gatekeeper Provision.

         3.       However, if the Court determines that the Gatekeeper Provision applies to the

Valuation Proceeding, Movants seek an order determining that the Valuation Proceeding presents

a “colorable claim” within the meaning of the Gatekeeper Provision and should be allowed.

         4.       As holders of Contingent Claimant Trust Interests2 that vest into Claimant Trust

Interests once all creditors are paid in full, and as defendants in litigation pursued by Marc S.

Kirschner (“Kirschner”) as Trustee of the Litigation Sub-Trust (which seeks to recover damages

on behalf of the Claimant Trust), Movants need to file the Valuation Proceeding in an effort to

obtain information about the assets and liabilities of the Claimant Trust established to liquidate the

assets of the HCMLP bankruptcy estate.

         5.       HCMLP’s October 21, 2022 and January 24, 2023 post-confirmation reports show

that, even with inflated claims and below market sales of assets, cash available is likely more than

enough to pay class 8 and class 9 creditors 100 cents on the dollar. Accordingly, Movants and the

entire estate would benefit from a close evaluation of current assets and liabilities. Such evaluation

will also show whether assets were marked below appraised value during the pandemic and

unreasonably held on the books at those values, along with overstated liabilities, to justify

continued litigation. That litigation serves to enable James P. Seery (“Mr. Seery”) and other estate

professionals to carefully extract nearly every last dollar out of the estate with (along with incentive

fees), leaving little or nothing for the owners that built the company.

         6.       While grave harm has already been done, valuation now would at least enable the

Court to put an end to this already long-running case and salvage some value for equity. As this


2
  Capitalized terms not defined have the meanings set forth herein. If no meaning is set forth herein, the terms have
the meaning set forth in the Fifth Amended Plan of Reorganization (as Modified) [Dkt. No. 1808].

                                                         2
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Court observed in the In re ADPT DFW Holdings case, where there is significant uncertainty about

insolvency, protections must be put in place so that the conduct of the case itself does not deplete

the equity. In some cases, the protection is in the form of an equity committee; here, a prompt

valuation of the estate would serve the same purpose and is needed.

         7.       As set forth in greater detail in the annexed complaint (“Valuation Complaint”),

upon information and belief, during the pendency of HCMLP’s bankruptcy proceedings, creditor

claims and estate assets have been sold in a manner that fails to maximize the potential return to

the estate, including Movants. Rather, Mr. Seery, first acting as Chief Executive Officer and Chief

Restructuring Officer of the Debtor and then as the Claimant Trustee, facilitated the sale of creditor

claims to entities with undisclosed business relationships with Mr. Seery who would then be

inclined to approve inflated compensation when the hidden but true value of the estate’s assets was

realized. Because Mr. Seery and the Debtor have failed to operate the estate in the required

transparent manner, they have been able to justify pursuit of unnecessary avoidance actions (for

the benefit of the professionals involved), even though the assets of the estate, if managed in good

faith, should be sufficient to pay all creditors.

         8.       Further, by understating the value of the estate and preventing open and robust

scrutiny of sales of the estate’s assets, Mr. Seery and the Debtor have been able to justify actions

to further marginalize equity holders that otherwise would be in the money, such as including plan

and trust provisions that disenfranchise equity holders by preventing them from having any input

or information unless the Claimant Trustee certifies that all other interest holders have been paid

in full. Because of the lack of transparency to date, unless Movants are allowed to proceed, there

will be no checks and balances to prevent a wrongful failure to certify, much less any process to




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ensure that the estate has been managed in good faith so as to enable all interest holders, including

the much-maligned equity holders, to receive their due.

           9.       On the petition date, the estate had over $550 million in assets, with far less in in

non-disputed non-contingent liabilities.

           10.      By June 30, 2022, the estate had $550 million in cash and approximately $120

million of other assets despite paying what appears in reports to be over $60 million in professional

fees and selling assets non-competitively, on information and belief, at least $75 million below

market price.3

           11.      On information and belief, the value of the assets in the estate as of June 1, 2022,

was as follows:

                 Highland Capital Assets                                            Value in Millions

                                                                                  Low                   High
       Cash as of Feb 1. 2022                                                       $125.00              $125.00
       Recently Liquidated                                      $246.30
          Highland Select Equity                                 $55.00
          Highland MultiStrat Credit Fund                        $51.44
          MGM Shares                                             $26.00
          Portion of HCLOF                                       $37.50
       Total of Recent Liquidations                             $416.24              $416.24              $416.24
    Current Cash Balance                                                             $541.24              $541.24

       Remaining Assets
            Highland CLO Funding, LTD                                                 $37.50               $37.50
            Korea Fund                                                                $18.00               $18.00
            SE Multifamily                                                            $11.98               $12.10
            Affiliate Notes4                                                          $50.00               $60.00
            Other (Misc. and legal)                                                    $5.00               $20.00
    Total (Current Cash + Remaining                                                  $663.72              $688.84
    Assets)




3
    Additional detail in the Valuation Complaint and its exhibits.
4
    Some of the Affiliate Notes should have been forgiven as of the MGM sale, but litigation continues over that also.

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         12.      By June 2022, Mr. Seery had also engineered settlements making the inflated face

amount of the major claims against the estate $365 million, but which traded for significantly less.

   Creditor              Class 8          Class 9       Beneficiary               Purchase Price
   Redeemer              $137.0           $0.0          Claim buyer 1             $65 million
   ACIS                  $23.0            $0.0          Claim buyer 2             $8.0
   HarbourVest           $45.0            $35.0         Claim buyer 2             $27.0
   UBS                   $65.0            $60.0         Claim buyers 1 & 2        $50.0
   TOTAL                 $270.0           $95.0                                   $150.0 million

         13.      On information and belied, Mr. Seery made no efforts to buy the claims into the

estate or resolve the estate efficiently. Mr. Seery never made a proposal to the residual holders or

Mr. Dondero and never responded with a reorganization plan to the many settlement offers from

Mr. Dondero, even though many of Mr. Dondero’s offers were in excess of the amounts paid by

the claims buyers.

         14.      Instead, it appears that Mr. Seery brokered transactions enabling colleagues with

long-standing but undisclosed business relationships to buy the claims without the knowledge or

approval of the Court. Because the claims sellers were on the creditors committee, Mr. Seery and

those creditors had been notified that “Creditors wishing to serve as fiduciaries on any official

committee are advised that they may not purchase, sell or otherwise trade in or transfer claims

against the Debtor while they are committee members absent an order of the Court.” Making the

transactions particularly suspect is the fact that the claims buyers paid amounts equivalent to the

value the Plan estimated would be paid three years’ hence. Sophisticated buyers would not pay

what appeared to be full price unless they had material non-public information that the claims

could and would be monetized for much more than the public estimates made at the time of Plan

confirmation – as indeed they have been.

         15.      On information and belief, Mr. Seery provided such information to claims buyers

rather than buying the claims in to the estate for the roughly $150 million for which they were sold.

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By May 2021, when the claims transfers were announced to the Court, the estate had over 100 million

in cash and access to additional liquidity to retire the claims for the sale amounts, leaving an operating

business in the hands of its equity owners.

         16.      Specifically, Mr. Seery could and should have investigated seeking sufficient funds

from equity to pay all claims and return the estate to the equity holders. This was an obvious path

because the estate had assets sufficient to support a line of credit for $59 million, as Mr. Seery

eventually obtained. If funds had been raised to pay creditors in the amounts for which claims were

sold, much of the massive administrative costs run up by the estate would never have been

incurred. One such avoided cost would be the post effective date litigation now pursued by Marc

S. Kirschner, as Litigation Trustee for the Litigation Sub-Trust, whose professionals likely charge

over $2000 an hour for senior lawyers and over $800 an hour for first year associates (data obtained

from other cases because, of course, there has been no disclosure in the HCMLP bankruptcy of the

cost of the Kirschner litigation). But buying in the claims to resolve the bankruptcy and enabling

equity to resume operations would not have had the critical benefit to Mr. Seery that his scheme

contained: placing the decision on his incentive bonus, perhaps as much as $30 million, in the

hands of grateful business colleagues who received outsized rewards for the claims they were

steered into buying. The parameters of Mr. Seery’s incentive compensation is yet another item

cloaked in secrecy, contrary to the general rule that the hallmark of the bankruptcy process is

transparency.

         17.      But worse still, even with all of the manipulation that appears to have occurred,

Movants believe that the combination of cash and other assets held by the Claimant Trust in its

own name and held in various funds, reserve accounts, and subsidiaries, if not depleted by




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unnecessary litigation would be sufficient to pay all Claimant Trust Beneficiaries in full, with

interest, now.

         18.      In short, it appears that the professionals representing HCMLP, the Claimant Trust,

and the Litigation Sub-Trust are litigating claims against Movants and others, even though the only

beneficiaries of any recovery from such litigation would be Movants in this adversary proceeding

(and of course the professionals pressing the claims). It is only the cost of the pursuit of those

claims that threatens to depress the value of the Claimant Trust sufficiently to justify continued

pursuit of the claims, creating a vicious cycle geared only to enrich the professionals, including

Mr. Seery, and to strip equity of any meaningful recovery.

         19.      Based upon the restrictions imposed on Movants including the unprecedented

inability for Plaintiffs, as holders of Contingent Claimant Trust Interests, to access virtually any

financial information related to the Claimant Trust, Movants have little to no insight into the value

of the Claimant Trust assets versus the Claimant Trust’s obligations and no method to

independently ascertain those amounts until Movants become Claimant Trust Beneficiaries.

Because Mr. Seery and the professionals benefiting from Mr. Seery’s actions have ensured that

Movants are in the dark regarding the estate’s assets and liabilities, as well as the estate’s

professional and incentive fees that are rapidly depleting the estate, there is a compelling need for

the relief sought herein.

         20.      Movants are seeking transparency about the assets currently held in the Claimant

Trust and their value—information that would ultimately benefit all creditors and parties-in-

interest by moving forward the administration of the Bankruptcy Case.




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                                            ARGUMENT

A.       The Gatekeeper Provision.

         21.      The Debtor’s Plan includes a Gatekeeper Provision, limiting how claims can be

asserted against Protected Parties (Plan, § AA & Ex. A, Article IX.F), such as the reorganized

Debtor and the Claimant Trust. Plan Ex. A, Article I.B, ¶ 105.

         22.      Under the Debtor’s Plan confirmed by this Court, an “Enjoined Party” may not:

         [C]ommence or pursue a claim or cause of action of any kind against any Protected Party
that arises from or is related to the Chapter 11 Case, the negotiation of the Plan, the administration
of the Plan or property to be distributed under the Plan, the wind down of the business of the
Debtor or Reorganized Debtor, the administration of the Claimant Trust or the Litigation Sub-
Trust, or the transactions in furtherance of the foregoing without the Bankruptcy Court (i) first
determining, after notice and a hearing, that such claim or cause of action represents a colorable
claim of any kind . . . against a Protected Party and (ii) specifically authorizing such Enjoined
Party to bring such claim or cause of action against any such Protected Party.

         Plan, § AA & Ex. A, Article IX.F.

         23.      The Plan defines the term “Enjoined Party” to include “all Entities who have held,

hold, or may hold Claims against or Equity Interests in the Debtor”, “any Entity that has appeared

and/or filed any motion, objection, or other pleading in this Chapter 11 Case regardless of the

capacity in which such Entity appeared”, and any “Related Entity.” Plan Ex. A, Article I.B, ¶ 56.

The Plan expressly defines “Related Entity” to include Dugaboy and Hunter Mountain. Id., § B,

¶ 110. Accordingly, each of Movants is an “Enjoined Party.” The question thus arises whether

Movants must seek Court permission prior to instituting the annexed Valuation Proceeding.

B.        The Gatekeeper Provision Is Satisfied Because Movants Were Directed to Raise
          Valuation Issues through an Adversary Proceeding

         24.      Movants previously sought by way of contested matter to obtain the relief sought

in the Valuation Proceeding [Dkt. Nos. 3382, 3467, and 3533]. Debtor objected, asserting both

that that the relief asserted was unwarranted and that it could only be obtained in an adversary

proceeding [Dkt No. 3465]. The Court ruled that Movants must pursue an adversary proceeding.

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Given that the Court has already ordered Movants to proceed in this fashion, the Court has already

served its gatekeeper function and this motion is unnecessary [Dkt. No. 3645].

         25.      However, Movants conferenced the issue with Debtor, and Debtor was only willing

to stipulate that no gatekeeper motion was needed if Movants sought exactly the same relief as had

been sought in the motion. Because the relief sought is better defined now, and to avoid further

delay, in an excess of caution, Movants bring this motion. After filing, Movants will attempt to

negotiate a resolution of this motion so that the Court can proceed directly to the merits.

C.       The Valuation Proceeding Sets Forth a Colorable Claim.

         26.      Movants present colorable claims that should be authorized to proceed.

         27.      The Plan does not define what constitutes a “colorable claim of any kind.” Nor

does the Bankruptcy Code define the term.               The case law construing the requirement for

“colorable” claims clearly provides that the requisite showing is a relatively low threshold to

satisfy, requiring Movants to prove “there is a possibility of success.” See Spring Svc. Tex., Inc.

v. McConnell (In re McConnell), 122 B.R. 41, 44 (Bankr. S.D. Tex. 1989).

         28.      The Fifth Circuit has stated that “the colorable claim standard is met if the [movant]

has asserted claims for relief that on appropriate proof would allow a recovery. Courts have

determined that a court need not conduct an evidentiary hearing, but must ensure that the claims

do not lack any merit whatsoever.” Louisiana World Exposition v. Fed. Ins. Co., 858 F.2d 233,

248 (5th Cir. 1988). The Court therefore need not be satisfied that there is an evidentiary basis for

the claims to be asserted but instead should allow the claims if they appear to have some merit.

         29.      Other federal circuit courts have reached similar conclusions regarding the standard

to be applied. For example, the Eighth Circuit held that “creditors’ claims are colorable if they

would survive a motion to dismiss.” In re Racing Services, Inc., 540 F.3d 892, 900 (8th Cir. 2008);

accord In Re Foster, 516 B.R. 537, 542 (B.A.P. 8th Cir. 2014), aff’d 602 Fed. Appx. 356 (8th Cir.

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2015) (per curiam). The Sixth Circuit has adopted a similar test requiring that the court look only

to the face of the complaint to determine if claims are colorable. In re The Gibson Group, Inc., 66

F.3d 1436, 1446 (6th Cir. 1995).

         30.      Other federal courts have adopted roughly the same standard—i.e., a claim is

colorable if it is merely “plausible” and thus could survive a motion to dismiss. See In re America’s

Hobby Center, Inc., 223 B.R. 275, 282 (S.D.N.Y 1998); see also, e.g., In re GI Holdings, 313 B.R.

at 631 (court must decide whether the committee has asserted “claims for relief that on appropriate

proof would support a recovery”); Official Comm. v. Austin Fin. Serv. (In re KDI Holdings), 277

B.R. 493, 508 (Bankr. S.D.N.Y. 1999) (observing that the inquiry into whether a claim is colorable

is similar to that undertaken on a motion to dismiss for failure to state a claim); In re iPCS, Inc.,

297 B.R. 283, 291-92 (Bankr. N.D. Ga. 2003) (same).

         31.      In addition, in the non-bankruptcy context, the District Court for this district has

explained that “[t]he requirement of a ‘colorable claim’ means only that the plaintiff must have an

‘arguable claim’ and not that the plaintiff must be able to succeed on that claim.” Gonzales v.

Columbia Hosp. at Med. City Dallas Subsidiary, L.P., 207 F. Supp. 2d 570, 577 (N.D. Tex. 2002).

         32.      This Court’s analysis of whether the Valuation Proceeding sets forth a colorable

claim is not a determination of whether the Court finds there is enough evidence presented. Rather,

if on the face of the Valuation Complaint, there appears a plausible claim, then the Valuation

Proceeding presents a colorable claim, and this Motion must be granted to allow Movants to file

their Valuation Complaint.

         33.      In the First Claim for Relief of the Valuation Complaint, Movants seek disclosures

of Claimant Trust Assets and request an accounting. An equitable accounting is proper “when the

facts and accounts presented are so complex that adequate relief may not be obtained at law.”



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Gooden v. Mackie, No. 4:19-CV-02948, 2020 WL 714291 (S.D. Tex. Jan. 23 2020) (quoting

McLaughlin v. Wells Fargo Bank, N.A., No. 4:12-CV-02658, 2013 WL 5231486, at *6 (S.D. Tex.

Sep. 13, 2013); Bates Energy Oil & Gas v. Complete Oilfeld Servs., 361 F. Supp. 3d 633, 663

(W.D. Tex. 2019) (finding an equitable accounting claim was sufficiently stated when was a party

was less than forthcoming in providing information and the available information was insufficient

to determine what was done with a party's money); Phillips v. Estate of Poulin, No. 03-05-00099-

CV, 2007 WL 2980179, at *3 (Tex. App.-Austin, Oct. 12, 2007, no pet.) (finding that an

accounting order was appropriate where the facts are complex and when the plaintiff could not

obtain adequate relief through standard discovery); Southwest Livestock & Trucking Co. v. Dooley,

884 S.W.2d 805, 809 (Tex. App.-San Antonio 1994, writ denied) (finding that an accounting was

necessary in order to determine the identity of the property or the amount of money owed to a

party).

          34.     The requested disclosures and accounting are necessary due to the lack of

transparency surrounding the assets and liabilities of the Claimant Trust. The Court has retained

jurisdiction to ensure that distributions to Holders of Allowed Equity Interests are accomplished

pursuant to the provisions of the Plan. See Plan, Article XI. As set forth above and in the Valuation

Complaint, Movants have concerns that those provisions are not being appropriately followed, and

efforts to obtain the information necessary to confirm otherwise has been unavailable through

discovery. As a result of the restrictions imposed on Movants, including Movants’ inability, as

holders of Contingent Claimant Trust Interests, to access virtually any financial information related

to the Claimant Trust, Movants have little to no insight into the value of the Claimant Trust assets

versus the Claimant Trust’s obligations and no method to independently ascertain those amounts

until Movants become Claimant Trust Beneficiaries. Because Movants are in the dark regarding



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the estate’s assets and liabilities, as well as the estate’s professional and incentive fees that are

rapidly depleting the estate, there is a compelling need for the relief sought. Movants are unable

to protect their own interests without an equitable accounting. Therefore, the First Claim for Relief

sets forth a colorable claim.

         35.      The Second Claim for Relief of the Valuation Complaint sets forth Movants’

request for a declaratory judgment regarding the value of Claimant Trust Assets compared to the

bankruptcy estate obligations. When considering whether a valid declaratory judgment claim

exists, a court must engage in a three-step inquiry. Orix Credit All., Inc. v. Wolfe, 212 F.3d 891,

895 (5th Cir. 2000). The court must ask (1) whether an actual controversy exists between the

parties, (2) whether the court has the authority to grant such declaratory relief; and (3) whether the

court should exercise its “discretion to decide or dismiss a declaratory judgment action.” Id; see

also In re Fieldwood Energy LLC, No. 20-33948, 2021 WL 4839321, at *4 (Bankr. S.D. Tex. Oct.

15 2021) (seeking declaratory judgment regarding interpretation of a Plan and whether certain

claims were discharged); In re Think3, Inc., 529 B.R. 147, 206-07 (Bankr. W.D. Tex. 2015)

(sufficient actual controversy to bring a declaratory judgment action to assist with an early and

prompt adjudication of claims and to promote judicial and party economy).

         36.      In this case, there can be no serious doubt that an actual controversy exists between

the parties with respect to the relief sought, as the Debtor has already opposed the relief sought in

the Valuation Complaint. Additionally, there is no dispute that the Court has the inherent power

to grant the relief sought in the Proposed Complaint. Further, the third element is satisfied because

this determination is important to the implementation of the Plan and distributions to Holders of

Allowed Claims and Allowed Equity Interests. If the value of the Claimant Trust assets exceeds

the obligations of the estate, then several currently pending adversary proceedings aimed at



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recovering value for HCMLP’s estate are not necessary to pay creditors in full. As such, the

pending adversary proceedings could be brought to a swift close, allowing creditors to be paid and

the Bankruptcy Case to be brought to a close. In addition, such a determination by the Court could

allow for a settlement that would cover the spread between current assets and obligations before

that gap is further widened by the professional fees incurred by the Claimant Trust. Therefore, the

Second Claim for Relief pleads a colorable claim.

         37.      Finally, in the Third Claim for Relief of the Valuation Complaint, Movants request

a declaratory judgment and determination regarding the nature of their interests. As with the

Second Claim for Relief, there is no serious dispute that an actual controversy exists between the

parties and that the Court has the power to grant the relief requested. Additionally, the third

element is satisfied because, in particular, in the event that the Court determines that the Claimant

Trust assets exceed the obligations of the bankruptcy estate in an amount sufficient to pay all

Allowable Claims indefeasibly, Movants seek a declaration and a determination that the conditions

are such that their Contingent Claimant Trust Interests are likely to vest into Claimant Trust

Interests, making them Claimant Trust Beneficiaries. To be clear, Plaintiffs do not ask the Court

to determine that they are Claimant Trust Beneficiaries or otherwise to convert their contingent

interests into non-contingent interests. All of that must be done according to the terms of the Plan

and the Claimant Trust Agreement. However, the requested determination would further assist

parties in interest, such as Movants, to ascertain whether the estate is capable of paying all creditors

in full and also paying some amount to residual interest holders, as contemplated by the Plan and

the Claimant Trust Agreement. Therefore, the Third Claim for Relief pleads a colorable claim.

         38.      The equitable relief sought in the Valuation Proceeding certainly meets any

iteration of the standard for what constitutes “a colorable claim of any kind.” Instead of using the



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information governing provisions of the Claimant Trust as a shield, HCMLP and the Claimant

Trust are using them as a sword to enable continued litigation that ultimately provides no benefit

to Claimant Trust Beneficiaries or Movants as holders of Contingent Claimant Trust Interests.

         39.      As set forth above, the Valuation Complaint seeks disclosure of information and an

accounting that are related to the administration of the Plan and property to be distributed under

the Plan, but not otherwise available to Movants.         The Valuation Complaint also requests

declaratory judgments within the Court’s jurisdiction and relevant to the furtherance of the

Bankruptcy Case. These claims are colorable, and this Motion for Leave should be granted.

         WHEREFORE, Movants request the entry of an order i) granting this Motion for Leave;

ii) determining that the Gatekeeping Provision is satisfied as applied to the Valuation Proceeding;

and iii) authorizing Movants to file the Valuation Complaint.

                                               Respectfully submitted,


                                               STINSON LLP

                                               /s/ Deborah Deitsch-Perez
                                               Deborah Deitsch-Perez
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                                               Counsel for The Dugaboy Investment Trust and the
                                               Hunter Mountain Investment Trust




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                                 CERTIFICATE OF CONFERENCE

        The undersigned hereby certifies that on February 5, 2023, Louis M. Phillips conferenced
with counsel for Defendants, John Morris, regarding this motion. Counsel for Defendants was
willing to stipulate that no gatekeeper motion was needed if Movants sought exactly the same
relief as had been sought in their prior motion addressing these issues. Because the relief sought
is better defined now, and to avoid further delay, in an excess of caution, Movants bring this
motion. After filing, Movants will attempt to negotiate a resolution of this motion so that the Court
can proceed directly to the merits.

                                                      /s/Deborah Deitsch-Perez
                                                      Deborah Deitsch-Perez




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                                    CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 6, 2023, a true and correct copy of this
document was served electronically via the Court’s CM/ECF system to the parties registered or
otherwise entitled to receive electronic notices in this case.


                                                     /s/Deborah Deitsch-Perez
                                                     Deborah Deitsch-Perez




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Counsel for Plaintiffs the Dugaboy Investment Trust and the
Hunter Mountain Investment Trust


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


                                                           §
In re:                                                     § Chapter 11
                                                           §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                         § Case No. 19-34054-sgj11
                                                           §
                                   Reorganized Debtor.     §
                                                           §
                                                           §
DUGABOY INVESTMENT TRUST and                               §
HUNTER MOUNTAIN INVESTMENT TRUST,                          §
                                                           §
                                   Plaintiffs,             § Adversary Proceeding No.
                                                           §
vs.                                                        §
                                                           §
HIGHLAND CAPITAL MANAGEMENT, L.P. and                      §
HIGHLAND CLAIMANT TRUST,                                   §
                                                           §
                                   Defendants.             §
                                                           §

                     COMPLAINT TO (I) COMPEL DISCLOSURES
           ABOUT THE ASSETS OF THE HIGHLAND CLAIMANT TRUST AND
            (II) DETERMINE (A) RELATIVE VALUE OF THOSE ASSETS, AND
         (B) NATURE OF PLAINTIFFS’ INTERESTS IN THE CLAIMANT TRUST




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         Plaintiffs The Dugaboy Investment Trust (“Dugaboy”) and Hunter Mountain Investment

Trust (“Hunter Mountain” and collectively with Dugaboy, the “Plaintiffs”) file this adversary

complaint (the “Complaint”) against defendants Highland Capital Management, L.P. (“HCMLP”

or the “Debtor”) and the Highland Claimant Trust (the “Claimant Trust,” and collectively with

HCMLP, the “Defendants”), seeking: (1) disclosures about and an accounting of the assets and

liabilities currently held in the Claimant Trust; (2) a determination of the value of those assets; and

(3) declaratory relief setting forth the nature of Plaintiffs’ interests in the Claimant Trust.

                                     PRELIMINARY STATEMENT

         1.       As holders of Contingent Claimant Trust Interests1 that vest into Claimant Trust

Interests once all creditors are paid in full, and as defendants in litigation pursued by Marc S.

Kirschner (“Kirschner”) as Trustee of the Litigation Sub-Trust (which seeks to recover damages

on behalf of the Claimant Trust), Plaintiffs file this Complaint to obtain information about the

assets and liabilities of the Claimant Trust, which was established to monetize and liquidate the

assets of the HCMLP bankruptcy estate.

         2.       HCMLP’s October 21, 2022 and January 24, 2023 post-confirmation reports show

that even with inflated claims and below market sales of assets, cash available is more than enough

to pay class 8 and class 9 creditors in full. Accordingly, Plaintiffs and the entire estate would

benefit from a close evaluation of current assets and liabilities. Such evaluation will also show

whether assets were marked below appraised value during the pandemic and unreasonably held on

the books at those values, along with overstated liabilities, to justify continued litigation. That

litigation serves to enable James P. Seery (“Mr. Seery”) and other estate professionals to carefully

extract nearly every last dollar out of the estate with (along with incentive fees), leaving little or


1
  Capitalized terms not defined have the meanings set forth herein. If no meaning is set forth herein, the terms have
the meaning set forth in the Fifth Amended Plan of Reorganization (as Modified) [Docket No. 1808].

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nothing for the owners that built the company. While grave harm has already been done, valuation

now would at least enable the Court to put an end to this already long-running case and salvage

some value for equity. As this Court observed in the In re ADPT DFW Holdings case, where there

is significant uncertainty about insolvency, protections must be put in place so that the conduct of

the case itself does not deplete the equity. In some cases, the protection is in the form of an equity

committee; here a prompt valuation of the estate is needed.

         3.       Upon information and belief, during the pendency of HCMLP’s bankruptcy

proceedings, creditor claims and estate assets have been sold in a manner that fails to maximize

the potential return to the estate, including Plaintiffs. Rather, Mr. Seery, first acting as Chief

Executive Officer and Chief Restructuring Officer of the Debtor and then as the Claimant Trustee,

facilitated the sale of creditor claims to entities with undisclosed business relationships with Mr.

Seery, who he knew would approve his inflated compensation when the hidden but true value of

the estate’s assets were realized. Because Mr. Seery and the Debtor have failed to operate the

estate in the required transparent manner, they have been able to justify pursuit of unnecessary

avoidance actions (for the benefit of the professionals involved), even though the assets of the

estate, if managed in good faith, should be sufficient to pay all creditors.

         4.       Further, by understating the value of the estate and preventing open and robust

scrutiny of sales of the estate’s assets, Mr. Seery and the Debtor have been able to justify actions

to further marginalize equity holders that otherwise would be in the money, such as including plan

and trust provisions that disenfranchise equity holders by preventing them from having any input

or information unless the Claimant Trustee certifies that all other interest holders have been paid

in full. Because of the lack of transparency to date, unless the relief sought herein is granted, there

will be no checks and balances to prevent a wrongful failure to certify, much less any process to



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ensure that the estate has been managed in good faith so as to enable all interest holders, including

the much-maligned equity holders, to receive their due.

          5.       By demonizing the estate equity holders, withholding information, and

manipulating the sales of claims and assets, Mr. Seery and the Claimant Trust have maximized the

potential for a grave miscarriage of justice. The estate had over $550 million in assets on the

petition date, with far less in non-disputed non-contingent liabilities.

          6.       By June 30, 2022, the estate had $550 million in cash and approximately $120

million of other assets despite paying what appears in reports to be over $60 million in professional

fees and selling assets non-competitively, on information and belief, at least $75 million below

market price.2

          7.       On information and belief, the value of the assets in the estate as of 6/1/22 was:

                Highland Capital Assets                                            Value in Millions

                                                                               Low                   High
       Cash as of Feb 1. 2022                                                     $125.00               $125.00
       Recently Liquidated                                   $246.30
          Highland Select Equity                              $55.00
          Highland MultiStrat Credit Fund                     $51.44
          MGM Shares                                          $26.00
          Portion of HCLOF                                    $37.50
       Total of Recent Liquidations                          $416.24                $416.24             $416.24
    Current Cash Balance                                                            $541.24             $541.24

       Remaining Assets
           Highland CLO Funding, LTD                                                 $37.50              $37.50
           Korea Fund                                                                $18.00              $18.00
           SE Multifamily                                                            $11.98              $12.10
           Affiliate Notes3                                                          $50.00              $60.00
           Other (Misc. and legal)                                                    $5.00              $20.00
    Total (Current Cash + Remaining Assets)                                         $663.72             $688.84




2
  Examples of non-competitive sales are set forth in letters to the United States Trustee dated October 5, 2021,
November 3, 2021 and May 11, 2022, annexed hereto as Exhibits 1, 2, and 3, as is further detail about claims buyers.
3
  Some of the Affiliate Notes should have been forgiven as of the MGM sale, but litigation continues over that also.

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         8.       By June 2022, Mr. Seery had also engineered settlements making the inflated face

amount of the major claims against the estate $365 million, but which traded for significantly less.

   Creditor              Class 8             Class 9       Beneficiary              Purchase Price
   Redeemer              $137.0              $0.0          Claim buyer 1            $65 million
   ACIS                  $23.0               $0.0          Claim buyer 2            $8.0
   HarbourVest           $45.0               $35.0         Claim buyer 2            $27.0
   UBS                   $65.0               $60.0         Claim buyers 1 & 2       $50.0
   TOTAL                 $270.0              $95.0                                  $150.0 million

         9.       Mr. Seery made no efforts to buy the claims into the estate or resolve the estate

efficiently. Mr. Seery never made a proposal to the residual holders or Mr. Dondero and never

responded to the over the many settlement offers from Mr. Dondero with a reorganization (as

opposed to liquidation) plan, even though many of Mr. Dondero's offers were in excess of the

amounts paid by the claims buyers.

         10.      Instead, Mr. Seery brokered transactions enabling colleagues with long-standing

but undisclosed business relationships to buy the claims without the knowledge or approval of the

Court. Because the claims sellers were on the creditors committee, Mr. Seery and those creditors

had been notified that “Creditors wishing to serve as fiduciaries on any official committee are

advised that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor

while they are committee members absent an order of the Court.”                 These transactions are

particularly suspect because the claims buyers paid amounts equivalent to the value the Plan

estimated would be paid three years later. Sophisticated buyers would not pay what appeared to

be full price unless they had material non-public information that the claims could and would be

monetized for much more than the public estimates made at the time of Plan confirmation – as

indeed they have been.

         11.      On information and belief, Mr. Seery provided that information to claims buyers

rather than buying the claims in to the estate for the roughly $150 million for which they were sold.



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By May 2021, when the claims transfers were announced to the Court, the estate had over 100 million

in cash and access to additional liquidity to retire the claims for the sale amounts, leaving an operating

business in the hands of its equity owners.

         12.      Specifically, Mr. Seery could and should have investigated seeking sufficient funds

from equity to pay all claims and return the estate to the equity holders. This was an obvious path

because the estate had assets sufficient to support a $59 million line of credit, as Mr. Seery

eventually obtained. If funds had been raised to pay creditors in the amounts for which claims were

sold, much of the massive administrative costs run up by the estate would never have been

incurred. One such avoided cost would be the post-effective date litigation now pursued by Mr.

Kirschner, as Litigation Trustee for the Litigation Sub-Trust, whose professionals likely charge

over $2000 an hour for senior lawyers and over $800 an hour for first year associates (data obtained

from other cases because, of course, there has been no disclosure in the HCMLP bankruptcy of the

cost of the Kirschner litigation).     But buying the claims to resolve the bankruptcy and enabling

equity to resume operations would not have had the critical benefit to Mr. Seery that his scheme

contained: placing the decision on his incentive bonus, perhaps as much as $30 million, in the

hands of grateful business colleagues who received outsized rewards for the claims they were

steered into buying. The parameters of Mr. Seery’s incentive compensation is yet another item

cloaked in secrecy, contrary to the general rule that the hallmark of the bankruptcy process is

transparency.

         13.      But worse still, even with all of the manipulation that appears to have occurred,

Plaintiffs believe that the combination of cash and other assets held by the Claimant Trust in its

own name and held in various funds, reserve accounts, and subsidiaries, if not depleted by




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unnecessary litigation, would be sufficient to pay all Claimant Trust Beneficiaries in full, with

interest now.

         14.      In short, it appears that the professionals representing HCMLP, the Claimant Trust,

and the Litigation Sub-Trust are litigating claims against Plaintiffs and others, even though the

only beneficiaries of any recovery from such litigation would be Plaintiffs in this adversary

proceeding (and of course the professionals pressing the claims). It is only the cost of the pursuit

of those claims that threatens to depress the value of the Claimant Trust sufficiently to justify

continued pursuit of the claims, creating a vicious cycle geared only to enrich the professionals,

including Mr. Seery, and to strip equity holders of any meaningful recovery.

         15.      Based upon the restrictions imposed on Plaintiffs, including the unprecedented

inability for Plaintiffs, as holders of Contingent Claimant Trust Interests, to access virtually any

financial information related to the Claimant Trust, Plaintiffs have little to no insight into the value

of the Claimant Trust assets versus the Claimant Trust’s obligations and no method to

independently ascertain those amounts until Plaintiffs become Claimant Trust Beneficiaries.

Because Mr. Seery and the professionals benefiting from Mr. Seery’s actions have ensured that

Plaintiffs are in the dark regarding the estate’s assets and liabilities, as well as the estate’s

professional and incentive fees that are rapidly depleting the estate, there is a compelling need for

the relief sought herein.

         16.      In bringing this Complaint, Plaintiffs are seeking transparency about the assets

currently held in the Claimant Trust and their value—information that would ultimately benefit all

creditors and parties-in-interest by moving forward the administration of the Bankruptcy Case.




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                                    JURISDICTION AND VENUE

         17.      This adversary proceeding arises under and relates to the above-captioned Chapter

11 bankruptcy case (the “Bankruptcy Case”) pending before the United States Bankruptcy Court

for the Northern District of Texas (the “Court”).

         18.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

         19.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(A) and

(O).

         20.      In the event that it is determined that the Court, absent consent of the parties, cannot

enter final order or judgments over this matter, Plaintiffs do not consent to the entry of a final order

by the Court.

                                             THE PARTIES

         21.      Dugaboy is a trust formed under the laws of Delaware.

         22.      Hunter Mountain is a trust formed under the laws of Delaware.

         23.      HCMLP is a limited partnership formed under the laws of Delaware with a business

address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

         24.      The Claimant Trust is a statutory trust formed under the laws of Delaware with a

business address of 100 Crescent Court, Suite 1850, Dallas, Texas 75201.

                                        CASE BACKGROUND

         25.      On October 16, 2019 (the “Petition Date”), HCMLP, a 25-year Delaware limited

partnership in good standing, filed for Chapter 11 restructuring in the United States Bankruptcy

Court for the District of Delaware.

         26.      At the time of its chapter 11 filing, HCMLP had approximately $550 million in

assets and had only insignificant debt owing to Jeffries, with whom it had a brokerage account,

and one other entity, Frontier State Bank. [Dkt. No. 1943, ¶ 8]. HCMLP’s reason for seeking

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bankruptcy protection was to restructure judgment debt stemming from an adverse arbitration

award of approximately $190 million issued in favor of the Redeemer Committee of the Crusader

Funds, which, after offsets and adjustments, would have been resolved for about $110 million.

Indeed, the Redeemer Committee sold its claim for about $65 million, well below the expected

$110 million,4 and indeed, even below amounts for which Dondero offered to buy the claim.

           27.    At the urging of the newly-appointed Unsecured Creditors Committee (the

“Committee”), and over the objection of HCMLP and its management, the Delaware Bankruptcy

Court transferred the bankruptcy case to this Court on December 4, 2019. It seems likely that the

creditors sought this transfer to take advantage of antipathy the Court had exhibited to HCMLP

and its management in the ACIS bankruptcy.5 Shortly after the transfer, and likewise influenced

by the adverse characterizations of HCMLP management in the ACIS bankruptcy, the U.S.

Trustee, notwithstanding the Debtor’s apparent solvency, sought appointment of a chapter 11

trustee.

           28.    To avoid the appointment of a chapter 11 trustee and the potential liquidation of a

potentially solvent estate, the Committee and the Debtor agreed that Strand Advisors, Inc.,

HCMLP’s general partner, would appoint a three-member independent board (the “Independent

Board”) to manage HCMLP during its bankruptcy. The three board members were:



4
  Reports that Redeemer Committee was paid $78 million note that in addition to the claim, the Committee sold other
assets as well, which on information and belief, amounted to about $13 million.
5
  For example, at a hearing in Delaware Bankruptcy Court on the Motion to Transfer Venue to this Court, Mr.
Pomerantz, counsel for Debtor stated, “The debtor filed the case in this district because it wanted a judge to preside
over this case that would look at what's going on with this debtor, with this debtor's management, this debtor's post-
petition conduct, without the baggage of what happened in a previous case, which contrary to what Acis and the
committee says, has very little do with this debtor.” [December 2, 2019 Hearing Transcript at 79, Case No. 19012239
(CSS), Docket No. 181]. The taint of the ACIS case can be seen in that, without having read or even seen the
supposedly offending complaint, during the ACIS case Judge Jernigan called Mr. Dondero not just vexatious, but
“transparently vexatious,” for allegedly having sued Moody’s for failing to downgrade certain CLOs that ACIS had
been manipulating in violation of its indentures and even though the Plaintiff in the supposedly offending case was
not Mr. Dondero or any company he controlled [September 23, 2020 Hearing Transcript at 51-52, In re Acis Capital
Management, L.P. and Acis Capital Management GP, LLC, Case No. 18-30264-SGJ-11, Docket No. 1186].

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               a. James P. Seery, Jr. – (who was selected by arbitration awardee and Committee
                  member, the Redeemer Committee);
               b. John Dubel – (who was selected by Committee member UBS); and
               c. Former Judge Russell Nelms – (who was selected by the Debtor).

         29.      The Bankruptcy Court almost immediately let the Debtor’s professionals know that

its feelings about Mr. Dondero and other equity holders had not changed – a disclosure that led

inexorably to the many acts that now threaten to wipe out entirely the value of the equity. For

example, at one of the earliest hearings, the Court rejected recommendations by Judge Nelms,

suggesting he was bamboozled because he was under management’s spell. Specifically, Judge

Jernigan admitted that normally “Bankruptcy Courts should defer heavily to the reasonable

exercise of business judgment by a board… But I’m concerned that Dondero or certain in-house

counsel has -- you know, they’re smart, they're persuasive… they have exercised their powers of

persuasion or whatever to make the Board and the professionals think that there is some valid

prospect of benefit to Highland with these [actions], when it’s really all about . . . Mr. Dondero.”

[February 19, 2020 Hearing Transcript at 177.]

         30.      At around the same time that the Court telegraphed animus towards Mr. Dondero,

it also squelched oversight by responsible professionals who could and would have ensured

transparency. When the Committee and the Debtor reported to the Court that they had agreed to

use Judge Jones and Judge Isgur in Houston as mediators to potentially resolve the bankruptcy

case, Judge Jernigan stated that she was “surprised that Judge Jones’ or Judge Isgur’s staff

expressed that they had availability.” Debtor’s counsel then asked if he could independently

follow up with staff for Judges Jones and Isgur regarding their availabilities, and Judge Jernigan

said, “I’ll take it from here.” Six days later, Judge Jernigan simply said, “my continued thought

on that [mediation by Judges Jones and Isgur] is that they just don’t have meaningful time.” [July

14, 2020 Hearing Transcript at 121] In retrospect, this avoided scrutiny of the case by professionals


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who would recognize and potentially curtail the Court’s unprecedented, immediately biased

conduct of the case. This sent a powerful message to Mr. Seery and the other professionals who

developed strategies to enrich themselves to the detriment of any possibility of a quick

reorganization with equity regaining control.

         31.      Meanwhile, not realizing the turn the bankruptcy was about to take, Mr. Dondero had

agreed to step down as CEO of the Debtor and to the appointment of an Independent Board only

because he was assured that new, independent management would expedite an exit from bankruptcy,

preserve the Debtor’s business as a going concern, and retain and compensate key employees whose

work was critical to ensuring a successful reorganization.

         32.      None of that happened. Almost immediately, Mr. Seery emerged as the de facto

leader of the Independent Board. On July 14, 2020, the Court retroactively appointed Mr. Seery

Chief Executive Officer and Chief Restructuring Officer, vesting him with the fiduciary

responsibilities of a registered advisor to investors and fiduciary responsibilities to the estate. [Dkt.

No. 854]. And although Mr. Seery publicly represented that he intended to restructure and preserve

HCMLP’s business, privately he was engineering a much different plan.

         33.      Indeed, Mr. Seery’s public-facing statements stand in stark contrast to what actually

happened under his direction and control. For example, initially Mr. Seery reported consistently

positive reviews of the Debtor’s employees, describing the Debtor’s staff as a “lean” and “really

good team.” He also testified: “My experience with our employees has been excellent. The

response when we want to get something done, when I want to get something done, has been first-

rate. The skill level is extremely high.”

         34.      Yet despite these glowing reviews, Mr. Seery failed to put a key employee retention

program into place, and although key employees supported Mr. Seery and the Debtor through the



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plan process, ultimately Mr. Seery fired most of those employees. It was clear that Mr. Seery was

firing anyone with perceived loyalty to Mr. Dondero, no doubt leaving remaining staff fearful of

challenging Mr. Seery, lest they too be fired.

         35.      From the start, and before there was much litigation to speak of, the Court regularly

referred to Mr. Dondero and related parties as “vexatious litigants,” emboldening the Debtor to do

the same, even while admitting it had not presented evidence that Mr. Dondero was a vexatious

litigant. This was plainly a carryover from the ACIS case where the Court labelled Mr. Dondero

a “transparently” vexatious litigant based pleadings she had only heard about from parties

opposing Dondero and admittedly had not read herself. Ironically, the first time Mr. Dondero was

labeled “vexatious” by the Court in the HCM case, he was defending himself from three lawsuits

initiated by the Debtor and had commented in proposed settlements in the case, but had not himself

initiated any actions in the case. Thereafter, though, the Debtor and its professionals repeated the

mantra that Dondero and his companies were vexatious litigants to successfully oppose sharing

information about the estate with them.

         36.      In addition to the Debtor’s mistreatment of employees, under the control of the

Independent Board, most of the ordinary checks and balances that the hallmark of bankruptcy were

ignored. Despite providing regular and robust financial information to the Committee, the Debtor

inexplicably failed and refused to file quarterly 2015.3 reports, leaving stakeholders, including

Plaintiffs, in the dark about the value of the estate and the mix of assets it held.   Amplifying the

lack of transparency, Mr. Seery further engineered transactions to hide the real value of the estate.

         37.      For example, he authorized the Debtor to settle the claims of HabourVest (which

claims had initially been valued at $0) for $80 million, in order to acquire HarborVest’s interest in

Highland CLO Funding, Ltd. (“HCLOF”), gain HarborVest’s vote in favor of its Plan, and hide



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the value of Debtor’s interest in HCLOF by placing it into a non-reporting subsidiary. This created

another pocket of non-public information because the pleadings supporting the 9019 settlement

valued the HCLOF interest at $22 million, when, on information and belief, it was worth $40

million at the time and over $60 million 90 days later when the MGM sale was announced.

         38.      At the same time, Mr. Seery and the Independent Board deliberately shut out equity

holders from any discussion surrounding the plan of reorganization or HCMLP’s efforts to emerge

from bankruptcy as a going concern. Indeed, as noted above, Mr. Seery failed to meaningfully

respond to the many proposals made by residual equity holders to resolve the estate and never

encouraged any dialogue between creditors and equity holders. These failures only contributed to

the difficulty of getting stakeholders’ buy-in for a reorganization plan and significantly

undermined an efficient exit from bankruptcy.

         39.      Worse still, while knowing that HCMLP had sufficient resources to emerge from

bankruptcy as a going concern (and, on information and belief, while knowing that the estate was

solvent), Mr. Seery and the Independent Board failed to propose any plan of reorganization that

contemplated HCMLP’s continued post-confirmation existence. Instead, and inexplicably, the

very first plan proposed contemplated liquidation of the company, as did all subsequent plans.

         40.      While secretly engineering the total destruction of HCMLP, Mr. Seery also

privately settled multiple proofs of claim against the estate at inflated levels that were unreasonable

multiples of the Debtor’s original estimates. He did this notwithstanding the Debtor’s early and

vehement objection to many of the claims as baseless. But instead of litigating those objections in

a manner that would have exposed the true value of the claims, on information and belief, Mr.

Seery settled the claims as a means of brokering sales of the claims at 50-60% of their face values.

That is, the inflated values softened up claims sellers to be willing to sell. Had the Debtor instead



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fought the inflated proofs of claim in open court, it could have settled the claims for closer to true

value and ensured that the estate had sufficient resources to pay them.

         41.      It is also no coincidence that virtually all original proofs of claim were sold to

buyers that had prior business relationships with Mr. Seery and/or affiliates of Grosvenor

(company with which Mr. Seery has a long personal history)—buyers that ultimately would be

positioned to approve a favorable compensation and bonus structure for Mr. Seery.

         42.      That the claims sales happened at all is curious in light of the scant publicly-

available information about the value of the estate. It would have been impossible, for example,

for any of the claims buyers to conduct even modest due diligence to ascertain whether the

purchases made economic sense. In fact, the publicly-available information purported to show a

net decrease in the estate’s asset value by approximately $200 million in a matter of months during

the global pandemic. Given the sophistication of the claims-buyers, their purchases of claims at

prices that exceeded published expected recoveries (according to the schedules then available to

the public) would only make sense if they obtained inside information regarding the transactions

undertaken by Debtor management that would justify the transfer pricing.

         43.      And indeed, the claims could and would be monetized for much more than the

publicly-available information suggested (as only one with inside information would know). In

October 2022, $250 million was paid to Class 8 holders. That is about 85% of the inflated proofs

of claim and $90 million more than plan projections. On information and belief, claims buyers

have thus had an over 170% annualized return thus far, with more to come. On information and

belief, Mr. Seery will use this “success” to justify an incentive bonus estimated in the range of $30

million.




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         44.      At the same time, the Claimant Trust has made no distributions to Contingent

Claimant Trust Interest holders and has argued in various proceedings that no such distributions

are likely. No wonder. The cost of holding open the estate, including unnecessary litigation costs,

appears to have exceeded $140 million post-confirmation, and seems geared to ensure that no such

distributions can occur, even though it can now be projected that the litigation is not needed to pay

creditors. See Docket No. 3410-1.

         45.      It is worth noting that it appears that virtually all of the claims trades brokered on

behalf of Committee members seem to have occurred while those entities remained on the

Committee. Yet at the outset of their service, Committee members were instructed by the United

States Trustee that “Creditors wishing to serve as fiduciaries on any official committee are advised

that they may not purchase, sell or otherwise trade in or transfer claims against the Debtor while

they are committee members absent an order of the Court.” Thus, the claims trades violated

Committee members’ fiduciary duty to the estate while lining the pockets of Mr. Seery and other

Debtor professionals, to the detriment of creditors and residual equity holders.

         46.      The sales of claims were not the only transactions shrouded in secrecy. As further

detailed in other litigation, assets were sold with insufficient disclosures, no competitive bidding,

no data room, and without inviting equity (which may have at one time had the knowledge to make

the highest bid) to participate in the sales process. Indeed, on occasion assets were sold for

amounts less that Mr. Dondero’s written offers. This exacerbated the harms caused by the lack of

transparency characterized by the Court’s indifference to the Debtor’s complete failure to abide its

Rule 2015 disclosure obligations.

         47.      In short, the lack of transparency combined with at least the appearance of bias, if

not actual bias of the Bankruptcy Court, emboldened and enabled an opportunistic CRO to



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manipulate the bankruptcy to enrich himself, his long-time business associates, and the

professionals continuing to litigate to collect fees to pay claims that could have been resolved with

money left over for equity but for that manipulation.

                                      STATEMENT OF FACTS

A.       Plaintiffs Hold Contingent Claimant Trust Interests

         48.      As of the Petition Date, HCMLP had three classes of limited partnership interests

(Class A, Class B, and Class C). See Disclosure Statement [Docket No. 1473], ¶ F(4).

         49.      The Class A interests were held by Dugaboy, Mark Okada (“Okada”), personally and

through family trusts, and Strand Advisors, Inc. (“Strand”), HCMLP’s general partner. The Class B

and C interests were held by Hunter Mountain. Id.

         50.      In the aggregate, HCMLP’s limited partnership interests were held: (a) 99.5% by

Hunter Mountain; (b) 0.1866% by Dugaboy, (c) 0.0627% by Okada, and (d) 0.25% by Strand.

         51.      On February 22, 2021, the Court entered the Order (i) Confirming the Fifth Amended

Plan of Reorganization (as Modified) and (ii) Granting Related Relief [Docket No. 1943] (the

“Confirmation Order”) [Docket No. 1808] (the “Plan”).

         52.      In the Plan, General Unsecured Claims are Class 8 and Subordinated Claims are Class

9. See Plan, Article III, ¶ H(8) and (9).

         53.      In the Plan, HCMLP classified Hunter Mountain’s Class B Limited Partnership

Interest and Class C Limited Partnership Interest (together, Class B/C Limited Partnership Interests)

as Class 10, separately from that of the holders of Class A Limited Partnership Interests, which are

Class 11 and include Dugaboy’s Limited Partnership Interest. See Plan, Article III, ¶ H(10) and (11).




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         54.      According to the Plan, Contingent Claimant Trust Interests distributed to the Holders

of Class A Limited Partnership Interests are subordinate to the Contingent Claimant Trust Interests

distributed to the Holders of Class B/C Limited Partnership Interests. See Plan, Article I, ¶44.

         55.      In the Confirmation Order, the Court found that the Plan properly separately classified

those equity interests because they represent different types of equity security interests in HCMLP

and different payment priorities pursuant to that certain Fourth Amended and Restated Agreement of

Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, as amended

(the “Limited Partnership Agreement”). Confirmation Order, ¶36; Limited Partnership Agreement,

§3.9 (Liquidation Preference).

         56.      The Court overruled objections to the Plan lodged by entities it deemed related to Mr.

Dondero, including Dugaboy. In doing so, the Court acknowledged that Dugaboy has a residual

ownership interest in HCMLP and therefore “technically” had standing to object to the Plan. See

Confirmation Order, ¶¶ 17-18.

         57.      Based on the Debtor’s financial projections at the time of confirmation, however, the

Court found that the plan objectors’ “economic interests in the Debtor appear to be extremely remote.”

Id., ¶ 19; see also id., ¶ 17 (“the remoteness of their economic interests is noteworthy”).

         58.      The Plan went Effective (as defined in the Plan) on August 11, 2021, and HCMLP

became the Reorganized Debtor (as defined in the Plan) on the Effective Date. See Notice of

Occurrence of the Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland

Capital Management, L.P. [Docket No. 2700].

         59.      The Plan created the Claimant Trust, which was established for the benefit of

Claimant Trust Beneficiaries, which is defined to mean:

         the Holders of Allowed General Unsecured Claims, Holders of Allowed Subordinated
         Claims, including, upon Allowance, Disputed General Unsecured Claims and Disputed


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         Subordinated Claims that become Allowed following the Effective Date, and, only upon
         certification by the Claimant Trustee that the Holders of such Claims have been paid
         indefeasibly in full plus, to the extent all Allowed unsecured Claims, excluding
         Subordinated Claims, have been paid in full post-petition interest from the Petition Date at
         the Federal Judgment Rate in accordance with the terms and conditions set forth in the
         Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have been
         resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
         Allowed Class A Limited Partnership Interests

See Plan, Article I, ¶27; see also Claimant Trust Agreement, Article I, 1.1(h).

         60.      Plaintiffs hold Contingent Claimant Trust Interests, which will vest into Claimant

Trust Interests upon indefeasible payment of Allowed Claims.

         61.      Depending on the realization of asset value less debts, Plaintiffs may become

Claimant Trust Beneficiaries.

         62.      In its Post Confirmation Quarterly Report for the Third Quarter of 2022 [Docket

No. 3582], Debtor stated that it distributed $255,201,228 to holders of general unsecured claims,

which is 64% of the total allowed general unsecured claims of $387,485,568. This amount is far

greater than was anticipated at the time of confirmation of the Plan.

B.       Debtor Has Failed To Disclose Claimant Trust Assets

         63.      Upon information and belief, the value of the estate as held in the Claimant Trust

has changed markedly since Plan confirmation. Not only have many of the assets held by the

estate fluctuated in value based on market conditions, with some increasingly in value

dramatically, but Plaintiffs are aware that many of the major assets of the estate have been

liquidated or sold since Plan confirmation, locking in increased value to the estate.

         64.      The estate is solvent and has always been solvent. Nonetheless, Mr. Seery has

remained committed to maximizing professional fees and incentive fees by increasing the total

claims amount to justify litigation to satisfy those inflated claims.




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         65.      As noted above, by June of 2022, starting with $125 million in cash, the estate

liquidated other assets of over $416 million, building a cash war chest of over $541 million. Thus,

with the remaining less-liquid assets, the total value of the estate’s assets as of June 2022 was over

$688 million.

         66.      Contrasting those assets with the claims against the estate demonstrates that further

collection of assets was (and is) unnecessary.

         67.      As set forth above, while the inflated face amount of the claims was $365 million,

those claims were sold for about $150 million. The estate therefore easily had the resources to retire

the claims for the sale amounts, leaving an operating business in the hands of its equity owners.


         68.      Instead, Mr. Seery liquidated estate assets at less-than-optimal prices, without

competitive process, without including residual equity holders, and in all cases required strict non-

disclosure agreements from the buyers to prevent any information flowing to the public, the

residual equity, or the Court. This uncharacteristic secrecy enabled Mr. Seery and the professionals

to maintain the delicate balance of keeping just enough assets to pay professionals and incentive

fees but still maintain the pretense that further litigation was needed.

         69.      Each effort by Plaintiffs, Mr. Dondero and related companies to obtain information

to attempt to stop the continued looting has been vigorously opposed, and ultimately rejected by

an apparently biased Court. Plaintiffs were unable to force the Debtor to provide the most basic

of reports, including Rule 2015 statements, and Plaintiffs’ efforts to obtain even the most basic

details regarding asset sales and professional fees have all been denied. Rather, such details are in

the hands of a select few, such as the Oversight Board of the Claimant Trust.

         70.      The Plan requires the Claimant Trustee to determine the fair market value of the

Claimant Trust Assets as of the Effective Date and to notify the applicable Claimant Trust

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Beneficiaries of such a valuation, as well as distribute tax information to Claimant Trust

Beneficiaries as appropriate. See Plan, ¶Art. IV(B)(9).

         71.      But no like information regarding valuation of the Claimant Trust Assets is

available to Plaintiffs as holders of Contingent Claimant Trust Interests, even though Plaintiffs, as

contingent beneficiaries of a Delaware statutory trust, are entitled to financial information relating

to the trust.

C.       Plaintiffs Are Kirschner Adversary Proceeding Defendants

         72.      On October 15, 2021, Marc S. Kirschner, as Litigation Trustee of the Litigation

Sub-Trust, commenced the Kirschner Adversary Proceeding against twenty-three defendants,

including Plaintiffs, alleging various causes of action. See Marc S. Kirschner, as Litigation

Trustee of the Litigation Sub-Trust vs. James Dondero, et al., Adv. Pro. No. 21-03076-sgj, Adv.

Proc. No. 21-03076, Docket No. 1 (as amended by Docket No. 158).

         73.      The Litigation Sub-Trust was established within the Claimant Trust as a wholly

owned subsidiary of the Claimant Trust for the purpose of investigating, prosecuting, settling, or

otherwise resolving the Estate Claims, with any proceeds therefrom to be distributed by the

Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant Trust Beneficiaries. See

Plan, Article IV, ¶ (B)(4).

         74.      Any recovery from the Kirschner Adversary Proceeding will be distributed to

Claimant Trust Beneficiaries.

         75.      Depending on the realization of asset value less debts, Plaintiffs may become

Claimant Trust Beneficiaries.

         76.      The Litigation Sub-Trust is pursuing claims against Plaintiffs in the Kirschner

Adversary Proceeding, which, if they become Claimant Trust Beneficiaries, would be the



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recipients of distributions of such recovery (less the cost of litigation). Therefore, Plaintiffs need

the requested information in order to properly analyze and evaluate the claims asserted against

them in the Kirschner Adversary Proceeding and to determine whether those claims have any

validity.

                                  FIRST CLAIM FOR RELIEF
               (Disclosures of Claimant Trust Assets and Request for Accounting)

         77.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

though fully set forth herein.

         78.      Due to the lack of transparency into the assets of the Claimant Trust, Plaintiffs are

unable to determine whether their Contingent Claimant Trust Interests may vest into Claimant Trust

Interests.

         79.      Certain information about the Claimant Trust Assets has already been provided to

others, including Claimant Trust Beneficiaries and the Oversight Board for the Claimant Trust.

         80.      Information about the Claimant Trust Assets would help Plaintiffs evaluate whether

settlement of the Kirschner Adversary Proceeding is feasible, which would further the administration

of the bankruptcy estate, benefitting all parties in interest.

         81.      This Court specifically retained jurisdiction to ensure that distributions to Holders

of Allowed Equity Interests are accomplished pursuant to the provisions of the Plan. See Plan,

Article XI.

         82.      The Plan provides that distributions to Allowed Equity Interests will be

accomplished through the Claimant Trust and Contingent Claimant Trust Interests. See Plan

Article III, (H)(10) and (11).

         83.      The Defendants should be compelled to provide information regarding the Claimant

Trust assets, including the amount of cash and the remaining non-cash assets, and its liabilities.


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                               SECOND CLAIM FOR RELIEF
               (Declaratory Judgment Regarding Value of Claimant Trust Assets)

         84.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

though fully set forth herein.

         85.      Once Defendants are compelled to provide information about the Claimant Trust

assets, Plaintiffs seek a determination from the Court of the relative value of the Claimant Trust

assets compared to the bankruptcy estate obligations.

         86.      If the value of the Claimant Trust assets exceeds the obligations of the estate, then

several currently pending adversary proceedings aimed at recovering value for HCMLP’s estate

are not necessary to pay creditors in full. As such, the pending adversary proceedings could be

brought to a swift close, allowing creditors to be paid and the Bankruptcy Case to be brought to a

close.

         87.      In addition, professionals associated with the estate—including but not limited to

Mr. Seery, Pachulski, Development Specialists, Inc., Kurtzman Carson Consultants, Quinn

Emanuel, Mr. Kirschner, and Hayward & Associates—are continuing to incur millions of dollars

a month in professional fees, thereby further eroding an estate that is either solvent or could be

bridged by a settlement that would pay the spread between current assets and current allowed

creditor claims. Fees for Pachulski range from $460 an hour for associates to $1,265 per hour for

partners, and fees for Quinn Emanuel lawyers range from $830 an hour for first year associate to

over $2100 per hour for senior partners. At these rates, depletion of the estate will occur rapidly.

                            THIRD CLAIM FOR RELIEF
    (Declaratory Judgment and Determination Regarding Nature of Plaintiff’s Interests)

         88.      Plaintiffs repeat and re-allege the allegations in each of the foregoing paragraphs as

though fully set forth herein.



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         89.      In the event that the Court determines that the Claimant Trust assets exceed the

obligations of the bankruptcy estate in an amount sufficient so that all Allowable Claims may be

indefeasibly paid, Plaintiffs seek a declaration and a determination that the conditions are such that

their Contingent Claimant Trust Interests are likely to vest into Claimant Trust Interests, making

them Claimant Trust Beneficiaries.6

         90.      Such a declaration and a determination by the Court would further assist parties in

interest, such as Plaintiffs, to ascertain whether the estate is capable of paying all creditors in full

and also paying some amount to residual interest holders, as contemplated by the Plan and the

Claimant Trust Agreement.

         WHEREFORE, Plaintiffs pray for judgment as follows:

         (i)      On the First Claim for Relief, Plaintiffs seek an order compelling Defendants to

                  disclose the assets currently held in the Claimant Trust; and

         (ii)     On the Second Claim for Relief, Plaintiffs seek a determination of the relative value

                  of those assets in comparison to the claims of the Claimant Trust Beneficiaries; and

         (iii)    On the Third Claim for Relief, Plaintiffs seek a determination that the conditions

                  are such that all current Claimant Trust Beneficiaries could be paid in full, with

                  such payment causing Plaintiffs’ Contingent Claimant Trust Interests to vest into

                  Claimant Trust Interests; and




6
 To be clear, Plaintiffs do not ask the Court to determine that they are Claimant Trust Beneficiaries or otherwise to
convert their contingent interests into non-contingent interests. All of that must be done according to the terms of the
Plan and the Claimant Trust Agreement.

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         (iv)     Such other and further relief as this Court deems just and proper.

Dated: February __, 2023

                                                Respectfully submitted,


                                                STINSON LLP

                                                Draft
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                                                and the Hunter Mountain Investment Trust




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                                                                                                                     (1926-2013)




                                                              October 5, 2021


           Mrs. Nan R. Eitel
           Office of the General Counsel
           Executive Office for U.S. Trustees
           20 Massachusetts Avenue, NW
           8th Floor
           Washington, DC 20530
                       Re:         Highland Capital Management, L.P. – USBC Case No. 19-34054sgj11
           Dear Nan,
                    The purpose of this letter is to request that your office investigate the circumstances
           surrounding the sale of claims by members of the Official Committee of Unsecured Creditors
           (“Creditors’ Committee”) in the bankruptcy of Highland Capital Management, L.P. (“Highland”
           or “Debtor”). As described in detail below, there is sufficient evidence to warrant an immediate
           investigation into whether non-public inside information was furnished to claims purchasers.
           Further, there is reason to suspect that selling Creditors’ Committee members may have violated
           their fiduciary duties to the estate by tying themselves to claims sales at a time when they should
           have been considering meaningful offers to resolve the bankruptcy. Indeed, three of four
           Committee members sold their claims without advance disclosure, in violation of applicable
           guidelines from the U.S. Trustee’s Office. This letter contains a description of information and
           evidence we have been able to gather, and which we hope your office will take seriously.
                    By way of background, Highland, an SEC-registered investment adviser, filed for
           Chapter 11 bankruptcy protection in the United States Bankruptcy Court for the District of
           Delaware on October 16, 2019, listing over $550 million in assets and net $110 million in
           liabilities. The case eventually was transferred to the Northern District of Texas, to Judge Stacey
           G.C. Jernigan. Highland’s decision to seek bankruptcy protection primarily was driven by an
           expected net $110 million arbitration award in favor of the “Redeemer Committee.”1 After
           nearly 30 years of successful operations, Highland and its co-founder, James Dondero, were
           advised by Debtor’s counsel that a court-approved restructuring of the award in Delaware was in
           Highland’s best interest.

           1
             The “Redeemer Committee” was a group of investors in a Debtor-managed fund called the “Crusader Fund” that
           sought to redeem their interests during the global financial crisis. To avoid a run on the fund at low-watermark
           prices, the fund manager temporarily suspended redemptions, which resulted in a dispute between the investors and
           the fund manager. The ultimate resolution involved the formation of the “Redeemer Committee” and an orderly
           liquidation of the fund, which resulted in the investors receiving their investment plus a return versus the 20 cents on
           the dollar they would have received had the fund been liquidated when the redemption requests were made.




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       I became involved in Highland’s bankruptcy through my representation of The Dugaboy
Investment Trust (“Dugaboy”), an irrevocable trust of which Mr. Dondero is the primary
beneficiary. Although there were many issues raised by Dugaboy and others in the case where
we disagreed with the Court’s rulings, we will address those issues through the appeals process.
       From the outset of the case, the Creditors’ Committee and the U.S. Trustee’s Office in
Dallas pushed to replace the existing management of the Debtor. To avoid a protracted dispute
and to facilitate the restructuring, on January 9, 2020, Mr. Dondero reached an agreement with
the Creditors’ Committee to resign as the sole director of the Debtor’s general partner, on the
condition that he would be replaced by three independent directors who would act as fiduciaries
of the estate and work to restructure Highland’s business so it could continue operating and
emerge from bankruptcy as a going concern. The agreement approved by the Bankruptcy Court
allowed Mr. Dondero, UBS (which held one of the largest claims against the estate), and the
Redeemer Committee each to choose one director and also established protocols for operations
going forward. Mr. Dondero chose The Honorable Former Judge Russell F. Nelms, UBS chose
John Dubel, and the Redeemer Committee chose James Seery.2 It was expected that the new,
independent management would not only preserve Highland’s business but would also preserve
jobs and enable continued collaboration with charitable causes supported by Highland and Mr.
Dondero.
        Judge Jernigan confirmed Highland’s Fifth Amended Plan of Reorganization on February
22, 2021 (the “Plan”). We have appealed certain aspects of the Plan and will rely upon the Fifth
Circuit Court of Appeals to determine whether our arguments have merit. I write instead to call
to your attention the possible disclosure of non-public information by Committee members and
other insiders and to seek review of actions by Committee members that may have breached their
fiduciary duties—both serious abuses of process.
           1.      The Bankruptcy Proceedings Lacked The Required Transparency, Due In
                   Part To the Debtor’s Failure To File Rule 2015.3 Reports
        Congress, when it drafted the Bankruptcy Code and created the Office of the United
States Trustee, intended to ensure that an impartial party oversaw the enforcement of all rules
and guidelines in bankruptcy. Since that time, the Executive Office for United States Trustees
(the “EOUST”) has issued guidance and published rules designed to effectuate that purpose. To
that end, EOUST recently published a final rule entitled “Procedures for Completing Uniform
Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title 11” (the
“Periodic Reporting Requirements”). The Periodic Reporting Requirements reaffirmed the
EOUST’s commitment to maintaining “uniformity and transparency regarding a debtor’s
financial condition and business activities” and “to inform creditors and other interested parties
of the debtor’s financial affairs.” 85 Fed. Reg. 82906. The goal of the Periodic Reporting
Requirements is to “assist the court and parties in interest in ascertaining, [among other things],
the following: (1) Whether there is a substantial or continuing loss to or diminution of the
bankruptcy estate; . . . (3) whether there exists gross mismanagement of the bankruptcy estate; . .
. [and] (6) whether the debtor is engaging in the unauthorized disposition of assets through sales
or otherwise . . . .” Id.
        Transparency has long been an important feature of federal bankruptcy proceedings. The
EOUST instructs that “Debtors-in-possession and trustees must account for the receipt,
administration, and disposition of all property; provide information concerning the estate and the
estate’s administration as parties in interest request; and file periodic reports and summaries of a
debtor’s business, including a statement of receipts and disbursements, and such other
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    See Appendix, pp. A-3 - A-14.



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information as the United States Trustee or the United States Bankruptcy Court requires.” See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And
Federal Rule of Bankruptcy Procedure 2015.3(a) states that “the trustee or debtor in possession
shall file periodic financial reports of the value, operations, and profitability of each entity that is
not a publicly traded corporation or a debtor in a case under title 11, and in which the estate
holds a substantial or controlling interest.” This rule requires the trustee or a debtor in
possession to file a report for each non-debtor affiliate prior to the first meeting of creditors and
every six months thereafter until the effective date of a plan of reorganization. Fed R. Bankr. P.
2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
effective date merely because a plan has become effective.3 Notably, the U.S. Trustee has the
duty to ensure that debtors in possession properly and timely file all required reports. 28 U.S.C.
§ 1112(b)(4)(F), (H).
        The entire purpose of these guidelines and rules is to ensure that external stakeholders
can fairly evaluate the progress of bankruptcy proceedings, including compliance with legal
requirements. In fact, 11 U.S.C. § 1102(b)(3) requires a creditors’ committee to share
information it receives with those who “hold claims of the kind represented by the committee”
but who are not appointed to the committee. In the case of the Highland bankruptcy, the
transparency that the EOUST mandates and that creditors’ committees are supposed to facilitate
has been conspicuously absent. I have been involved in a number of bankruptcy cases
representing publicly-traded debtors with affiliated non-debtor entities, much akin to Highland’s
structure here. In those cases, when asked by third parties (shareholders or potential claims
purchasers) for information, I directed them to the schedules, monthly reports, and Rule 2015.3
reports. In this case, however, no Rule 2015.3 reports were filed, and financial information that
might otherwise be gleaned from the Bankruptcy Court record is unavailable because a large
number of documents were filed under seal or heavily redacted. As a result, the only means to
make an informed decision as to whether to purchase creditor claims and what to pay for those
claims had to be obtained from non-public sources.
        It bears repeating that the Debtor and its related and affiliated entities failed to file any of
the reports required under Bankruptcy Rule 2015.3. There should have been at least four such
reports filed on behalf of the Debtor and its affiliates during the bankruptcy proceedings. The
U.S. Trustee’s Office in Dallas did nothing to compel compliance with the rule.
        The Debtor’s failure to file the required Rule 2015.3 reports was brought to the attention
of the Debtor, the Bankruptcy Court, and the U.S. Trustee’s Office. During the hearing on Plan
confirmation, the Debtor was questioned about the failure to file the reports. The sole excuse
offered by the Debtor’s Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was
that the task “fell through the cracks.”4 This excuse makes no sense in light of the years of
bankruptcy experience of the Debtor’s counsel and financial advisors. Nor did the Debtor or its
counsel ever attempt to show “cause” to gain exemption from the reporting requirement. That is
because there was no good reason for the Debtor’s failure to file the required reports. In fact,
although the Debtor and the Creditors’ Committee often refer to the Debtor’s structure as a
“byzantine empire,” the assets of the estate fall into a handful of discrete investments, most of
which have audited financials and/or are required to make monthly or quarterly net-asset-value
or fair-value determinations.5 Rather than disclose financial information that was readily
3
  After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement “for
cause,” including that “the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available.” Fed. R. Bankr.
2015.3(d).
4
  See Doc. 1905 (Feb. 3, 2021 Hr’g Tr. at 49:5-21).
5
  During a deposition, the Debtor’s Chief Restructuring Officer, Mr. Seery, identified most of the Debtor’s assets
“[o]ff the top of [his] head” and acknowledged that he had a subsidiary ledger that detailed the assets held by entities



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available, the Debtor appears to have taken deliberate and strategic steps to avoid transparency,
and the U.S. Trustee’s Office did nothing to rectify the problem.
         By contrast, the Debtor provided the Creditors’ Committee with robust weekly
information regarding (i) transactions involving assets held directly on the Debtor’s balance
sheet or the balance sheet of the Debtor’s wholly owned subsidiaries, (ii) transactions involving
entities managed by the Debtor and in which the Debtor holds a direct or indirect interest, (iii)
transactions involving entities managed by the Debtor but in which the Debtor does not hold a
direct or indirect interest, (iv) transactions involving entities not managed by the Debtor but in
which the Debtor holds a direct or indirect interest, (v) transactions involving entities not
managed by the Debtor and in which the Debtor does not hold a direct or indirect interest, (vi)
transactions involving non-discretionary accounts, and (vii) weekly budget-to-actuals reports
referencing non-Debtor affiliates’ 13-week cash flow budget. In other words, the Committee had
real-time, actual information with respect to the financial affairs of non-debtor affiliates, and this
is precisely the type of information that should have been disclosed to the public pursuant to
Rule 2015.3.
        After the claims at issue were sold, I filed a Motion to Compel compliance with the
reporting requirement. Judge Jernigan held a hearing on the motion on June 10, 2021.
Astoundingly, the U.S. Trustee’s Office took no position on the Motion and did not even bother
to attend the hearing. Ultimately, on September 7, 2021, the Court denied the Motion as “moot”
because the Plan had by then gone effective. I have appealed that ruling because, again, the Plan
becoming effective does not alleviate the Debtor’s burden of filing the requisite reports.
        The U.S. Trustee’s Office also failed to object to the Court’s order confirming the
Debtor’s Plan, in which the Court appears to have released the Debtor from its obligation to file
any reports after the effective date of the Plan that were due for any period prior to the effective
date, an order that likewise defeats any effort to demand transparency from the Debtor. The U.S.
Trustee’s failure to object to this portion of the Court’s order is directly at odds with the spirit
and mandate of the Periodic Reporting Requirements, which recognize the U.S. Trustee’s duty to
ensure that debtors timely file all required reports.
        2.      There Was No Transparency Regarding The Financial Affairs Of Non-
                Debtor Affiliates Or Transactions Between The Debtor And Its Affiliates
        The Debtor’s failure to file Rule 2015.3 reports for affiliate entities created additional
transparency problems for interested parties and creditors wishing to evaluate assets held in non-
Debtor subsidiaries. In making an investment decision, it would be important to know if the
assets of a subsidiary consisted of cash, marketable securities, other liquid assets, or operating
businesses/other illiquid assets. The Debtor’s failure to file Rule 2015.3 reports hid from public
view the composition of the assets and the corresponding liabilities at the subsidiary level.
During the course of proceedings, the Debtor sold $172 million in assets, which altered the asset
mix and liabilities of the Debtor’s affiliates and controlled entities. Although Judge Jernigan
held that such sales did not require Court approval, a Rule 2015.3 report would have revealed the
mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity.
In the Appendix, I have included a schedule of such sales.
       Of particular note, the Court authorized the Debtor to place assets that it acquired with
“allowed claim dollars” from HarbourVest (a creditor with a contested claim against the estate)
into a specially-created non-debtor entity (“SPE”).6 The Debtor’s motion to settle the

below the Debtor. See Appendix, p. A-19 (Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
6
  Prior to Highland’s bankruptcy, HarbourVest had invested $80 million into a Highland fund called Acis Loan
Funding, later rebranded as Highland CLO Funding, Ltd. (“HCLOF”). A dispute later arose between HarbourVest



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HarbourVest claim valued the asset acquired (HarbourVest’s interest in HCLOF) at $22 million.
In reality, that asset had a value of $40 million, and had the asset been placed in the Debtor
entity, its true value would have been reflected in the Debtor’s subsequent reporting. By instead
placing the asset into an SPE, the Debtor hid from public view the true value of the asset as well
as information relating to its disposition; all the public saw was the filed valuation of the asset.
The U.S. Trustee did not object to the Debtor’s placement of the HarbourVest assets into an SPE
and apparently just deferred to the judgment of the Creditors’ Committee about whether this was
appropriate.7 Again, when the U.S. Trustee’s Office does not require transparency, lack of
transparency significantly increases the need for non-public information. Because the
HarbourVest assets were placed in a non-reporting entity, no potential claims buyer without
insider information could possibly ascertain how the acquisition would impact the estate.
        3.       The Plan’s Improper Releases And Exculpation Provisions Destroyed Third-
                 Party Rights
        In addition, the Debtor’s Plan contains sweeping release, exculpation provisions, and a
channeling injunction requiring that any permitted causes of action to be vetted and resolved by
the Bankruptcy Court. On their face, these provisions violate Pacific Lumber, in with the United
States Court of Appeals for the Fifth Circuit rejected similarly broad exculpation clauses. The
U.S. Trustee’s Office in Dallas has, in all cases but this one, vigorously protected the rights of
third parties against such exculpation clauses. In this case, the U.S. Trustee’s Office objected to
the Plan, but it did not pursue that objection at the confirmation hearing (nor even bother to
attend the first day of the hearing),8 nor did it appeal the order of the Bankruptcy Court
approving the Plan and its exculpation clauses.
        As a result of this failure, third-party investors in entities managed by the Debtor are now
barred from asserting or channeled into the Bankruptcy Court to assert any claim against the
Debtor or its management for transactions that occurred at the non-debtor affiliate level. Those
investors’ claims are barred notwithstanding that they were not notified of the releases and have
never been given any information with which to evaluate their potential claims, nor given the
opportunity to “opt out.” Conversely, the releases insulate claims purchasers from the risk of
potential actions by investors in funds managed by the Debtor (for breach of fiduciary duty,
diminution in value, or otherwise). These releases are directly at odds with investors’
expectations when they invest in managed funds—i.e., that fund managers will act in a fiduciary
capacity to maximize investors’ returns and that investors will have recourse for any failure to do
so. While the agreements executed by investors may limit the exposure of fund managers,
typically those provisions require the fund manager to obtain a third-party fairness opinion where
there is a conflict between the manager’s duty to the estate and his duty to fund investors.
       As an example, the Court approved the settlement of UBS’s claim against the Debtor and
two funds managed by the Debtor (collectively referred to as “MultiStrat”). Pursuant to that
settlement, MultiStrat agreed to pay UBS $18.5 million and represented that it was advised by
“independent legal counsel” in the negotiation of the settlement.9 That representation is untrue;

and Highland, and HarbourVest filed claims in the Highland bankruptcy approximating $300 million in relation to
damages allegedly due to HarbourVest as a result of that dispute. Although the Debtor initially placed no value on
HarbourVest’s claim (the Debtor’s monthly operating report for December 2020 indicated that HarbourVest’s
allowed claims would be $0), eventually the Debtor entered into a settlement with HarbourVest—approved by the
Bankruptcy Court—which entitled HarbourVest to $80 million in claims. In return, HarbourVest agreed to convey
its interest in HCLOF to the SPE designated by the Debtor and to vote in favor of the Debtor’s Plan.
7
  Dugaboy has appealed the Bankruptcy Court’s ruling approving the placement of the HarbourVest assets into a
non-reporting SPE.
8
  See Doc. 1894 (Feb. 2, 2021 Hr’g Tr. at 10:7-14).
9
  See Doc. 2389 (Order Approving Debtor’s Settlement With UBS Securities LLC and UBS AG London Branch) at



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MultiStrat did not have separate legal counsel and instead was represented only by the Debtor’s
counsel.10 If that representation and/or the terms of the UBS/MultiStrat settlement in some way
unfairly impacted MultiStrat’s investors, they now have no recourse against the Debtor. The
release and exculpation provisions in Highland’s Plan do not afford third parties any meaningful
recourse to third parties, even when they are negatively impacted by misrepresentations of the
type contained in the UBS/MultiStrat settlement or when their interests are impaired by fund
managers’ failure to obtain fairness opinions to resolve conflicts of interest.
        The U.S. Trustee’s Office recently has argued in the context of the bankruptcy of Purdue
Pharmaceuticals that release and exculpations clauses akin to those contained in Highland’s Plan
violate both the Bankruptcy Code and the Due Process Clause of the United States
Constitution.11 It has been the U.S. Trustee’s position that where, as here, third parties whose
claims are being released did not receive notice of the releases and had no way of knowing,
based on the Plan’s language, what claims were extinguished, third-party releases are contrary to
law.12 This position comports with Fifth Circuit case law, which makes clear that releases must
be consensual, and that the released party must make a substantial contribution in exchange for
any release.      Highland’s Plan does not provide for consent by third parties (or an opt-out
provision), nor does it require that released parties provide value for their releases. Under these
circumstances, it is difficult to understand why the U.S. Trustee’s Office in Dallas did not lodge
an objection to the Plan’s release and exculpation provisions. Several parties have appealed this
issue to the Fifth Circuit.
        4.       The Lack Of Transparency Facilitated Potential Insider Trading
         The biggest problem with the lack of transparency at every step is that it created a need
for access to non-public confidential information. The Debtor (as well as its advisors and
professionals) and the Creditors’ Committee (and its counsel) were the only parties with access
to critical information upon which any reasonable investor would rely. But the public did not.
        In the context of this non-transparency, it is notable that three of the four members of the
Creditors’ Committee and one non-committee member sold their claims to two buyers, Muck
Holdings LLC (“Muck”) and Jessup Holdings LLC (“Jessup”). The four claims that were sold
comprise the largest four claims in the Highland bankruptcy by a substantial margin,13
collectively totaling almost $270 million in Class 8 claims and $95 million in Class 9 claims14:
  Claimant                         Class 8 Claim             Class 9 Claims             Date Claim Settled
  Redeemer Committee               $136,696,610              N/A                        October 28, 2020
  Acis Capital                     $23,000,000               N/A                        October 28, 2020
  HarbourVest                      $45,000,000               $35,000,000                January 21, 2021
  UBS                              $65,000,000               $60,000,000                May 27, 2021
  TOTAL:                           $269,6969,610             $95,000,000
       Muck is owned and controlled by Farallon Capital Management (“Farallon”), and we
have reason to believe that Jessup is owned and controlled by Stonehill Capital Management
(“Stonehill”). As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon)

Ex. 1, §§ 1(b), 11; see Appendix, p. A-57.
10
   The Court’s order approving the UBS settlement is under appeal in part based on MultiStrat’s lack of independent
legal counsel.
11
   See Memorandum of Law in Support of United States Trustee’s Expedited Motion for Stay of Confirmation
Order, In re Purdue Pharma, L.P., Case No. 19-23649 (RDD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
12
   See id. at 22.
13
   See Appendix, p. A-25.
14
   Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.



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and Jessup (Stonehill) will oversee the liquidation of the Reorganized Debtor and the payment
over time to creditors who have not sold their claims.
        This is concerning because there is substantial evidence that Farallon and Stonehill may
have been provided material, non-public information to induce their purchase of these claims.15
In particular, there are three primary reasons we believe that non-public information was made
available to facilitate these claims purchases:
                 The scant publicly-available information regarding the Debtor’s estate ordinarily
                  would have dissuaded sizeable investment in purchases of creditors’ claims;
                 The information that actually was publicly available ordinarily would have
                  compelled a prudent investor to conduct robust due diligence prior to purchasing
                  the claims;

                 Yet these claims purchasers spent in excess of $100 million (and likely closer to
                  $150 million) on claims, ostensibly without any idea of what they were
                  purchasing.
         We believe the claims purchases of Stonehill and Farallon can be summarized as follows:
     Creditor             Class 8         Class 9        Purchaser                       Purchase Price
     Redeemer            $137.0          $0.0            Stonehill                      $78.016
     ACIS                $23.0           $0.0            Farallon                       $8.0
     HarbourVest         $45.0           $35.0           Farallon                       $27.0
     UBS                 $65.0           $60.0           Stonehill and Farallon         $50.017


      To elaborate on our reasons for suspicion, an analysis of publicly-available information
would have revealed to any potential investor that:
                 There was a $200 million dissipation in the estate’s asset value, which started at a
                  scheduled amount of $556 million on October 16, 2019, then plummeted to $328
                  million as of September 30, 2020, and then increased only slightly to $364 million
                  as of January 31, 2021.18

15
   A timeline of relevant events can be found at Appendix, p. A-26.
16
   See Appendix, pp. A-70 – A-71. Because the transaction included “the majority of the remaining investments held
by the Crusader Funds,” the net amount paid by Stonehill for the Claims was approximately $65 million.
17
   Based on the publicly-available information at the time Stonehill and Farallon purchased the UBS claim, the
purchase made no economic sense. At the time, the publicly-disclosed Plan Analysis estimated that there would be
a 71.32% distribution to Class 8 creditors and a 0.00% distribution to Class 9 creditors, which would mean that
Stonehill and Farallon paid $50 million for claims worth only $46.4 million. See Appendix, p. A-28. If, however,
Stonehill and Farallon had access to information that only came to light later—i.e., that the estate was actually worth
much, much more (between $472-600 million as opposed to $364 million)—then it makes sense that they would pay
what they did to buy the UBS claim.
18
   Compare Jan. 31, 2021 Monthly Operating Report [Doc. 2030], with Disclosure Statement (approved on Nov. 24,
2020) [Doc. 1473]. The increase in value between September 2020 and January 2021 is attributable to the Debtor’s
settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9 Claim of $35
million, and in exchange the Debtor received HarbourVest’s interest in HCLOF, which we believe was worth
approximately $44.3 million as of January 31, 2021. See Appendix, p. A-25. It is also notable that the January 2021



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                 The total amount of allowed claims against the estate increased by $236 million;
                  indeed, just between the time the Debtor’s disclosure statement was approved on
                  November 24, 2020, and the time the Debtor’s exhibits were introduced at the
                  confirmation hearing, the amount of allowed claims increased by $100 million.

                 Due to the decrease in the value of the Debtor’s assets and the increase in the
                  allowed claims amount, the ultimate projected recovery for creditors in
                  bankruptcy went from 87.44% to 62.99% in just a matter of months.19
No prudent investor or hedge fund investing third-party money would purchase substantial
claims out of the Highland estate based on this publicly-available information without
conducting thorough due diligence to be satisfied that the assets of the estate would not continue
to deteriorate or that the allowed claims against the estate would not continue to grow.
        There are other good reasons to investigate whether Muck and Jessup (through Farallon
and Stonehill) had access to material, non-public information that influenced their claims
purchasing. In particular, there are close relationships between the claims purchasers, on the one
hand, and the selling Creditors’ Committee members and the Debtor’s management, on the other
hand. What follows is our understanding of those relationships:
                 Farallon and Stonehill have long-standing, material, undisclosed relationships
                  with the members of the Creditors’ Committee and Mr. Seery. 20 Mr. Seery
                  formerly was the Global Head of Fixed Income Loans at Lehman Bros. until its
                  collapse in 2009. While at Lehman, Mr. Seery did a substantial amount of
                  business with Farallon. After the Lehman collapse, Mr. Seery joined Sidley &
                  Austin as co-head of the corporate restructuring and bankruptcy group, where he
                  worked with Matt Clemente, counsel to the Creditors’ Committee in these
                  bankruptcy proceedings.

                 In addition, Grovesnor, one of the lead investors in the Crusader Fund from the
                  Redeemer Committee (which appointed Seery as its independent director) both
                  played a substantial role on the Creditors’ Committee and is a large investor in
                  Farallon and Stonehill.
                 According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr.
                  Seery represented Farallon in its acquisition of claims in the Lehman estate.

                 Also while at Sidley, Mr. Seery represented the Steering Committee in the
                  Blockbuster Video bankruptcy; Stonehill (through its Managing Member, John
                  Motulsky) was one of the five members of the Steering Committee.

                 Mr. Seery left Sidley in 2013 to become the President and Senior Investment
                  Partner of River Birch Capital, a hedge fund founded by his former Lehman
                  colleagues. He left River Birch in October 2017 just before the fund imploded.
                  In 2017, River Birch and Stonehill Capital were two of the biggest note holders in
                  the Toys R Us bankruptcy and were members of the Toys R Us creditors’

monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value of
$74 million in December 2020.
19 See Appendix, pp. A-25, A-28.
20
   See Appendix, pp. A-2; A-62 – A-69.



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                   committee.

It does not seem a coincidence that two firms with such significant ties to Mr. Seery have
purchased $365 million in claims. The nature of the relationships and the absence of public data
warrants an investigation into whether the claims purchasers may have had access to non-public
information.
         Other transactions occurring during the Highland bankruptcy also reinforce the suspicion
that insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill,
used non-public information obtained incident to the bankruptcy to purchase stock in NexPoint
Strategic Opportunities Fund (NYSE: NHF), a publicly traded, closed-end ’40 Act fund with
many holdings in common with assets held in the Highland estate outlined above. Stonehill is a
registered investment adviser with $3 billion under management that has historically owned very
few equity interests, particularly equity interests in a closed-end fund. As disclosed in SEC
filings, Stonehill acquired enough stock in NHF during the second quarter of 2021 to make it
Stonehill’s eighth largest equity position.
        The timing of the acquisitions of claims by Farallon and Stonehill also warrants
investigation. In particular, although notices of the transfer of the claims were filed immediately
after the confirmation of the Debtor’s Plan and prior to the effective date of the Plan, it seems
likely that negotiations began much earlier. Transactions of this magnitude do not take place
overnight and typically require robust due diligence. We know, for example, that Muck was
formed on March 9, 2021, more than a month before it filed notice that it was purchasing the
Acis claim. If the negotiation or execution of a definitive agreement for the purchase began
before or contemporaneously with Muck’s formation, then there is every reason to investigate
whether selling Creditors’ Committee members and/or Debtor management provided Farallon
with critical non-public information well before the Creditors’ Committee members sold their
claims and withdrew from the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others
that they purchased the Acis and HarbourVest claims in late January or early February. We
believe an investigation will reveal whether negotiations of the sale and the purchase of claims
from Creditors’ Committee members preceded the confirmation of the Debtor’s Plan and the
resignation of those members from the Committee.
        Likewise, correspondence from the fund adviser to the Crusader Fund indicates that the
Crusader Fund and the Redeemer Committee had “consummated” the sale of the Redeemer
Committee’s claims and other assets on April 30, 2021, “for $78 million in cash, which was paid
in full to the Crusader Funds at closing.”21 We also know that there was a written agreement
among Stonehill, the Crusader Fund, and the Redeemer Committee that potentially dates back to
the fourth quarter of 2020. Presumably such an agreement, if it existed, would impose
affirmative and negative covenants upon the seller and grant the purchaser discretionary approval
rights during the pendency of the sale. An investigation by your office is necessary to determine
whether there were any such agreement, which would necessarily conflict with the Creditors’
Committee members’ fiduciary obligations.
       The sale of the claims by the members of the Creditors’ Committee also violates the
guidelines provided to committee members that require a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member’s claim. The instructions
provided by the U.S. Trustee’s Office (in this instance the Delaware Office) state:




21
     See Appendix, pp. A-70 – A-71.



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         In the event you are appointed to an officiaJ committee of creditors, the nited States Trustee may require
 periodic certifications of your claims while the bankruptcy case is pending. Creditors wishing to serve as
 fiduciaries on any official committee are advised that they may not purchase, sell or otherwise trade in or transfer
 claims against the Debtor while they are committee members absent an order of the Court. By submitting the
 enclosed Questionnaire and accel!ting membership on an official committee of creditors ou agree to this
   rohibition. The nited States Trustee reserves the right to take appropriate action, including removing a
 creditor from any committee if the information provided in the Questionnaire is inaccurate, if the foregoing
 prohibition is violated, or for any other reason the nited States Trustee believes is proper in the exercise of her
 discretion. You are hereby notified that the United tates Trustee may share this information with the Semrities
 and Exchange Commission if deemed appropriate.
In this case, no Court approval was ever sought or obtained, and the Dallas U.S. Trustee’s Office
took no action to enforce this guideline. The Creditors’ Committee members were sophisticated
entities, and they were privy to inside information that was not available to other unsecured
creditors. For example, valuations of assets placed into a specially-created affiliated entities,
such as the assets acquired in the HarbourVest settlement, and valuations of assets held by other
entities owned or controlled by the Debtor, were available to the selling Creditors’ Committee
members, but not other creditors or parties-in-interest.
       While claims trading itself is not necessarily prohibited, the circumstances surrounding
claims trading often times prompt investigation due to the potential for abuse. This case
warrants such an investigation due to the following:
          a)      The selling parties were three of the four Creditors’ Committee members, and
                  each one had access to information they received in a fiduciary capacity;
          b)      Some of the information they received would have been available to other parties-
                  in-interest if Rule 2015.3 had been enforced;
          c)      The sales allegedly occurred after the Plan was confirmed, and certain other
                  matters immediately thereafter came to light, such as the Debtor’s need for an exit
                  loan (although the Debtor testified at the confirmation hearing that no loan was
                  needed) and the inability of the Debtor to obtain Directors and Officer insurance;
          d)      The Debtor settled a dispute with UBS and obligated itself (using estate assets) to
                  pursue claims and transfers and to transfer certain recoveries to UBS, as opposed
                  to distributing those recoveries to creditors, and the Debtor used third-party assets
                  as consideration for the settlement22;
          e)      The projected recovery to creditors changed significantly between the approval of
                  the Disclosure Statement and the confirmation of the Debtor’s Plan; and

          f)      There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                  that is publicly traded on the New York stock exchange. The Debtor’s assets and
                  the positions held by the closed-end fund are similar.
        Further, there is reason to believe that insider claims-trading negatively impacted the
estate’s ultimate recovery. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors’ Committee and Mr. Dondero attempt to reach a settlement. Mr.
Dondero, through counsel, made numerous offers of settlement that would have maximized the
estate’s recovery, even going so far as to file a proposed Plan of Reorganization. The Creditors’
Committee did not timely respond to these efforts. It was not until The Honorable Former Judge
D. Michael Lynn, counsel for Mr. Dondero, reminded the Creditors’ Committee counsel that its




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members had a fiduciary duty to respond that a response was forthcoming. Mr. Dondero’s
proposed plan offered a greater recovery than what the Debtor had reported would be the
expected Plan recovery. The Creditors’ Committee’s failure to timely respond to that offer
suggests that some members may have been contractually constrained from doing so, which
itself warrants investigation.
        We encourage the EOUST to question and explore whether, at the time that Mr.
Dondero’s proposed plan was filed, the Creditors’ Committee members already had committed
to sell their claims and therefore were contractually restricted from accepting Mr. Dondero’s
materially better offer. If that were the case, the contractual tie-up would have been a violation
of the Committee members’ fiduciary duties. The reason for the U.S. Trustee’s guideline
concerning the sale of claims by Committee members was to allow a public hearing on whether
Committee members were acting within the bounds of their fiduciary duties to the estate incident
to the sale of any claim. The failure to enforce this guideline has left open questions about sale
of Committee members’ claims that should have been disclosed and vetted in open court.
       In summary, the failure of the U.S. Trustee’s Office to demand appropriate reporting and
transparency created an environment where parties needed to obtain and use non-public
information to facilitate claims trading and potential violations of the fiduciary duties owed by
Creditors’ Committee members. At the very least, there is enough credible evidence to warrant
an investigation. It is up to the bankruptcy bar to alert your office to any perceived abuses to
ensure that the system is fair and transparent. The Bankruptcy Code is not written for those who
hold the largest claims but, rather, it is designed to protect all stakeholders. A second Neiman
Marcus should not be allowed to occur.
       We would appreciate a meeting with your office at your earliest possible convenience to
discuss the contents of this letter and to provide additional information and color that we believe
will be valuable in making a determination about whether and what to investigate. In the
interim, if you need any additional information or copies of any particular pleading, we would be
happy to provide those at your request.

                                                     Very truly yours,

                                                     /s/Douglas S. Draper

                                                     Douglas S. Draper

DSD:dh




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                                           November 3, 2021

Via E-Mail and Federal Express
Ms. Nan R. Eitel
Office of the General Counsel
Executive Office for U.S. Trustees
20 Massachusetts Avenue, NW
8th Floor
Washington, DC 20530
Nan.r.Eitel@usdoj.gov

       Re:      Highland Capital Management, L.P. Bankruptcy Case
                Case No. 19-34054 (SGJ) Bankr. N.D. Tex.

Dear Ms. Eitel:

        I am a senior bankruptcy practitioner who has worked closely with Douglas Draper (representing
separate, albeit aligned, clients) in the above-referenced Chapter 11 case. I have represented debtors-
in-possession on multiple occasions, have served as an adjunct professor of law teaching advanced
corporate restructuring, and consider myself not only a bankruptcy expert, but an expert on the
practicalities and realities of how estates and cases are administered and, therefore, how they could be
manipulated for personal interests. I write to follow up on the letter that Douglas sent to your offices on
October 4, 2021, on account of additional information my clients have learned in this matter. So that
you understand, my clients in the case are NexPoint Advisors, L.P. and Highland Capital Management
Fund Advisors, LP., both of whom are affiliated with and controlled by James Dondero, and I write this
letter on their behalf and based on information they have obtained.

        I share Douglas' view that serious abuses of the bankruptcy process occurred during the
bankruptcy of Texas-headquartered Highland Capital Management, LP. ("Highland" or the "Debtor'')
which, left uninvestigated and unaddressed, may represent a systemic issue that I believe would be of
concern to your office and within your office's sphere of authority. Those abuses include potential insider
trading and breaches of fiduciary duty by those charged with protecting creditors, understated
estimations of estate value seemingly designed to benefit insiders and management, gross mistreatment
of employees who were key to the bankruptcy process, and ultimately a plan aimed at liquidating an
otherwise viable estate, to the detriment of third-party investors in Debtor-managed funds. To be clear,
I recognize that the Bankruptcy Court has ruled the way that it has and I am not criticizing the Bankruptcy
Court or seeking to attack any of its orders. Rather, as has been and will be shown, the Bankruptcy
Court acted on misinformation presented to it, intentional lack of transparency, and manipulation of the
facts and circumstances by the fiduciaries of the estate. I therefore wish to add my voice to Douglas'
aforementioned letter, provide additional information, encourage your investigation, and offer whatever
information or assistance I can.

       The abuses here are akin to the type of systemic abuse of process that took place in the
bankruptcy of Neiman Marcus (in which a core member of the creditors' committee admittedly attempted
to perpetrate a massive fraud on creditors), and which is something that lawmakers should be concerned
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about, particularly to the extent that debtor management and creditors' committee members are using
the federal bankruptcy process to shield themselves from liability for otherwise harmful, illegal, or
fraudulent acts.

                                                 BACKGROUND

Highland Capital Management and its Founder, James Dondero

        Highland Capital Management, L.P. is an SEC-registered investment advisor co-founded by
James Dondero in 1993. A graduate of the University of Virginia with highest honors, Mr. Dondero has
over thirty years of experience successfully overseeing investment and business activities across a
range of investment platforms. Of note, Mr. Dondero is chiefly responsible for ensuring that Highland
weathered the global financial crisis, evolving the firm's focus from high-yield credit to other areas,
including real estate, private equity, and alternative investments. Prior to its bankruptcy, Highland served
as advisor to a suite of registered funds, including open-end mutual funds, closed-end funds, and an
exchange-traded fund.

       In addition to managing Highland, Mr. Dondero is a dedicated philanthropist who has actively
supported initiatives in education, veterans' affairs, and public policy. He currently serves as a member
of the Executive Board of the Southern Methodist University Cox School of Business and sits on the
Executive Advisory Council of the George W. Bush Presidential Center.

Circumstances Precipitating Bankruptcy

         Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
like many other investment platforms-suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved a group of investors who had
invested in Highland-managed funds collectively termed the "Crusader Funds." During the financial
crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager temporarily
suspended redemptions, leading investors to sue. That dispute resolved with the formation of an investor
committee self-named the "Redeemer Committee" and the orderly liquidation of the Crusader Funds,
which resulted in investors' receiving a return of their investments plus a return, as opposed to the 20
cents on the dollar they would have received had their redemption requests been honored when made.

         Despite this successful liquidation, the Redeemer Committee sued Highland again several years
later, claiming that Highland had improperly delayed the liquidation and paid itself fees not authorized
under the parties' earlier settlement agreement. The dispute went to arbitration, ultimately resulting in
an arbitration award against Highland of $189 million (of which Highland expected to make a net
payment of $11 O million once the award was confirmed).

        Believing that a restructuring of its judgment liabilities was in Highland's best interest, on October
16, 2019, Highland-a Delaware limited partnership-filed a voluntary petition for relief under Chapter
11 of the Bankruptcy Code in the Bankruptcy Court for the District of Delaware.1

       On October 29, 2019, the Bankruptcy Court appointed the Official Committee of Unsecured
Creditors ("Creditors' Committee"). The Creditors' Committee Members (and the contact individuals for
those members) are: (1) The Redeemer Committee of the Highland Crusader Fund (Eric Felton), (2)
Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch (Elizabeth

1   In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case"), Dkt. 1.
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Kozlowski), and (4) Acis Capital Management, LP. and Acis Capital Management GP, LLP (Joshua
Terry).2 At the time of their appointment, creditors agreeing to serve on the Creditors' Committee were
given an Instruction Sheet by the Office of the United States Trustee, instructing as follows:

        Creditors wishing to serve as fiduciaries on any official committee are advised that
        they may not purchase, sell or otherwise trade in or transfer claims against the
        Debtor while they are committee members absent an order of the Court.                       By
        submitting the enclosed Questionnaire and accepting membership on an official
        committee of creditors, you agree to this prohibition. The United States Trustee
        reserves the right to take appropriate action, including removing the creditor from
        any committee, if the information provided in the Questionnaire is inaccurate, if the
        foregoing prohibition is violated, or for any other reason the United States Trustee
        believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

      In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
Bankruptcy Court unexpectedly transferred the bankruptcy case to the Northern District of Texas, to
Judge Stacey G.C. Jernigan's court.3

        SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                          ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

        From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
pushed to replace Mr. Dondero as the sole director of the Debtor's general partner, Strand Advisors,
Inc. ("Strand"). To avoid a protracted dispute and to facilitate the restructuring, on January 9, 2020, Mr.
Dondero agreed to resign as the sole director, on the condition that he would be replaced by three
independent directors who would act as fiduciaries of the estate and work to restructure Highland's
business so it could continue operating and emerge from bankruptcy as a going concern. As Mr. Draper
previously has explained, the agreement approved by the Bankruptcy Court allowed Mr. Dondero, UBS
(which held one of the largest claims against the estate), and the Redeemer Committee each to choose
one director, and also established protocols for operations going forward. Mr. Dondero chose The
Honorable Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee
chose James Seery. 4

         In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months, but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfortunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland's management was being dominated by one of the

2 Del. Case, Dkt. 65.
3
  See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket
references are to the docket of the Bankruptcy Court for the Northern District of Texas.
4 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of

Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course,
Dkt. 338; Order Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of
the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 339.
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independent directors, Mr. Seery (as will be seen, for his self-gain). Shortly after his placement on the
Board, on March 15, 2020, Mr. Seery became de facto Chief Executive Officer, after which he
immediately took steps to freeze Mr. Dondero out of operations completely, to the detriment of
Highland's business and its employees. The Bankruptcy Court formally approved Mr. Seery's
appointment as CEO and Chief Restructuring Officer on July 14, 2020.5 Although Mr. Seery publicly
represented that his goal was to restructure the Debtor's business and enable it to emerge as a going
concern, privately he was engineering a much different plan. Less than two months after Mr. Seery's
appointment as CEO/CRO, the Debtor filed its initial plan of reorganization, disclosing for the first time
its intention to terminate substantially all employees by the end of 2020 and to liquidate Highland's assets
by 2022. 6

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan").7 There
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Court and the Court of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings

        The Regulatory Framework

         As you are aware, one of the most important features of federal bankruptcy proceedings is
transparency. The EOUST instructs that "Debtors-in-possession and trustees must account for the
receipt, administration, and disposition of all property; provide information concerning the estate and the
estate's administration as parties in interest request; and file periodic reports and summaries of a
debtor's business, including a statement of receipts and disbursements, and such other information as
the United States Trustee or the United States Bankruptcy Court requires." See
http://justice.gov/ust/chapter-11-information (citing 11 U.S.C. § 1106(a)(1), 1107(a)). And Federal Rule
of Bankruptcy Procedure 2015.3(a) states that "the trustee or debtor in possession shall file periodic
financial reports of the value, operations, and profitability of each entity that is not a publicly traded
corporation or a debtor in a case under title 11, and in which the estate holds a substantial or controlling
interest.· This rule requires the trustee or a debtor in possession to file a report for each non-debtor
affiliate prior to the first meeting of creditors and every six months thereafter until the effective date of a
plan of reorganization. Fed R. Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from
filing reports due prior to the effective date merely because a plan has become effective. 8 Notably, the
U.S. Trustee has the duty to ensure that debtors in possession properly and timely file all required
reports. 28 U.S.C. § 1112(b)(4)(F), (H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their

5 See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention
of James P. Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer, and Foreign Representative Nunc
Pro Tune to March 15, 2020, Dkt. 854.
6 See Plan of Reorganization of Highland Capital Management, L.P. dated August 12, 2020, Dkt. 944.
7 See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

Modified); and (II) Granting Related Relief, Dkt. 1943.
8 After notice and a hearing, the bankruptcy court may grant relief from the Rule 2015.3 disclosure requirement "for

cause," including that "the trustee or debtor in possession is not able, after a good faith effort, to comply with th[e]
reporting requirements, or that the information required by subdivision (a) is publicly available.· Fed. R. Bankr.
2015.3(d).
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management, and representatives on creditors' committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
benefit of the estate.

       In Highland's Bankruptcy, the Regulatory Framework Is Ignored

       Against this regulatory backdrop, and on the heels of high-profile bankruptcy abuses like those
that occurred in the context of the Neiman Marcus bankruptcy, the Highland bankruptcy offered almost
no transparency to stakeholders. Traditional reporting requirements were ignored. This opened the door
to numerous abuses of process and potential violations of federal law, as detailed below.

        As Mr. Draper already has highlighted, one significant problem in Highland's bankruptcy was the
Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf of itself
or its affiliated entities. Typically, such reports would include information like asset value, income from
financial operations, profits, and losses for each non-publicly traded entity in which the estate has a
substantial or controlling interest. This was very important here, where the Debtor held the bulk of its
value-hundreds of millions of dollars-in non-debtor subsidiaries. The Debtor's failure to file the
required Rule 2015.3 reports was brought to the attention of the Debtor, the Bankruptcy Court, and the
U.S. Trustee's Office. During the hearing on Plan confirmation, the Debtor was questioned about the
failure to file the reports. The sole excuse offered by the Debtor's Chief Restructuring Officer and Chief
Executive Officer, Mr. Seery, was that the task "fell through the cracks. "9 Nor did the Debtor or its counsel
ever attempt to show "cause" to gain exemption from the reporting requirement. That is because there
was no good reason for the Debtor's failure to file the required reports. In fact, although the Debtor and
the Creditors' Committee often refer to the Debtor's structure as a "byzantine empire," the assets of the
estate fall into a handful of discrete investments, most of which have audited financials and/or are
required to make monthly or quarterly net-asset-value or fair-value determinations. 10 Rather than
disclose financial information that was readily available, the Debtor appears to have taken deliberate
and strategic steps to avoid transparency.

       In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors'
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly-owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
Committee member had real-time financial information with respect to the affairs of non-debtor affiliates,
which is precisely the type of information that should have been disclosed to the public pursuant to Rule
2015.3. Yet, the fact that the Committee members alone had this information enabled some of them to
trade on it, for their personal benefit.

       The Debtor's management failed and refused to make other critical disclosures as well. As
explained in detail below, during the bankruptcy proceedings, the Debtor sold off sizeable assets without
any notice and without seeking Bankruptcy Court approval. The Debtor characterized these transactions
as the "ordinary course of business" (allowing it to avoid the Bankruptcy Court approval process), but

9See Dkt. 1905 {Feb. 3, 2021 Hr'g Tr. at 49:5-21).
10 During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ff the top of [his] head" and
acknowledged that he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh.
A {Jan. 29, 2021 Dep. Tr. at 22:4-10; 23:1-29:10).
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they were anything but ordinary. In addition, the Debtor settled the claims of at least one creditor-
former Highland employee Patrick Daugherty-without seeking court approval of the settlement
pursuant to Federal Rule of Bankruptcy Procedure 9019. We understand that the Debtor paid Mr.
Daugherty $750,000 in cash as part of that settlement, done as a "settlement" to obtain Mr. Daugherty's
withdrawal of his objection to the Debtor's plan.

         Despite all of these transparency problems, the Debtor's confirmed Plan contains provisions that
effectively release the Debtor from its obligation to file any of the reports due for any period prior to the
effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court's order of confirmation, which is directly at odds with the
spirit and mandate of the Periodic Reporting Requirements recently adopted by the EOUST and
historical rules mandating transparency. 11

       As will become apparent, because neither the federal Bankruptcy Court nor the U.S. Trustee
advocated or demanded compliance with the rules, the Debtor, its newly-appointed management, and
the Creditors' Committee charged with protecting the interests of all creditors were able to manipulate
the estate for the benefit of a handful of insiders, seemingly in contravention of law.

Debtor And Debtor-Affiliate Assets Were Deliberately Hidden and Mischaracterized

        Largely because of the Debtor's failure to file Rule 2015.3 reports for affiliate entities, interested
parties and creditors wishing to evaluate the worth and mix of assets held in non-Debtor affiliates could
not do so. This is particularly problematic, because during proceedings, the Debtor sold $172 million in
assets, which altered the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In
addition, the estate's asset value decreased by approximately $200 million in a matter of months. Absent
financial reporting, it was impossible for stakeholders to determine whether the $200 impairment in asset
value reflected actual realized losses or merely temporary mark-downs precipitated by problems
experienced by certain assets during the pandemic (including labor shortages, supply-chain issues,
travel interruptions, and the like). Although the Bankruptcy Court held that such sales did not require
Court approval, a Rule 2015.3 report would have revealed the mix of assets and the corresponding
reduction in liabilities of the affiliated or controlled entity-information that was critical in evaluating the
worth of claims against the estate or future investments into it.

        One transaction that was particularly problematic involved alleged creditor HarbourVest, a
private equity fund with approximately $75 billion under management. Prior to Highland's bankruptcy,
HarbourVest had invested $80 million into (and obtained 49.98% of the outstanding shares of) a
Highland fund called Acis Loan Funding, later rebranded as Highland CLO Funding, Ltd. ("HCLOF"). A
charitable fund called Charitable OAF Fund, LP. ("OAF") held 49.02% member interests in HCLOF, and
the remaining □2.00% was held by Highland and certain of its employees. Prior to Highland's bankruptcy
proceedings, a dispute arose between HarbourVest and Highland, in which HarbourVest claimed it was
duped into making the investment because Highland allegedly failed to disclose key facts relating to the
investment (namely, that Highland was engaged in ongoing litigation with former employee, Josh Terry,




11
  See "Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter
11 of Title 11" (the uPeriodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the
EOUST's commitment to maintaining "uniformity and transparency regarding a debtor's financial condition and
business activities" and "to inform creditors and other interested parties of the debtor's financial affairs." 85 Fed.
Reg. 82906.
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which would result in HCLOF's incurring legal fees and costs). HarbourVest alleged that, as a result of
the Terry lawsuit, HCLOF incurred approximately $15 million in legal fees and costs. 12

         In the context of Highland's bankruptcy, however, HarbourVest filed a proof of claim alleging that
it was due over $300 million in damages in the dispute, a claim that bore no relationship to economic
reality. As a result, Debtor management initially valued HarbourVest's claims at $0, a value consistently
reflected in the Debtor's publicly-filed financial statements, up through and including its December 2020
Monthly Operating Report. 13 Eventually, however, the Debtor announced a settlement with HarbourVest
which entitled HarbourVest to $45 million in Class 8 claims and $35 million in Class 9 claims. 14 At the
time, the Debtor's public disclosures reflected that Class 8 creditors could expect to receive
approximately 70% payout on their claims, and Class 9 creditors could expect 0.00%. In other words,
HarbourVest's total $80 million in allowed claims would allow HarbourVest to realize a $31.5 million
retum. 15

         As consideration for this potential payout, HarbourVest agreed to convey its interest in HCLOF
to a special-purpose entity ("SPE") designated by the Debtor (a transaction that involved a trade of
securities) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in support of the
settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was $22.5 million.
It later came to light, however, that the actual value of that asset was at least $44 million.

         There are numerous problems with this transaction which may not have occurred with the
requisite transparency. As a registered investment advisor, the Debtor had a fiduciary obligation to
disclose the true value of HarbourVest's interest in HCLOF to investors in that fund. The Debtor also
had a fiduciary obligation to offer the investment opportunity to the other investors prior to purchasing
HarbourVest's interest for itself. Mr. Seery has acknowledged that his fiduciary duties to the Debtor's
managed funds and investors supersedes any fiduciary duties owed to the Debtor and its creditors in
bankruptcy. Nevertheless, the Debtor and its management appear to have misrepresented the value of
the HarbourVest asset, brokered a purchase of the asset without disclosure to investors, and thereafter
placed the HarbourVest interest into a non-reporting SPE. 16 This meant that no outside stakeholder had
any ability to assess the value of that interest, nor could any outsider possibly ascertain how the
acquisition of that interest impacted the bankruptcy estate. In the absence of Rule 2015.3 reports or
listing of the HCLOF interest on the Debtor's balance sheet, it was impossible to determine at the time
of the HarbourVest settlement (or thereafter) whether the Debtor properly accounted for the asset on its
balance sheet.

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opportunity to purchase the assets. For example:



12 Assuming that HarbourVest were entitled to fraud damages as it claimed, the true amount of its damages was
less than $7.5 million (because HarbourVest only would have borne 49.98% of the $15 million in legal fees).
13 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt.

1949.
14 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
15 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to

Farallon Capital Management-an SEC-registered investment advisor-for approximately $28 million.
16 Even former Highland employee Patrick Daugherty recognized the problematic nature of asset dispositions like

the one involving HarbourVest, commenting that such transactions "have left {Mr. Seery) and Highland vulnerable
to a counter-attack under the [Investment) Advisors Act." See Ex. B.
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       •       The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
               today are valued at over $70 million; the Debtor likewise sold $6 million of PTLA shares
               that were taken over less than 60 days later for $18 million.

       •       The Debtor divested interests worth $145 million held in certain life settlements (which
               paid on the death of the individuals covered, whose average age was 90) for $35 million
               rather than continuing to pay premiums on the policies, and did so without obtaining
               updated estimates of the life settlements' value, to the detriment of the fund and investors
               (today two of the covered individuals have a life expectancy of less than one year);

       •       The Debtor sold interests in OmniMax without informing the Bankruptcy Court, without
               engaging in a competitive bidding process, and without cooperating with other funds
               managed by Mr. Dondero, resulting in what we believe is substantially lesser value to
               investors;

       •       The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
               (worth $37 million), again without any process or notice to the Bankruptcy Court or outside
               stakeholders, resulting in what we believe is diminished value for the estate and
               investors.

Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
business," the Debtor's management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors.

       In summary, the consistent lack of transparency throughout bankruptcy proceedings facilitated
sales and deal-making that failed to maximize value for the estate and precluded outside stakeholders
from evaluating or participating in asset purchases or claims trading that might have benefitted the estate
and outside investors in Debtor-managed funds.

The Debtor Reneged on Its Promise to Pay Key Employees, Contrary to Sworn Testimony

        Highland's bankruptcy also diverges from the norm in its treatment of key employees, who
usually can expect to be fairly compensated for pre-petition work and post-petition work done for the
benefit of the estate. That did not happen here, despite the Debtor's representation to the Bankruptcy
Court that it would.

        By way of background, prior to its bankruptcy, Highland offered employees two bonus plans: an
Annual Bonus Plan and a Deferred Bonus Plan. Under the Annual Bonus Plan, all of Highland's
employees were eligible for a yearly bonus payable in up to four equal installments, at six-month
intervals, on the last business day of each February and August. Under the Deferred Bonus Plan,
Highland's employees were awarded shares of a designated publicly traded stock, the right to which
vested 39 months later. Under both bonus plans, the only condition to payment was that the employee
be employed by Highland at the time the award (or any portion of it) vested.

       At the outset of the bankruptcy proceedings, the Debtor promised that pre-petition bonus plans
would be honored. Specifically, in its Motion For Entry of an Order Authorizing the Debtor to Pay and
Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief, the
Debtor informed the Court that employee bonuses "continue[d] to be earned on a post-petition basis,"
and that "employee compensation under the Bonus Plans [was] critical to the Debtor's ongoing
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operations and that any threat of nonpayment under such plans would have a potentially catastrophic
impact on the Debtor's reorganization efforts." 17 Significantly, the Debtor explained to the Court that its
operations were leanly staffed, such that all employees were critical to ongoing operations and such that
it expected to compensate all employees. As a result of these representations, key employees continued
to work for the Debtor, some of whom invested significant hours at work ensuring that the Debtor's new
management had access to critical information for purposes of reorganizing the estate.

         Having induced Highland's employees to continue their employment, the Debtor abruptly
changed course, refusing to pay key employees awards earned pre-petition under the Annual Bonus
Plan and bonuses earned pre-petition under the Deferred Bonus Plan that vested post-petition. In fact,
Mr. Seery chose to terminate four key employees just before the vesting date in an effort to avoid
payment, despite his repeated assurances to the employees that they would be "made whole." Worse
still, notwithstanding the Debtor's failure and refusal to pay bonuses earned and promised to these
terminated employees, in Monthly Operating Reports signed by Mr. Seery under penalty of perjury, the
Debtor continued to treat the amounts owed to the employees as post-petition obligations, which the
Debtor continued to accrue as post-petition liabilities even after termination of their employment.

        The Debtor's misrepresentations to the Bankruptcy Court and to the employees themselves fly
in the face of usual bankruptcy procedure. As the Fifth Circuit has explained, administrative expenses
like key employee salaries are an '"actual and necessary cost"' that provides a "benefit to the state and
its creditors."18 It is undisputed that these employees continued to work for the Debtor, providing an
unquestionable benefit to the estate post-petition, but were not provided the promised compensation,
for reasons known only to the Debtor.

        Again, this is not business as usual in bankruptcy proceedings, and if we are to ensure the
continued success of debtors in reorganization proceedings, it is important that key employees be paid
in the ordinary course for their efforts in assisting debtors and that debtor management be made to live
up to promises made under penalty of perjury to the bankruptcy courts.

There Is Substantial Evidence that Insider Trading Occurred

         Perhaps one of the biggest problems with the lack of transparency at every step is that it
facilitated potential insider trading . The Debtor (as well as its advisors and professionals) and the
Creditors' Committee (and its counsel) had access to critical information upon which any reasonable
investor would rely. But because of the lack of reporting, the public did not.

       Mr. Draper's October 4, 2021 letter sets forth in detail the reasons for suspecting that insider
trading occurred, but his explanation bears repeating here. In the context of a non-transparent
bankruptcy proceeding, three of the four members of the Creditors' Committee and one non-committee
member sold their claims to two buyers, Muck Holdings LLC ("Muck") and Jessup Holdings LLC
("Jessupn). The four claims sold comprise the largest four claims in the Highland bankruptcy by a
substantial margin, 19 collectively totaling almost $270 million in Class 8 claims and $95 million in Class
9 claims:




17
   See 0kt. 177, ,r 25 (emphasis added).
18
   Texas v. Lowe (In re HLS. Energy Co.), 151 F.3d 434,437 (5th Cir. 1998) (quoting Transamerican Natural
Gas Corp., 978 F.2d 1409, 1416 (5th Cir. 1992)).
19 See Ex. C.
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     Claimant                       Class 8 Claim       Class 9 Claims         Date Claim Settled
     Redeemer Committee             $136,696,610        N/A                    October 28, 2020
     Acis Capital                   $23,000,000         N/A                    October 28, 2020
     HarbourVest                    $45,000,000         $35,000,000            January 21, 2021
     UBS                            $65,000,000         $60,000.000            May 27, 2021
     TOTAL:                         $269,6969,610       $95,000,000

        Muck is owned and controlled by Farallon Capital Management ("Farallon"), and we believe
Jessup is owned and controlled by Stonehill Capital Management ("Stonehill"). As the purchasers of the
four largest claims in the bankruptcy, Muck (Farallon) and Jessup (Stonehill) will oversee the liquidation
of the reorganized Debtor and the payment over time to creditors who have not sold their claims. These
two hedge funds also will determine the performance bonus due to Mr. Seery for liquidating the estate.
As set forth in the attached balance sheet dated August 31, 2021, we estimate that the estate today is
worth nearly $600 million, 20 which could result in Mr. Seery's receipt of a performance bonus
approximating $50 million.

        This is concerning because there is substantial evidence that Farallon and Stonehill may have
been provided material, non-public information to induce their purchase of these claims. We agree with
Mr. Draper that there are three primary reasons to believe that non-public information was made
available to facilitate these claims purchases:

         •         The scant publicly-available information regarding the Debtor's estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors' claims;

         •         The information that actually was publicly available ordinarily would have compelled a
                   prudent investor to conduct robust due diligence prior to purchasing the claims;

         •         Yet these claims purchasers spent in excess of $100 million (and likely closer to $150
                   million) on claims, ostensibly without any idea of what they were purchasing.

     Credible information indicates that the claims purchases of Stonehill and Farallon can be
summarized as follows:

        Creditor             Class 8        Class 9   Purchaser                 Purchase Price
        Redeemer            $137.0         $0.0       Stonehill                $78.021
        ACIS                $23.0          $0.0       Farallon                 $8.0
        HarbourVest         $45.0          $35.0      Farallon                 $27.0
        UBS                 $65.0          $60.0      Stonehill and Farallon   $50.0




20See Ex. D.
21
  See Ex. E. Because the transaction included "the majority of the remaining investments held by the Crusader
Funds," the net amount paid by Stonehill for the Claims was approximately $65 million.
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        An analysis of publicly-available information would have revealed to any potential investor that:

        •       The estate's asset value had decreased by $200 million, from $556 million on October
                16, 2019, to $328 million as of September 30, 2020 (increasing only slightly to $364
                million as of January 31 , 2021). 22

        •       Allowed claims against the estate increased by a total amount of $236 million.

        •       Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                claims amount, the ultimate projected recovery for creditors in bankruptcy decreased
                from 87.44% to 62.99% in just a matter of months. 23

No prudent investor or hedge fund investing third-party money would purchase substantial claims out of
the Highland estate based on this publicly-available information absent robust due diligence
demonstrating that the investment was sound.

       As discussed by Mr. Draper, the very close relationships between the claims purchasers, on the
one hand, and the selling Creditors' Committee members and the Debtor's management, on the other
hand also raise red flags. In particular:

        •       Farallon and Stonehill have long-standing, material relationships with the members of the
                Creditors' Committee and Mr. Seery. Mr. Seery formerly was the Global Head of Fixed
                Income Loans at Lehman Bros. until its collapse in 2009. While Mr. Seery was Global
                Head, Lehman Bros. did substantial business with Farallon. After Lehman's collapse, Mr.
                Seery joined Sidley & Austin as co-head of the corporate restructuring and bankruptcy
                group, where he worked with Matt Clemente, counsel to the Creditors' Committee in
                Highland's bankruptcy proceedings.

        •       In addition, Grovesnor, one of the lead investors in the Crusader Funds from the
                Redeemer Committee (which appointed Seery as its independent director) both played a
                substantial role on the Creditors' Committee and is a large investor in Farallon and
                Stonehill. It is unclear whether Grovesnor, a registered investment advisor, notified
                minority investors in the Crusader Funds or Farallon and Stonehill of these facts.

        •       According to Farallon principals Raj Patel and Michael Linn, while at Sidley, Mr. Seery
                assisted Farallon in its acquisition of claims in the Lehman estate, and Farallon realized
                more than $100 million in claims on those trades.




22 Compare Jan. 31, 2021 Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov.
24, 2020) {Dkt. 1473]. The increase in value between September 2020 and January 2021 is attributable to the
Debtor's settlement with HarbourVest, which granted HarbourVest a Class 8 claim of $45 million and a Class 9
Claim of $35 million, and in exchange the Debtor received HarbourVest's interest in HCLOF, which in reality was
worth approximately $44.3 million as of January 31, 2021 . See Ex. C. It is also notable that the January 2021
monthly financial report values Class 8 claims at $267 million, an exponential increase over their estimated value
of $74 million in December 2020.
23
   See Ex. F.
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          •       Also while at Sidley, Mr. Seery represented the Steering Committee in the Blockbuster
                  Video bankruptcy; Stonehill (through its Managing Member, John Motulsky) was one of
                  the five members of the Steering Committee.

          •       Mr. Seery left Sidley in 2013 to become the President and Senior Investment Partner of
                  River Birch Capital, a hedge fund founded by his former Lehman colleagues. He left River
                  Birch in October 2017 just before the fund imploded. In 2017, River Birch and Stonehill
                  Capital were two of the biggest note holders in the Toys R Us bankruptcy and were
                  members of the Toys R Us creditors' committee.

I strongly agree with Mr. Draper that it is suspicious that two firms with such significant ties to Mr. Seery
have purchased $365 million in claims. The aggregate $150 million purchase price paid by Farallon and
Stonehill is 56% of all Class 8 claims, virtually the full plan value expected to be realized after two years.
We believe it is worth investigating whether these claims buyers had access to material, non-public
information regarding the actual value of the estate.

        Other transactions occurring during the Highland bankruptcy also reinforce the suspicion that
insider trading occurred. In particular, it appears that one of the claims buyers, Stonehill, used non-public
information obtained incident to the bankruptcy to purchase stock in NexPoint Strategic Opportunities
Fund (NYSE: NHF), a publicly traded, closed-end '40 Act fund with many holdings in common with
assets held in the Highland estate outlined above. Stonehill is a registered investment adviser with $3
billion under management that has historically owned very few equity interests, particularly equity
interests in a closed-end fund. As disclosed in SEC filings, Stonehill acquired enough stock in NHF
during the second quarter of 2021 to make it Stonehill's eighth largest equity position.

         The timing of the acquisitions of claims by Farallon and Stonehill also raises suspicion. For
example, although notices of the transfer of the claims were filed immediately after the confirmation of
the Debtor's Plan and prior to the effective date of the Plan, it seems likely that negotiations began much
earlier. Transactions of this magnitude do not take place overnight and typically require robust due
diligence. Muck was formed on March 9, 2021, more than a month before it filed notice that it was
purchasing the Acis claim. If the negotiation or execution of a definitive agreement for the purchase
began before or contemporaneously with Muck's formation , then there is every reason to believe that
selling Creditors' Committee members and/or Debtor management provided Farallon with critical non-
public information well before the Creditors' Committee members sold their claims and withdrew from
the Committee. Indeed, Mr. Patel and Mr. Linn have stated to others that they purchased the Acis and
HarbourVest claims in late January or early February. This is strong evidence that negotiation and/or
agreements relating to the purchase of claims from Creditors' Committee members preceded the
confirmation of the Debtor's Plan and the resignation of those members from the Committee.

       Likewise, correspondence from the fund adviser to the Crusader Funds indicates that the
Crusader Funds and the Redeemer Committee had "consummated" the sale of the Redeemer
Committee's claims and other assets on April 30, 2021, "for $78 million in cash, which was paid in full to
the Crusader Funds at closing."24 In addition, that there was a written agreement among Stonehill, the
Crusader Funds, and the Redeemer Committee that sources indicate dates back to the fourth quarter
of 2020. That agreement presumably imposed affirmative and negative covenants upon the seller and
granted the purchaser discretionary approval rights during the pendency of the sale. Such an agreement
would necessarily conflict with the Creditors' Committee members' fiduciary obligations.


24   See Ex. E.
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        The sale of the claims by the members of the Creditors' Committee also violates the instructions
provided to committee members by the U.S. Trustee that required a selling committee member to obtain
approval from the Bankruptcy Court prior to any sale of such member's claim. No such Court approval
was ever sought or obtained, and the Dallas U.S. Trustee's Office took no action to enforce this
guideline. The Creditors' Committee members were sophisticated entities, and they were privy to inside
information that was not available to other unsecured creditors. For example, valuations of assets placed
into a specially-created affiliated entities, such as the assets acquired in the HarbourVest settlement,
and valuations of assets held by other entities owned or controlled by the Debtor, were available to the
selling Creditors' Committee members, but not to other creditors or parties-in-interest.

       While claims trading itself is not prohibited, there is reason to believe that the claims trading that
occurred in the Highland bankruptcy violated federal law:

            a)     The selling parties were three of the four Creditors' Committee members, and each one
                   had access to information they received in a fiduciary capacity;

            b)     Some of the information they received would have been available to other parties-in-
                   interest if Rule 2015.3 had been enforced;

            c)     The projected recovery to creditors decreased significantly between the approval of the
                   Disclosure Statement and the confirmation of the Debtor's Plan; and

            d)     There was a suspicious purchase of stock by Stonehill in NHF, a closed-end fund
                   previously affiliated with Highland (and now managed by NexPoint Advisors, L.P.) that is
                   publicly traded on the New York stock exchange.The Debtor's assets and the positions
                   held by the closed-end fund are similar.

Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of the
Estate and Assets of the Estate

        An additional problem in Highland's bankruptcy is that Mr. Seery, as an Independent Director
as well as the Debtor's CEO and CRO, received financial incentives that encouraged claims trading and
dealing in insider information.

       Mr. Seery received sizeable compensation for his heavy-handed role in Highland's bankruptcy.
Upon his appointment as an Independent Director in January 2020, Mr. Seery received compensation
from the Debtor of $60,000 per month for the first three months, $50,000 per month for the following
three months, and $30,000 per month for remaining months, subject to adjustment by agreement with
the Debtor.25 When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he
received additional compensation, including base compensation of $150,000 per month retroactive to
March 2020 and for so long as he served in those roles, as well as a "Restructuring Fee."26 Mr. Seery's
employment agreement contemplated that the Restructuring Fee could be calculated in one of two ways:

          (1)     If Mr. Seery were able to resolve a material amount of outstanding claims against the
                  estate, he would be entitled to $1 million on confirmation of what the Debtor termed a




25   See 0kt. 339, ,r 3.
26
     See 0kt. 854, Ex. 1.
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                  "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                  $750,000 upon completion of distributions to creditors under the plan.

          (2)     If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                  "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                  Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                  importantly-a to-be-determined "contingent restructuring fee" based on "performance
                  under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and provided a powerful economic incentive for Mr. Seery to resolve
creditor claims in any way possible. Notably, at the time of Mr. Seery's formal appointment as CEO/CR0,
he had already negotiated settlements in principle with Acis and the Redeemer Committee, leaving only
the HarbourVest and UBS claims to resolve.

        Further, after the Plan's effective date, as appointed Claimant Trustee, Mr. Seery was promised
compensation of $150,000 per month (termed his "Base Salary"), subject to the negotiation of additional
"go-forward" compensation, including a "success fee" and severance pay.27 Mr. Seery's success fee
presumably will be based on whether the Plan outperforms what was disclosed in the Plan Analysis. In
other words, Mr. Seery had a financial incentive to grossly understate the value of the estate in public
disclosures, not only to facilitate claims trading and resolution of the biggest claims in bankruptcy (for
purposes of obtaining the larger Case Resolution Fee) but also to ensure that he eventually receives a
large "success fee." Again, we estimate that, based on the estate's nearly $600 million value today, Mr.
Seery's success fee could approximate $50 million.

         One excellent example of the way in which Mr. Seery facilitated claims trading and thereby lined
his own pockets is the sale of UBS's claim. Based on the publicly-available information at the time
Stonehill and Farallon purchased the UBS claim, the purchase made no economic sense. At the time,
the publicly-disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8
creditors and a 0.00% distribution to Class 9 creditors, which would mean believe is that, at the time of
their claims purchase, the estate actually was worth much, much more (between $472-$600 million). If,
prior to their claims purchases, Mr. Seery (or others in the Debtor's management) apprised Stonehill
and Farallon of the true estate value (which was material, non-public information at the time), then the
value they paid for the UBS claim made sense, because they would have known they were likely to
recover close to 100% on Class 8 and Class 9 claims.

        But perhaps the most important evidence of mismanagement of this bankruptcy proceeding and
misalignment of financial incentives is the Debtor's repeated refusal to resolve the estate in full despite
dozens of opportunities to do so. Immediately prior to the Plan confirmation hearing, Judge Jernigan
suggested that the Creditors' Committee and Mr. Dondero attempt to reach a settlement. Mr. Dondero,
through counsel, already had made 35 offers of settlement that would have maximized the estate's
recovery, even going so far as to file a proposed plan of reorganization . Some of these offers were
valued between $150 and $232 million. And we now believe that as of August 1, 2020, the Debtor's
estate had an actual value of at least $460 million, including $105 million in cash and a $50 million
revolving credit facility. With Mr. Dondero's offer, the Debtor's cash and the credit facility could have
resolved the estate, which would have enabled the Debtor to pay all proofs of claim, leave a residual
estate intact for equity holders, and allow the company to continue to operate as a going concern.


27   See Plan Supplement, Dkt. 1875, § 3.13(a)(i).
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        Nonetheless, neither the Debtor nor the Creditors' Committee responded to Mr. Dondero's offers.
It was not until The Honorable Former Judge D. Michael Lynn, counsel for Mr. Dondero, reminded the
Creditors' Committee counsel that its members had a fiduciary duty to respond that a response was
forthcoming. We believe Mr. Dondero's proposed plan offered a materially greater recovery than what
the Debtor had reported would be the expected Plan recovery. The Creditors' Committee's failure to
timely respond to that offer suggests that Debtor management, the Creditors' Committee, or both were
financially disincentivized from accepting a case resolution offer and that some members of the
Creditors' Committee were contractually constrained from doing so.

        What happened instead was that the Debtor, its management, and the Creditors' Committee
brokered deals that allowed grossly inflated claims and sales of those claims to a small group of investors
with significant ties to Debtor management. In a transparent bankruptcy proceeding, we question
whether any of this could have happened. What we do know is that the Debtor's non-transparent
bankruptcy has ensured there will be nothing left for residual stakeholders, while enriching a handful of
intimately connected individuals and investors.

The Debtor's Management and Advisors Are Almost Totally Insulated From Liability

        Despite the mismanagement of bankruptcy proceedings, the Bankruptcy Court has issued a
series of orders ensuring that the Debtor and its management cannot not be held liable for their actions
in bankruptcy.

       In particular, the Court issued a series of orders protecting Mr. Seery from potential liability for
any act undertaken in the management of the Debtor or the disposition of its assets:

        •      In its order approving the settlement between the Creditors' Committee and Mr. Dondero,
               the Court barred any Debtor entity "from commenc[ing] or pursu[ing] a claim or cause of
               action of any kind against any Independent Director, any Independent Director's agents,
               or any Independent Director's advisors relating in any way to the Independent Director's
               role as an independent director" unless the Court first (1) determined the claim was a
               "colorable" claim for willful misconduct or gross negligence, and (2) authorized an entity
               to bring the claim. The Court also retained "sole jurisdiction" over any such claim. 28

        •      In its order approving the Debtor's retention of Mr. Seery as its Chief Executive Officer
               and Chief Restructuring Officer, the Court issued an identical injunction barring any
               claims against Mr. Seery in his capacity as CEO/CRO without prior court approval. 29 The
               same order authorized the Debtor to indemnify Mr. Seery for any claims or losses arising
               out of his engagement as CEO/CR0. 30

       Worse still, the Plan approved by the Bankruptcy Court contains sweeping release and
exculpation provisions that make it virtually impossible for third parties, including investors in the
Debtor's managed funds, to file claims against the Debtor, its related entities, or their management. The
Plan's exculpation provisions contain also contain a requirement that any potential claims be vetted and
approved by the Bankruptcy Court. As Mr. Draper already explained, these provisions violate the holding

28 Dkt. 339, ,r 10.
29 Order Approving Debtor's Motion Under Bankruptcy Code Sections 105{a) and 363{b) Authorizing Retention of
James P. Seery, Jr. as Chief Executive Office, Chief Restructuring Officer, and Foreign Representative Nunc Pro
Tune to March 15, 2020, 0kt. 854, ,r 5.
30
   Dkt. 854, 1f 4 & Exh. 1.
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of In re Pacific Lumber Co., in which the United States Court of Appeals for the Fifth Circuit rejected
similarly broad exculpation clauses. 31

         The fundamental problem with the Plan's broad exculpation and release provisions has been
brought into sharp focus in recent days, with the filing of a lawsuit by the Litigation Trustee against Mr.
Dondero, other individuals formerly affiliated with Highland, and several trusts and entities affiliated with
Mr. Dondero.32 Among other false accusations, that lawsuit alleges that the aggregate amount of allowed
claims in bankruptcy was high because the Debtor and its management were forced to settle with various
purported judgment creditors who had engaged in pre-petition litigation with Mr. Dondero and Highland.
But it was Mr. Seery and Debtor's management, not Mr. Dondero and the other defendants, who
negotiated those settlements with creditors in bankruptcy and who decided what value to assign to their
claims. Ordinarily, Mr. Dondero and the other defendants could and would file compulsory counterclaims
against the Debtor and its management for their role in brokering and settling claims in bankruptcy. But
the Bankruptcy Court has effectively precluded such counterclaims (absent the defendants obtaining
the Court's advance permission to assert them) by releasing the Debtor and its management from
virtually all liability in relation to their roles in the bankruptcy case. That is a violation of due process.

        Notably, the U.S. Trustee's Office recently has argued in the context of the bankruptcy of Purdue
Pharma that release and exculpations clauses akin to those contained in Highland's Plan violate both
the Bankruptcy Code and the Due Process Clause of the United States Constitution. 33 In addition, the
U.S. Trustee explained that the bankruptcy courts lack constitutional authority to release state-law
causes of action against debtor management and non-debtor entities.34 Indeed, it has been the U.S.
Trustee's position that where, as here, third parties whose claims are being released did not receive
notice of the releases and had no way of knowing, based on the applicable plan's language, what claims
were extinguished, third-party releases are contrary to law. 35 This position comports with Fifth Circuit
case law, which makes clear that releases must be consensual, and that the released party must make
a substantial contribution in exchange for any release.

         As a result of the release and exculpation provisions of the Plan, employees and third-party
investors in entities managed by the Debtor who are harmed by actions taken by the Debtor and its
management in bankruptcy are barred from asserting their claims without prior Bankruptcy Court
approval. Those third parties' claims are barred notwithstanding that they were not notified of the
releases and have never been given any information with which to evaluate their potential claims (as
mentioned, the Debtor has not disclosed several major assets sales, nor does the Plan require the
Debtor to disclose post-confirmation asset sales). Conversely, the releases insulate claims purchasers
from the risk of potential actions by investors in funds managed by the Debtor (for breach of fiduciary
duty, diminution in value, or otherwise). These releases are directly at odds with investors' expectations
and the written documents delivered to and approved by investors when they invest in managed funds-
i.e., that fund managers will act in a fiduciary capacity to maximize investors' returns and that investors
will have recourse for any failure to do so.




31 584 F.3d 229 (5th Cir. 2009).
32 The Plan created a Litigation Sub-Trust to be managed by a Litigation Trustee, whose sole mandate is to file
lawsuits in an effort to realize additional value for the estate.
33 See Memorandum of Law in Support of United States Trustee's Expedited Motion for Stay of Confirmation Order,
In re Purdue Pharma, L.P., Case No. 19-23649 (ROD) (Bankr. S.D.N.Y.), Doc. 3778 at 17-25.
34   Id. at 26-28.
35 See    id. at 22.
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         As an example, the Court approved the settlement of UBS's claim against the Debtor and two
funds managed by the Debtor (collectively referred to as "MultiStrat"). Pursuant to that settlement,
MultiStrat agreed to pay UBS $18.5 million. But the settlement made no sense for several reasons. First,
Highland owns approximately 48% of MultiStrat, so causing MultiStrat to make such a substantial
payment to settle a claim in Highland's bankruptcy necessarily negatively impacted its other non-Debtor
investors. Second, in its lawsuit, UBS alleged that MultiStrat wrongfully received a $6 million payment,
but MultiStrat paid more than three times this amount to settle allegations against it-a deal that made
little economic sense. Finally, as part of the settlement, MultiStrat represented that it was advised by
"independent legal counsel" in the negotiation of the settlement, a representation that was patently
untrue. 36 In reality, the only legal counsel advising MultiStrat was the Debtor's counsel, who had
economic incentives to broker the deal in a manner that benefited the Debtor rather than MultiStrat and
its investors.37 If (as it seems) that representation and/or the terms of the UBS/MultiStrat settlement
unfairly impacted MultiStrat's investors, they now have no recourse against the Debtor. The release and
exculpation provisions in Highland's Plan do not afford third parties any meaningful recourse, even when
they are negatively impacted by misrepresentations of the type contained in the UBS/MultiStrat
settlement or when their interests are impaired by fund managers' failure to obtain fairness opinions to
resolve conflicts of interest.

Bankruptcy Proceedings Are Used As an End-Run Around Applicable Legal Duties

        The UBS deal is but one example of how Highland's bankruptcy proceedings, including the
settlement of claims and claims trading that occurred, seemingly provided a safe harbor for violations of
multiple state and federal laws. For example, the Investment Advisors Act of 1940 requires registered
investment advisors like the Debtor to act as fiduciaries of the funds that they manage. Indeed, the Act
imposes an "affirmative duty of 'utmost good faith' and full and fair disclosure of material facts" as part
of advisors' duties of loyalty and care to investors. See 17 C.F.R. Part 275. Adherence to these duties
means that investment advisors cannot buy securities for their account prior to buying them for a client,
cannot make trades that may result in higher commissions for the advisor or their investment firm, and
cannot trade using material, non-public information. In addition, investment advisors must ensure that
they provide investors with full and accurate information regarding the assets managed.

        State blue sky laws similarly prohibit firms holding themselves out as investment advisors from
breaching these core fiduciary duties to investors. For example, the Texas Securities Act prohibits any
registered investment advisor from trading on material, non-public information. The Act also conveys a
private right of action to investors harmed by breaches of an investment advisor's fiduciary duties.

       As explained above, Highland executed numerous transactions during its bankruptcy that may
have violated the Investment Advisors Act and state blue sky laws. Among other things:

        •       Highland facilitated the purchase of HarbourVest's interest in HCLOF (placing that
                interest in an SPE designated by the Debtor) without disclosing the true value of the
                interest and without first offering it to other investors in the fund;




36 See Doc. 2389 (Order Approving Debtor's Settlement With UBS Securities LLC and UBS AG London Branch)
at Ex. 1, §§ 1(b), 11 ; see Appendix, p. A-57.
37 The Court's order approving the UBS settlement is under appeal in part based on MultiStrat's lack of independent

legal counsel.
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       •       Highland concealed the estate's true value from investors in its managed funds, making
               it impossible for those investors to fairly evaluate the estate or its assets during
               bankruptcy;

       •       Highland facilitated the settlement of UBS's claim by causing MultiStrat, a non-Debtor
               managed entity, to pay $18.5 million to the Debtor, to the detriment of MultiStrat's
               investors; and

       •       Highland and its CEO/CRO, Mr. Seery, brokered deals between three of four Creditors'
               Committee members and Farallon and Stonehill-deals that made no sense unless
               Farallon and Stonehill were supplied material, non-public information regarding the true
               value of the estate.

In short, Mr. Seery effectuated trades that seemingly lined his own pockets, in transactions that we
believe detrimentally impacted investors in the Debtor's managed funds.

                                            CONCLUSION

        The Highland bankruptcy is an example of the abuses that can occur if the Bankruptcy Code and
Bankruptcy Rules are not enforced and are allowed to be manipulated, and if federal law enforcement
and federal lawmakers abdicate their responsibilities. Bankruptcy should not be a safe haven for perjury,
breaches of fiduciary duty, and insider trading, with a plan containing third-party releases and sweeping
exculpation sweeping everything under the rug. Nor should it be an avenue for opportunistic venturers
to prey upon companies, their investors, and their creditors to the detriment of third-party stakeholders
and the bankruptcy estate. My clients and I join Mr. Draper in encouraging your office to investigate,
fight, and ultimately eliminate this type of abuse, now and in the future.

                                                    Best regards,

                                                                        KOPF & HARR, P.C.




                                                    By: _ _ _ _ _ _ _ _ _ _ __
                                                           Davor Rukavina, Esq.

DR:pdm
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                                                                                                         Relationships Among Debtor’s CEO/CRO, the UCC, and Claims Purchasers
                                                                                                          Provided initial
                                            ---------                                          -------     seed capital
                            ,,-
                                                                                                                                                                                                             Hellman
        ////
                                                                                                                                 River          One of the largest
                                                                                Lehman                                                                                     Toys ‘R                              &
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                                                                                                                                                                                                                                                 Joseph
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                                                                                                                              Invest. Officer
                                                                                Creditor




                                                                                                                                                                                                                               Law school
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                                                \
                                                                                           I                                                                                                                 Motulsky          classmates        Nesler
                                                                                                                              [2013 – 2017]
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                                                                                                                                                                                                                                            Longtime General
                                                                                Farallon                                        Jim Seery                                  Stonehill                                                            Counsel
                                                                                  Cap.                                           Debtor’s                                    Cap.
                                                                                 Mgmt.                                           CEO and                                    Mgmt.
                                                                                                                                   CRO
                                                                                                                                                                                                                                                 Grosvenor
                                                                                                                                                                                                                                                   Cap.
                                                                                                                         Partner and Head of                                                                                                      Mgmt.
                                                                                                                            NY BK Section
                                                                                                                                                                                                                   Redeemer
                                                                                                                             [2009 – 2013]                                                                         Committe
                                                                                                                                                                                                                    e of the
                                                                                                                                                                                                                   Crusader

                                                                                Blockbuste                                                                                  HCMLP
                                                                                   r BK                                         Sidley &                                   Creditors
                                                                                                          Counsel to             Austin           Counsel to UCC
                                                                                                                                                                           Committe
                                                                                 Steering                                                        (Matt Clemente)              e                        Committee
                                                                                Committee            Steering Committee
                                                                                                                                                                                                        Member
                                                                                                          (Jim Seery)


                                                                                                                                                                                                             UBS

                                                                                                                                            Acquired Acis Claim
                                                                                                                                                                  -- .     Acis Cap.
                                                                                                                                                                            Mgmt.
                                                                                                                                                                                                                          *Is there an affiliate relationship
                                                                                                                                                                                                                          between Stonehill, Grosvenor, and
                                                                                                                                                                                                                          Farallon? Has it been adequately

                                                                                                                                ot ussaClaims
                                                                                                ----------------------------- Ac9uired  2ortion ___                    ►                                                  disclosed to the Court and investors?
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                              Debtor Protocols [Doc. 466-1]

      I.    Definitions
            A.     "Court" means the United States Bankruptcy Court for the Northern District of
                   Texas.
            B.     "NAV" means (A) with respect to an entity that is not a CLO, the value of such
                   entity's assets less the value of its liabilities calculated as of the month end prior
                   to any Transaction; and (B) with respect to a CLO, the CLO's gross assets less
                   expenses calculated as of the quarter end prior to any Transaction.
            C.     "Non-Discretionary Account" means an account that is managed by the Debtor
                   pursuant to the terms of an agreement providing, among other things, that the
                   ultimate investment discretion does not rest with the Debtor but with the entity
                   whose assets are being managed through the account.
            D.     "Related Entity" means collectively (A)(i) any non-publicly traded third party in
                   which Mr. Dondero, Mr. Okada, or Mr. Grant Scott, or Mr. John Honis (with
                   respect to Messrs. Okada, Scott and Houis, only to the extent known by the
                   Debtor) has any direct or indirect economic or ownership interest, including as a
                   beneficiary of a trust; (ii) any entity controlled directly or indirectly by Mr.
                   Dondero, Mr. Okada, Mr. Grant Scott, or Mr. John Houis (with respect to Messrs.
                   Okada, Scott and Hanis, only to the extent known by the Debtor); (iii) MGM
                   Holdings, Inc.; (iv) any publicly traded company with respect to which the Debtor
                   or any Related Entity has filed a Form 13D or Form 13G; (v) any relative (as
                   defined in Section 101 of the Bankruptcy Code) of Mr. Dondero or Mr. Okada
                   each solely to the extent reasonably knowable by the Debtor; (vi) the Hunter
                   Mountain Investment Trust and Dugaboy Investment Trust; (vii) any entity or
                   person that is an insider of the Debtor under Section 101(31) tbe Bankruptcy
                   Code, including any "non-statutory" insider; and (viii) to the extent not included
                   in (A)(i)-(vii), any entity included in the listing of related entities in Schedule B
                   hereto (the "Related Entities Listing"); and (B) the following Transactions,
                   (x) any intercompany Transactions with certain affiliates referred to in paragraphs
                   16.a through 16.e of the Debtor's cash management motion [Del. Docket o. 7];
                   and (y) any Transactions with Charitable DAF Fund, L.P. (provided, however,
                   that additional parties may be added to this subclause (y) with the mutual consent
                   of the Debtor and the Committee, such consent not to be unreasonably withheld).
            E.     "Stage 1" means the time period from the date of execution of a term sheet
                   incorporating the protocols contained below the ("Tenn Sheet") by all applicable
                   parties until approval of the Term Sheet by the Court.
            F.     "Stage 2" means the date from the appointment of a Board of Independent
                   Directors at Strand Advisors, Inc. until 45 days after such appointment, such
                   appointment being effective upon Court approval.
            G.     "Stage 3" means any date after Stage 2 while there is a Board of Independent
                   Directors at Strand Advisors, Inc.
            H.     ''Transaction" means (i) any purchase, sale, or exchange of ass ts, (ii) any lending
                   or borrowing of money, including the direct payment of any obligations of
                   another entity, (iii) the satisfaction of any capital call or other contractual



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                   requirement to pay money, including the satisfaction of any redemption requests,
                   (iv) funding of affiliates and (v) the creation of any lien or encumbrance.
             I.    "Ordinary Course Transaction" means any transaction with any third party which
                   is not a Related Entity and that would otherwise constitute an "ordinary course
                   transaction" under section 363(c) of the Bankruptcy Code.
             J.    "Notice" means notification or communication in a written format and shall
                   include supporting documents necessary to evaluate the propriety of the proposed
                   transaction.
            K.     "Specified Entity" means any of the following entities: ACIS CLO 2017-7 Ltd.,
                   Brentwood CLO, Ltd., Gleneagles CLO, Ltd., Greenbriar CLO, Ltd., Highland
                   CLO 20 18- 1, Ltd., Highland Legacy Limited, Highland Loan Funding V Ltd.,
                   Highland Park CDO I, Ltd., Pam Capital Funding LP, PamCo Cayman Ltd.,
                   Rockwall CDO II Ltd., Rockwall CDO Ltd., Southfork CLO Ltd., Stratford CLO
                   Ltd., Westchester CLO, Ltd., Aberdeen Loan Funding, Ltd., Bristol Bay Funding
                   Ltd. Eastland CLO, Ltd., Grayson CLO, Ltd., Highland Credit Opportunities
                   CDO Ltd., Jasper CLO, Ltd., Liberty Cayman Holdings, Ltd., Liberty CLO, Ltd.,
                   Red River CLO, Ltd., Valhalla CLO, Ltd.
       U.   Transactions involving the (i) assets held directly on the Debtor's balance sheet or
            the balance sheet of the Debtor's wholly-owned subsidiaries, including Jefferies
            Prime Account, and (ii) the Highland Select Equity Fund, L.P., Highland Multi
            Strategy Credit Fund, L.P., and Highland Restoration Capital Partners
             A.    Covered Entities: NIA (See entities above).
             B.    Operating Requirements
                   1.      Ordinary Course Transactions do not require Court approval (All Stages).
                           a)     Stage l and Stage 2: ordinary course determined by the CRO.
                           b)     Stage 3: ordinary course determined by the Debtor.
                   2.      Related Entity Transactions
                           a)     Stage 1 and Stage 2: Transactions with Related Entities require
                                  prior approval of CRO and five business days advance notice to
                                  the Committee and if the Committee objects, the burden is on the
                                  Debtor to seek Court approval, which the Committee agrees may
                                  be sought on an expedited basis.
                           b)     Stage 3:
                                  (1)    Transactions with Related Entities greater than $1,000,000
                                         (either individually or in the aggregate basis on a rolling 30
                                         day period) require five business days advance notice to the
                                         Committee and if the Committee objects, the burden is on
                                         the Debtor to seek Court approval, which the Committee
                                         agrees may be sought on an expedited basis.




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                                           (2)      Transactions with Related Entities greater than $2,000,000
                                                    ( either individually or in the aggregate basis on a rolling 30
                                                    day period) require Court approval, which the Committee
                                                    agrees may be sought on an expedited basis.
                          3.       Third Party Transactions (All Stages)
                                   a)      Except as set forth in (b) and (c) below, Transactions in excess of
                                           $2,000,000 (either individually or in the aggregate basis on a
                                           rolling 30 day period) require three business days advance notice
                                           to Committee and if the Committee objects, the burden is on the
                                           Debtor to seek Court approval, which the Committee agrees may
                                           be sought on an expedited basis.
                                   b)      The Debtor may satisfy any redemption requests from entities that
                                           are not Related Entities without advance notice so long as the
                                           Debtor provides notice of such Transactions to the Committee as
                                           soon as reasonably practicable. The Debtor will provide the
                                           Committee with five business days advance notice of any
                                           redemption requests made by and payable to a Related Entity, and
                                           if the Committee objects, the burden is on tlhe Debtor to seek Court
                                           approval, which the Committee agrees may be sought on an
                                           expedited basis.
                                   c)      The Debtor may satisfy margin calls and short covers without
                                           providing the Committee advance notice if the exigencies do not
                                           allow advance notice so long as the Debtor provides notice of such
                                           Transactions to the Committee as soon as reasonably practicable.
                 C.       W eekly Reporting: The Debtor will provide the Committee with weekly reports
                          s howing all Transactions under this category.
         m.      Transactions involving entities the Debtor manages and in which the Debtor holds a
                 direct or indirect interest (other than the entities discussed in Section I above)
                 A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                          all entities the Debtor manages and in which the Debtor holds a direct or indirect
                          interest (other than the entities discussed in Section I above). 1
                 B.       Operating Requirements
                          I.       Ordinary Course Transactions do not require Court approval (All Stages).
                                   a)      Stage l and Stage 2: ordinary course determined by the CRO.
                                   b)      Stage 3: ordinary course determined by the D ebtor.
                          2.       Related Entity Transactions



         1 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or

         entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
         the extent necessary.




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                      a)     Stage 1 and Stage 2: Transactions with Related Entities require
                             prior approval of CRO and five business days advance notice to
                             the Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval, which the Committee agrees may
                             be sought on an expedited basis.
                      b)     Stage 3:
                             (1)    Transactions with Related Entities greater than $1,000,000
                                    ( either individually or in the aggregate basis on a rolling 30
                                    day period) require five business days advance notice to the
                                    Committee and if the Committee objects, the burden is on
                                    the Debtor to seek Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
                             (2)    Transactions with Related Entities greater than $2,000,000
                                    ( either individually or in the aggregate basis on a rolling 30
                                    day period) require Court approval, which the Committee
                                    agrees may be sought on an expedited basis.
              3.      Third Party Transactions (All Stages)
                      a)     Except as set forth in (b) and (c) below, Transactions in excess of
                             $2,000,000 (either individually or in the aggregate basis on a
                             rolling 30 day period) require three business days advance notice
                             to Committee and if the Committee objects, the burden is on the
                             Debtor to seek Court approval, which the Committee agrees may
                             be sought on an expedited basis.
                      b)     The Debtor may satisfy any redemption requests from entities that
                             are not Related Entities without advance notice so long as the
                             Debtor provides notice of such Transactions to the Committee as
                             soon as reasonably practicable. The Debtor will provide the
                             Committee with five business days advance notice of any
                             redemption requests made by and payable to a Related Entity, and
                             if the Committee objects, the burden is on the Debtor to seek Court
                             approval, which the Committee agrees may be sought on an
                             expedited basis.
                      c)     The Debtor may satisfy margin calls and short covers without
                             providing the Committee advance notice if the exigencies do not
                             allow advance notice so long as the Debtor provides notice of such
                             Transactions to the Committee as soon as reasonably practicable.
        C.    Weekly Reporting: The Debtor will provide the Committee with weekly reports
              showing all Transactions under this category.




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  IV.     Transactions involving entities that the Debtor manages but in which the Debtor
          does not hold a direct or indirect interest
          A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include
                   all entities that the Debtor manages but in which the Debtor does not hold a direct
                   or indirect interest. 2
          B.       Operating Requirements
                   l.       Ordinary Course Transactions do not require Court approval (All Stages).
                            a)      Stage 1 and Stage 2: ordinary course determined by the CRO.
                            b)      Stage 3: ordinary course determined by the Debtor.
                   2.       Related Entity Transactions
                            a)      Stage 1 and Stage 2: Transactions with Related Entities require
                                    prior approval of CRO and five business days advance notice to
                                    the Committee and if the Committee objects, the burden is on the
                                    Debtor to seek Court approval, which the Committee agrees may
                                    be sought on an expedited basis.
                            b)      Stage 3:
                                    (1)      Transactions with Related Entities greater than $1,000,000
                                             (either individually or in the aggregate basis on a rolling 30
                                             day period) require five business days advance notice to the
                                             Committee and if the Committee obj ects, the burden is on
                                             the Debtor to seek Court approval, which the Committee
                                             agrees may be sought on an expedited basis.
                                    (2)      Transactions with Related Entities greater than $2,000,000
                                             (either individually or in the aggregate basis on a rolling 30
                                             day period) require Court approval, which the Committee
                                             agrees may be sought on an expedited basis.
                   3.       Third Party Transactions (All Stages):
                            a)      Except (x) as set forth in (b) and (c) below and (y) for any
                                    Transaction involving a Specified Entity and the sale or purchase
                                    by such Specified Entity of an asset that is not an obligation or
                                    security issued or guaranteed by any of the Debtor, a Related
                                    Entity or a fund, account, portfolio company owned, controlled or
                                    managed by the Debtor or a Related Entity, where such
                                    Transaction is effected in compliance with the collateral
                                    management agreement to which such Specified Entity is party,
                                    any Transaction that decreases the NAV of an entity managed by
                                    the Debtor in excess of the greater of (i) 10% of NAV or (ii)
                                    $3,000,000 requires five business days advance notice to

  2 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
  entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
  the extent necessary.




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                                     Committee and if the Committee objects, the burden is on the
                                     Debtor to seek Court approval, which the Committee agrees may
                                     be sought on an expedited basis.
                             b)      The Debtor may satisfy any redemption requests from entities that
                                     are not Related Entities without advance notice so long as the
                                     Debtor provides notice of such Transactions to the Committee as
                                     soon as reasonably practicable. The Debtor will provide the
                                     Committee with five business days advance notice of any
                                     redemption requests made by and payable to a Related Entity, and
                                     if the Committee objects, the burden is on the Debtor to seek Court
                                     approval, which the Committee agrees may be sought on an
                                     expedited basis.
                             c)      The Debtor may take such steps as may be reasonably necessary to
                                     winddown any managed entity and make distributions as may be
                                     required in connection with such winddown to any required
                                     parties. The Debtor will provide the Committee with five business
                                     days advance notice of any distributions to be made to a Related
                                     Entity, and if the Committee objects, the burden is on the Debtor to
                                     seek Court approval, which the Committee agrees may be sought
                                     on an expedited basis.
           C.       Weekly Reporting: The Debtor will provide the Committee with weekly reports
                    showing all Transactions under this category. Such reports will include
                    Transactions involving a Specified Entity unless the Debtor is prohibited from
                    doing so under applicable law or regulation or any agreement governing the
                    Debtor's relationship with such Specified Entity.
   V.      Transactions involving entities that the Debtor does not manage but in which the
           Debtor holds a direct or indirect interest
           A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                    entities that the Debtor does not manage but in which the Debtor holds a direct or
                    indirect interest. 3
           B.       Ordinary Course Transactions (AU Stages): NIA
           C.       Operating Requirements: NI A
           D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                    Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                    a direct or indirect interest.




   3 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or

   entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
   the extent necessary.




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 VI.     Transactions involving entities that the Debtor does not manage and in which the
         Debtor does not hold a direct or indirect interest
         A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                  entities that the Debtor does not manage and in which the Debtor does not hold a
                  direct or indirect interest. 4
         B.       Ordinary Course Transactions (All Stages): NIA
         C.       Operating Requirements: NI A
         D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                  Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                  a direct or indirect interest.
 VII.    Transactions involving Non-Discretionary Accounts
         A.       Covered Entities: See Schedule A hereto. Schedule A includes or will include all
                  non-discretionary accounts.5
         B.       Ordinary Course Transactions (All Stages): NIA
         C.       Operating Requirements: NIA
         D.       Weekly Reporting: Debtor will provide weekly reports of all cross-held asset
                  Transactions, i.e. Transactions in which the Debtor or a Related Entity also holds
                  a direct or indirect interest.
 VIII. Additional Reporting Requirements - All Stages (to the extent applicable)
         A.       DSI will provide detailed lists and descriptions of internal financial and
                  operational controls being applied on a daily basis for a full understanding by the
                  Committee and its professional advisors three (3) business days in advance of the
                  hearing on the approval of the Term Sheet and details of proposed amendments to
                  said financial and operational controls no later than seven (7) days prior to their
                  implementation.
         B.       The Debtor will continue to provide weekly budget to actuals reports referencing
                  their 13-week cash flow budget, such reports to be inclusive of all Transactions
                  with Related Entities.
 IX.     Shared Services
         A.       The Debtor shall not modify any shared services agreement without approval of
                  the CRO and Independent Directors and seven business days' advance notice to
                  counsel for the Committee.
         B.       The Debtor may otherwise continue satisfying its obligations under the shared
                  services agreements.
 4
   The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
 entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
 the extent necessary.
 5 The Debtor is continuing to review the Related Entities List and to determine whether any additional parties or
 entities should be included on Schedule A. The Debtor will update Schedule A as soon as reasonably practicable to
 the extent necessary.




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x.   Representations and Warranties
     A.    The Debtor represents that the Related Entities Listing included as Schedule B
           attached hereto lists all known persons and entities other than natural persons
           included in the definitions of Related Entities covered by Section I.D parts A(i)-
           (vii) above at the time of the execution of the Term Sheet.
     B.    The Debtor represents that the list included as Schedule C attached hereto lists all
           known natural persons included in the definitions of Related Entities covered by
           Section I.D parts A(i)-(vii) above at the time of the execution of the Term Sheet.
     C.    The Debtor represents that, if at any time the Debtor becomes aware of any
           person or entity, including natural persons, meeting the definition of Related
           Entities covered by Section I.D parts A(l)-(vii) above that is not included in the
           Related Entities Listing or Schedule C, the Debtor shall update the Related
           Entities Listing or Schedule C, as appropriate, to include such entity or person and
           shall give notice to the Committee thereof.




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                                                 Schedule A~
 Entities the Debtor manages and in which the Debtor holds a direct or indirect interest
            l. Highland CLO Funding, Ltd. (0.63% Ownership Interest)
            2. Dynamic Income Fund (0.26% Ownership Interest)
 Entities that the Debtor manages but in which the Debtor does not hold a direct or indirect
 interest
            l.   Highland Prometheus Master Fund L.P.
            2.   NexAnnuity Life Insurance Company
            3.   PensionDanmark
            4.   Highland Argentina Regional Opportunity Fund
            5.   LonghomA
            6.   LonghomB
            7.   Collateralized Loan Obligations
                 a) Rockwall II CDO Ltd.
                 b) Grayson CLO Ltd.
                 c) Eastland CLO Ltd.
                 d) Westchester CLO, Ltd.
                 e) Brentwood CLO Ltd.
                 t) Greenbriar CLO Ltd.
                 g) Highland Park CDO Ltd.
                 h) Liberty CLO Ltd.
                 i) Gleneagles CLO Ltd.
                 j) Stratford CLO Ltd.
                 k) Jasper CLO Ltd.
                 I) Rockwall DCO Ltd.
                 m) Red River CLO Ltd.
                 n) Hi V CLO Ltd.
                 o) ValhaJla CLO Ltd.
                 p) Aberdeen CLO Ltd.
                 q) South Fork CLO Ltd.
                 r) Legacy CLO Ltd.
                 s) Pam Capital
                 t) Pamco Cayman
 Entities that the Debtor does not manage but in which the Debtor holds a direct or indirect
 interest
            1.   Highland Opportunistic Credit Fund
            2.   Highland Healthcare Opportunities Fund f/k/a Highland Long/Short Healthcare Fund
            3.   NexPoint Real Estate Strategies Fund
            4.   Highland Merger Arbitrage Fund
            5.   NexPoint Strategic Opportunities Fund
            6.   Highland Small Cap Equity Fund
            7.   Highland Global Allocation Fund

 6 NTD:   Schedu[e A is work in process and may be supplemented or amended.




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        8. Highland Socially Responsible Equity Fund
        9. Highland Income Fund
        10. Stonebridge-Highland Healthcare Private Equity Fund ("Korean Fund")
        11. SE Multifamily, LLC
 Entities that the Debtor does not manage and in which the Debtor does not hold a direct or
 indirect interest
        1. The Dugaboy Investment Trust
        2. NexPoint Capital LLC
        3. NexPoint Capital, Inc.
        4. Highland !Boxx Senior Loan ETF
        5. Highland Long/Short Equity Fund
        6. Highland Energy MLP Fund
        7. Highland Fixed Income Fund
        8. Highland Total Return Fund
        9. NexPoint Advisors, L.P.
        I0. Highland Capital Management Services, Inc.
        11. Highland Capital Management Fund Advisors L.P.
        12. ACIS CLO Management LLC
        13. Governance RE Ltd
        14. PCMG Trading Partners XXIJI LP
        15. NexPoint Real Estate Partners, LLC f/k/a HCRE Partners LLC
        16. NexPoint Real Estate Advisors II LP
        17. NexPoint Healthcare Opportunities Fund
        18. NexPoint Securities
        19. Highland Diversified Credit Fund
        20. BB Votorantim Highland Infrastructure LLC
        21. ACIS CLO 2017 Ltd.
 Transactions involving Non-Discretionary Accounts
        1. NexBank SSB Account
        2. Charitable DAF Fund LP




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                                      Schedule B

                 Related Entities Listing (other than natural persons),




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                                       Schedule C

       I . James Dondero
       2. Mark Okada
       3. Grant Scott
       4. John Honis
       5. Nancy Dondero
       6. Pamela Okada
       7. Thomas Surgent
       8. Scott Ellington
       9. Frank Waterhouse
       10. Lee (Trey) Parker




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                           Seery Jan. 29, 2021 Testimony
                                                                          Page 1
  1    IN THE UNITED STATES BANKRUPTCY COURT

  2    FOR THE NORTHERN DISTRICT OF TEXAS

  3    DALLAS DIVISION

  4    ------------------------------ )

  5    In Re :                       Chapter 11

  6    HIGHLAND CAPITAL              Case No .

  7    MANAGEMENT , LP ,             19-34054-SGJ 11

  8

  9              Debtor

 10

 11

 12

 13     REMOTE DEPOSI T ION OF JAMES P . SEERY ,           J R.

 14                   January 29 ,    2021

 15                    10 : 11 a . m. EST

 16

 17

 18

 19

 20

 21

 22

 23
       Reported by :
 24    Debra Stevens , RPR-CRR
       JOB NO . 189212
 25




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                                                      Page 2                                                                 Page 3
 l                January 29 , 2021                             1   REMOTE APPEARANCES :

 2                9:00 a.m. EST                                 2

 3                                                              3   Heller, Draper, Hayden, Pat rick,          &   Horn
 4          Remote Deposition of JAMES P.                       4   Attorneys for The Dugaboy Investment
 5   SEERY, JR . , held via Zoom                                5   Trust. and The Get. Good Trust
 6   conference, before Debra Stevens ,                         6                 650 Poydras Street
 7   RPR/CRR and a Notary Public of the                         7                 New Orlean$ , LOui$iana 70130
 8   State of New York .                                        8

 9                                                              9

10                                                             10   BY :          DOUGLAS DRAPER, ESQ
11                                                             11
12                                                             12
13                                                             13   PACHULSKI STANG ZIEHL & JONES

14                                                             14   For the Debtor and the Witness Herein
15                                                             15                 780 Th i rd Avenue

16                                                             16                 New   York~ New York 10017
17                                                             17   BY :          JOHN MORRIS , ESQ .
18                                                             18                 JEFFREY POKERANTZ, ESQ .

19                                                             19                 GREGORY DEMO, ESQ .

20                                                             20                 IRA KHARASCH, ESQ .
21                                                             21

22                                                             22
23                                                             23

24                                                             24                               <Continued>
25                                                             25


                                                     Page 4                                                                  Page 5
 l   REMOTE APPEARANCES :    {Cont inued)                       1   REMOTE APPEARANCES :         (Continued)
 2                                                              2   KING & SPALDING

 3   LATHAM & NATKINS                                           3   Attornoys for Highland CLO Funding, Ltd .
 4   Attorneys for UBS                                          4                 500 West 2nd Street
 5            885 Third Avenue                                  5                 Austin , Texas 78701
 6            New York , New York 10022                         6   BY :          REBECCA MATSUMURA, ESQ.

 7   BY :     SHANNON McLAUGHLIN, ESQ .                         7

 8                                                              8   K&L GATES

 9   JENNER & BLOCK                                             9   Attorneys fo r Highland Capital Management
10   Attorneys for Redeemer Commit tee of                      10   FU.n d Advisors , L . P . , et al . :
11   Highland Crusader Fund                                    11                 43 50 Lassiter at North Hills
12            919 Third Avenue                                 12                  Avenue
13            New York, Ne w York 10022                        13                 Ralo igh , Nor-th Carolina 27609

14   BY:      MARC B . HANKIN, ESQ .                           14   BY :          EMILY MATHER, ESQ.
15                                                             15
16   S IO LEY AUSTIN                                           16   MUNSCH HARDT KOPF        & HARR
17   Attorneys for Creditors ' Committee                       17   Attorneys for Defendants Highland Capital
18            2021 McKinney Avenue                             18   Management Fund Advisors , LP ; NexPoint
19            Dallas , Texas 75201                             19   Advisors, LP; Highland I ncome Fund;
20   BY :     PENNY REID, ESQ .                                20   NexPoint Strategic Opportunities Fund and
21            MATTHEli CLEMENTE, ESQ .                         21   Hex.Point Capital, Inc . :
22            PAIGE MONTGOMERY, ESQ .                          22                 500 N. Akard Street
23                                                             23                 Da llas , Texas 75201-6659
24                          {Continued)                        24          BY :   DAVOR RUKAVINA, ESQ.

25                                                             25                                  (Continued}




                                                                                                                          Page A-16
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  l   RE.MOTE APPEARANCES (Continued)                           1   REMOTE APPEARANCES : (Continued)

  2                                                             2
  3   BONDS ELLIS EPPICH SCHAFER JONES                          3   WICK PH ILLIPS

  4   Attorneys for James Dondero,                              4   Attorneys f or NexPoint Real Estate
  5   Party-in-Interest                                         5   Par-t.ners , NexPoint Real £state Entities
  6             420 Throckmorton Street                         6   and NexBank
  7                                                             7               100 Throckmorton Street
  8             Fort liorth, Texas 76102                        8                Fo r t Worth, Texas 76102
  9   BY :      CLAY TAYLOR, ESQ.                               9   BY :        LAUREN DRAWHORN , ESQ .

 10             JOHN BONDS , ESQ .                             10

 ll             BRYAN ASSINK, ESQ .                            11   ROSS & SMITH
 12                                                            12   Attorne ys f or s e nior Employees , Scott

 13                                                            13   Ellington , Isaac Leventon, Thomas Surgent,
 14   BAKER McKENZIE                                           14   Frank Waterhouse
 15   Attorneys for Senior Empl oyees                          15               700 N. Pear l Street
 16             1900 North Pearl Street                        16               Dallas, Texas 75201
 17                                                            17   BY :        FRANCES SMITH , ESQ ,

 18             Dallas , Texas 75201                           18

 19   BY :      MICHELLE HARTMANN, ESQ.                        19
 20             DEBRA DANDZREAU, ESQ .                         20

 21                                                            21

 22                                                            22
 23                                                            23

 24                           (Cont i nuod)                    24
 25                                                            25


                                                      Page 8                                                                 Page 9
  1                                                             1
  2             EX AM I NATIONS
                                                                2                 COURT REPORTER:       My name is
  3   NITNESS                                  PAGE
  4   JAMES SEERY                                               3           Debra Stevens , court report.er for TSG
  5     By Mr . Draper                            9             4           Report ing and notary public of the
  6     By Mr . Taylor                           75
                                                                5           State of New York .   Due to the
  7     By Mr . Rukavina                        165
  8     By Mr . Draper                          217             6           severity of the COVID- 19 pandemic and
  9                                                             7           follow ing t he practice of social
                        EX ff I B I T S
 10   SEERY DYD                                                 8           distancing, I will not bo in the same
      EXHIBIT        DESCRIPTION              PAGE              9           r oom wit h t he witness but will report
 ll
                                                               10           this deposition remotely and will
      Exhibit l      January 2021 Material       11
 12                                                            11           swear the witness in remotely .      If any
      Exhibit 2      Disclosure Statement        14            12           party has any objection, please so
 13
      Exhibit 3      Notice of Deposition        74            13           state before we proceed .
 14                                                            14                 Whereupon,
 15
                                                               15                   J A HE S      S E E R Y,
        INFORMATION/PRODUCTION REQUESTS
 16   DESCRIPTION                             PAGE             16          having been f irst duly sworn/affirmed,
 17   Subsidiary ledger showing note             22            17          was e xamined and testified as follows :
      component versus hard asset
 18   component                                                18   EXAMINATION BY
 19   Amount of D&O coverage for                131            19   HR. DRAPER:
      t rustees
                                                               20          Q.     Hr . Seery , my name is Douglas
 20
      Line item for D&O insurance               133            21   Draper, representing the Dugaboy Trust .           I
 21                                                            22   have series of questions today in
 22                MARKED FOR RULING
                      PAGE   LINE                              23   connect ion wit h t he 30 Cb> Notice that we
 23                     85     20                              24   filed .     The f irst question I have for you,
 24
                                                               25   have you seen the Notice of Oeposition
 25




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                                               Page 14                                                 Page 1 5
  1                      J . SEERY                        1                            J. SEERY
  2          the screen, please?                          2        A.     It says the percent distribution
   3         A.    Page what?                             3   to general unsecured creditors is
   4         Q.    I think i t is page 174 .              4   62. 14 percent .
   5         A.    Of the PDF or of the document?         5        Q.     Have ou communicated the
   6         Q.    Of the disclosure statement that       6   reduced recover_y to af!Ybod_y e.i;:_ior to the
   7   was filed . It is up on the screen right           7   da•e -- to yesterday?
   8   now .                                                              MR. MORRIS : Objectlon to tne
   9               COURT REPORTER: Do you i ntend                  •orm of the question .
  10         this as another exhibit f or today ' s                A.     r believe generally, yes .
  11         deposition?                                      don'• know if we have., specific number,
  12               MR. DRAPER: We ' l l mark this        12   bt• gener<!ll:,
  13         Exhibit 2.                                  13        Q.     And wou;o Lhat be members of
 14                 (So marked for identificati on as    14   Crecli.tors' CorMllttee who you gave thal
 15          Seery Exhibit 2 .)                          15   information to?
 16          Q.    If you look to the recovery to        16        A.     Yes .
  17   Class 8 creditor s in the November 2020           17               DJ rl Y.()ll
  18   disclosure s t atement was a recovery of          18   than membe 1s of
  19   87 . 44 percent?                                  19       A.     Yes .
  20         A.    That actually says the pe rcent       20       Q.    Wl!o?
  21   distribution to general unsecured                 21      A.     HarbourVes t.
  22   creditors was 87 . 44 percent . Yes .             2~             And wnen was tnat~
                                                                                           '-'-----.
  23         Q.    And in the new document t hat was     23             Wlt:.hin the lasl Lwo montl.s .
  24   filed, given to us yesterday, the recovery        24             You did no L reel the need to
  25   is 62.5 percent?                                  25   communicate the change _Jt recovery to
                                               Page l6                                                 Page l 7
   l                     J. SEERY                         l                      J . SEERY
   2   anybody else?                                      2   not accurate?
   3       A.    T said Mr. Dohen:                        3       A.     Yes . We secretly disclosed i t
   4       Q.    In looking a t t he two elements,        4   to the Bankruptcy Court in open court
   5   and what I have asked you to look ar, i s          5   hearings .
   6   the claims pool . I f you look a t the             6       Q.     But you never d i d bother to
   7   November disclosure statement, if you look         7   calculate the reduced r ecovery; you just
   8   down Class 8, unsecured claims?                    8   increased - -
   9        A.    Yes.                                    9               (Reporter i nterruption . )
  10        Q.    You have 176, 000 roughly?             10        Q.    You just advised as to the
  11        A.    Milli on .                             11   incr eased cl aims pool . Correct?
  12        Q.    176 million . I am sorry. And          12              MR . MORRIS : Objection to the
  13   the number in the new document is 313             13        form of the question .
  14   million?                                          14        A.    I don ' t understand your
  15        A.    Correct .                              15   question .
  16        Q.    What accounts for the                  16        Q.    What I am trying to get at is,
  17   difference?                                       17   as you i ncrease the claims pool , the
  18        A.    An increase in claims .                18   recovery reduces . Correct?
  19        Q.    When did those increases occur?        19        A.    No. That i s not how a fraction
  20   Were they yesterday? A month ago? Two             20   works.
  21   months ago?                                       21        Q.    Well, i f the denomi nator
  22        A.    Ove r the l ast couple mont hs .       22   increases, doesn ' t the r ecovery ultimately
  23        Q.    So in fact over the l ast couple       23   decrease if -
  24   mont hs you knew in fact t hat the recovery       24        A.    No.
  25   in the November disclosure statement was          25        Q.    -   if the numerator stays the




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                                                     Page 26                                                     Page 21
  1                          J . SEERY                             1                       J . SEERY
  2   were amended without consideration a few                     2        A.   NexPoint , I said . They
  3   years ago . So, for our purposes we didn ' t                 3   defaulted on the note and we accelerated
  4   make the assumption, which I am sure will                    4   it .
  5   happen , a fraudulent conveyance claim on                    5       Q.     So there is no need to file a
  6   those notes , that a fraudulent conveyance                   6   fraudulent conveyance suit with respect to
  7   action would be brought . We just assumed                    7   that note . Correct , Mr . Seery?
  8   that we ' d have to discount the notes                       8             MR . MORRIS : Objection to the
  9   heavily to sell them because nobody would                    9       form of the question .
 10   respect the ability of the counterparties                10          A.    Disagree . Since it was likely
 11   to fairly pay .                                          11      intentional fraud, there may be other
 12       Q.    And the same discount was                      12      recoveries on it . But to collect on the
 13   applied in the liquidation analysis to                   13      note, no .
 14   those notes?                                             14          Q.      My question was with respect to
 15       A.    Yes .                                          15      that note .   Since you have accelerated it,
 16       Q.    Now --                                         16      you don ' t need to deal with the issue of
 17           A.      The difference -   there would be        17      when it ' s due?
 18   a difference, though, because they would                 18                MR . MORRIS : Objection to the
 19   pay for a while because they wouldn ' t want             19          form of the question .
 20   to accelerate them . So there would be                   20          A.    That wasn ' t your question . But
 21   some collections on the notes for P and I .              21      to that question, yes, I don ' t need to
 22       Q.    But in fact as of January you                  22      deal with when it ' s due .
 23   have accelerated those notes?                            23          Q.       Let me go over certain assets .
 24           A.      Just one of them, I believe .            24      I am not going to ask you for the
 25           Q.      Which note was that?                     25      valuation of them but I am going to ask

                                                     Page 28                                                     Pa ge 2l;I
  1                    J . SEERY                                   1                     J . SEERY
  2   you whether they are included in the asset                   2   includes any~ her securities and all the
  3   portion of your $257 million number , all                    3   tyalue that would flow from Cornerstone .
  4   right? Mr . Morris didn't want me to go                  l   4   It includes HCLOF and all the value that
  5   into specific asset value, and I don ' t                     5   ~ould flow up from HCLOr . It includes
                                                               :
  6   intend to do that .                                      _6      Korea and all the value that would flow IJP
  7              The first question I have for                     7   from Korea .
  8   you is , the equity in Trustway Highland                     8             There may be others off the top
  9   Holdings , is that included in the                           9   of my head . I don ' t recall them . I don ' t
 10   $257 million number?                                     10      have a list in front of me .
 11           A.       There is no such entity .               11          Q.     Now, with respect to those
 12           Q.       Then I will do it in a different        12      assets , have you started the sale process
 13   way .        In connection with the sale of the          13      of those assets?
 14   hard assets, what assets are included in                 14          A.     No . Well , each asset is
 15   there specifically?                                      15      different . So , the answer is, with
 16       A.    Off the too of my head -  it is                16      respect to any securities, we do seek to
 17   all of the ass~        , but it includes                 17      sell those regularly and we do seek to
 18   Trustw.AY...!:lP ldin~   nd all the value that           18      monetize those assets where we can
 19   flows up from Trustway Holdings . It                     19      depending on whether there is a
 20   includes Targa and all the value that                    20      restriction or not and whether there is
 21   flows up from Targa. It includes CCS                     21      l iquidity in the market .
 22   Medical and all the value that would flow                22                With respect to the PE assets or
 23   to the Debtor from ccs Medical . It                      23      the companies I described - Targa, ccs,
 24   includes Cornerstone and all the value                   24      Cornerstone , JHT -- we have not --
 25   that would flow from Cornerstone.         It             25      Trustway .   We have not sought to sell




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                                                                                                          Page ~9
   1                         J. SEERY                      1                      J . SEERY
   2         A.      I don 't recall the specific          2    differ-ent analysis that wi:,'11 undertake
   3    lilT\itati on on the trust. But i f t here was     3    with bankruptcy counsel to determine what
   4    a reason to hold on to the asset, if there         4    we would need dEWending on when it 1s
   5    is a limitation, we can seek an extension.         5   ,goin to happen and what the restrict.ions
   6        Q.    Let me ask a question .    With          6   ei.the:r unde:: t.he code ;ire or uncter t.he
   7    respect to these businesses, the Debtor            I   plan .
   8    merely owns an equity interest in them .           8          Q,    ls ther~ anytlnng that would
   9    Correct?                                           9   st.QP you from selling these businesses 1r
 10         A.    Which business?                         10   the Chapter 11 went on for a year or two
 11         Q.    The ones you have identifi ed as        L     ears?
 12     operating businesses earlier?                     12                MR . MORRIS : Objection to form
 13         A.    It depends on the business.             13          of the question.
 14         Q.    Well, let me -- again, let 's try       14          A.    Is there an_ything that would
 15     to be specific . With respecL to SSP, .L          15   slc!'.' me? We ' d have to follow the
 l;;    was your position that you did not need co        16   strict•Jres of the code and c.he protocols ,
 17     qet court approval for the sale. Correct?         17   but there would be no prohibition -- let
 18         A.    That ' s correct .                      18   me finish , please .___________
 1 <1       Q.    Which one of the o racing               19                There would oe no rohibition
 :.:i   businesses thal are here, c.hat you have          20   that I am aware cf .
 21     identified, do you need court: authority          21          Q.    Now, i n connection with your
 2~     for a sale?                                       22   differential between the liquidation of
 23               MR. MORRIS : Objecti on to the          23   what I wi ll call the operating businesses
 24         form of the question .                        24   under the liquidation analysis and the
 25         A.    Each :=! t!1e bus.nesses w1 l be a      25   plan analys i s, who a rrived at the discount
                                                Page 40                                                   Page 41
   1                       J. SEERY                        1                       J . SEERY
   2    or determined the discount that has been           2   is different.
   3    placed between t he two, plan analysis             3        Q.    Is the discount a function of
   4    versus liquidation analysis?                       4   capability of a trustee versus your
   5               MR. MORRIS : Objection to form          5   capability, or is t he discount a function
   6        of the question.                               6   of timing?
   7        A.     To which document are you               7              MR. MORRIS: Objection to form.
   8    referring?                                         8        A.    It could be a combination .
   9        Q.     Both t he June - the January and        9        Q.    So, let ' s -- let me walk through
 10     the November analysis has a different             10   t his . Your pl an analysis has an
 11     estimated p r oceeds for monetization for         11   assumption that everything is sold by
 12     the plan anal ysis versus the liquidation         12   December 2022. Correct?
 13     analysis . Do you see that?                       13        A.    Correct .
 14         A.     Yes.                                   14        Q.    And the valuations that you have
 15         Q.     And there i s a note under there.      15   used here for the monetizati on assume a
 16     "Assumes Chapter 7 trustee will not be            16   sal e between -- a sal e prior to December
 17     able to achieve the same sales proceeds as        17   of 2022. Correct?
 18     Claimant trustee . "                              18        A.    Sorry . I don't quite understand
 19         A.     I see that, yes .                      19   your quescion .
 20         Q.     Do you see that note?                  20        Q.    The 257 number, and then let ' s
 21         A.     Yes .                                  21   take out the notes .    Let's use the 210
 22         Q.    Who arrived at that discount ?          22   number .
 23         A.    I did .                                 23             MR . MORRIS : Can we put the
 24         Q.    What percent age did you use?           24       document back on the screen, please?
 25         A.    Depended on t he asset . Each one       25       Sorry, Douglas, to interrupt, but it




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                                                Page 4 2.                                                      Pa ge 43
 1                      J . SEERY                            1                        J . SEERY
 2       would be helpful .                                  2    applied?
 3             MR . DRAPER :     That is fine, John.         3        A.      Each of the assets is different.
 4             (Pause . )                                    4        Q.      Is there a general discount that
 5              MR . MORRIS : Thank you very                 5    you used?
 6       much .                                              6        A.    Not a general discount, no. We
 7       Q.     Mr . Seery, cb you see the 257?              7    looked at each individual asset and went
 8       A.     ln Che one from yesterday·!                  8    chrough and made an assessment .
 9       Q,     Yes .                                        9        Q.    Did you apply a discount for
10       A.     Second line, 257,941 . Yes .                10    your capability versus the capability of a
11       Q.    That assumes a monetization of               11    trustee?
12   all assets by December of 2022?                        12        A.      No .
13       A.     Correct .                                   13        Q.    So a trustee would be as capable
14       Q.     And so everything has been sold             14    as you are in monetizing these assets?
15   by that time ; correct?                                15              MR . MORRIS : Objection to the
16       A.     Yes .                                       16        form of the question .
17       Q.     So, what I am trying to get at              17        Q.      Excuse me?      The answer is?
18   is, there is both      the capability between          18        A.      The answer is maybe .
19   you and a trustee,      and then the second            19        Q.      Couldn ' t a trustee hire somebody
20   issue is timing .      So , what discount was          20    as capable as you are?
21   put on for timing,     Mr . Seery, between when        21                MR . MORRIS :   Objection to the
22   a trustee would sell it versus when you                22        form of the question .
23   would sell it?                                         23        A.     Perhaps .
24             MK . MUKKl~ : Ubjection .                    24        ~-     ~ir, that is a yes or no
25       Q.    What is the percentage you                   25    question . Could the trustee hire somebody

                                                P3.ge 44                                                       Page 45
 1                    J . SEERY                              1                        J . SEERY
 2   as capable as you are?                                  2        Q.      Again , the discounts are applied
 3              MR . MORRIS :    Objection to the            3    for timing and capabilicy?
 4       form of the question .                              4        A.      Yes .
 5       A.    I don ' t know .                              5        Q.      Now, in looking at the November
 6       Q.     Is there anybody as capable as               6    plan analysis number of $190 million and
 7   you are?                                                7    the January number of $257 million, what
 8              MR . MORRIS :    Objection to the            8    accounts for the increase between the two
 9       form of the question .                              9    dates?   What assets specifically?
10       A.    Certainly.                                   10        A.    There are a number of assets .
11       Q.    And they could be hired .                    11    Firscly, the HCLOF assets are added .
12   Correct?                                               12              How much are those?
13       A.     Perhaps .    I don ' t know .               =13       A.                  22 and a half
14       Q.    And if you go back to the                    14    million dollars .
15   November 2020 liquidation analysis versus              15        Q.    Okay .
16   plan analysis , it is also che same note               16        A.      Secondly, there is a signifi~
17   about that a trustee would bring less, and             17    increase in che value of certain of the
18   there is the same sort of discount between             18    assets over this tlllle _oeriod .
19   the estimated proceeds under the plan and              19        Q.    Which assets , Mr . Seery?
20   under the liquidation analysis .                       20        A.    There are a number. They
21             MR . MORRIS : If chat is a                   21    include MGM scock , th~    clude Trust         y_,
22       question , I object .                              22    c ~ include T~ a .
23       Q.    Is that correct, Mr . Seery,                 23       Q.    And what is the percentage
24   looking at the document?                               24    increase from November to January ,
25       A.    There are discounts, yes .                   25    November of 2020 to January of 2021?




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                                                    Page 46                                                      Page 47
 1                        J . SEERY                            1                        J . SEERY
  2       A.    Do you mean what is the                        2   markets ; correct?
  3   percentage increa.se from 190 to 257?                    3       A.     No .
  4       Q.    No . You just identified three                 4       Q.     Those are operating businesses?
  5   assets . MGM stock , we can go look at the               5      A.      Correct .
  6   exchange and figure out what the price                   6       Q.   Who provided the valuation for
  7   increase is ; correct?                                   7   the November 2020 liguidation analysis?
  8      A.     No .                                           8       A.   We use a combination of the
  9      Q.     Why not?      Is the MGM stock                 9   value that w~ et from Houlihan Lokey...f_or
 10   publicly traded?                                        10   mark u.n:,gses and then we ad~ust it for
 11           A.   Yes . It doesn ' t trade on -              11   plan purposes .
 12           Q.   Excuse me?                                 12       Q.    And the adj ustment was up or
 13       A.    It doesn ' t trade on an exchange .           13   down?
 14       Q.    Is there a public market for the              14       A.     When?
 15   MGM stock that we could cal culate the                  15       Q.     For both
 16   increase?                                               16   You got a number from
 17           A.   There is a semipublic market ;             i7   adjusted it . Did you adjust it up or did
 18   yes .                                                   18    ou adjust i t down?
 19       Q.    So it is a number that is                     19             MR . MORRIS : Objection to form
 20   readily available between the two dates?                20       of the question .
 21       A.    It ' s available .                            21       A.    I believe that for November we
 22       Q.     Now, you identified Targa and                22   adjusted it down, and for January we
 23   Trustway . Correct?                                     23   agjusted it down .     I don ' t    recal l off the
 24           A.   Yes .                                      24   to of m head buc I believe both of them
 25           Q.   Those are not readily available            25   were adjusted down .

                                                    Page 48                                                      Page 49
 1                        J . SEERY                            1                    J . SEERY
  2        Q.      And if I understand what-YQ_u               2   of 2021 , the magnitude beil}g ro~hl          60
  3   j ust said , it is that the Houlihan Lok_gy              3   some odd million dollars . Correct?
  4   valuation for chose two businesses showed                4       A.    Correct .
  5   a s~nificant increase between November of                5       Q.    We can account for $22 million
  6   2020 and Jan ua.f.Y o f 2021?                            6   of ic easjj,y, ri ht?
  7             MR . MORRIS : Objection to form                7             MR . MORRIS :     Objection to f o rm .
  8       of the question .                                    8       A.    Correct .
  9       A.    I didn ' t say that .                          9        Q.    That is the HarbourVesc
10            Q.   I am trying to account for the             10   settlement , so that leaves roughJ.y
 11   increase between the two daces , anc!...Y.Qg,           11   $40 million unaccounted for?
 12   identified three assets . You identified                12             MR . MORRIS : Objection to the
 13   MGM stock, which has      I can   uess , as     ou      13       form of the question if that is a
 14   have said, a readily ascertainable value .              14        question . It is accounted for .
15    Then you identified two others chat the                 15        Q.    What makes up thac difference ,
16    valuation is based u122n somethin Houl ihan             16   Mr . Seer?
 17   Lo~     ovide    ou . Correct?                          17       A.    A ch5ID9e in th          ~ n value of
 18           A. I g~    ou three e ~       .   I             18   the assets .
19    never said " readily ." That is ,.your word,            19       Q.    Okay . Which assets? Let ' s sort
20    not mine . And I didn ' t say that Hou l ihan           20   of go back to where we were .
21    had a significant change in their                       21       A.    There are numerous assets in the
 22   valuation .                                             22   gJ,gp formu l ation .   I gav you three
 23       Q.      So let ' s now o back co the                23   exam.P,les of the,,.,9pexpt ill9 businesses . The
 24   ~   tion . There is an increase in va l ue              24   securities , I beli ~ , have increased in
 25   from November 24th of 2020 to January 28th              25   value since the plan , so those would qo up




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                                                 Page 50                                                  Page 5 1
  1                       J . SEERY                         1                     J . SEERY
  2   for one .    On the og§_rat ing businesses_, we       2   HarbourVest settlement , right?
  3   looked at each of them and made an                    3       A.    I believe that ' s correct .
  4   assessment based upon where the market is             4       Q.    Is that fair, Mr . Seery?
  5   and what we believe the values are, and we            5       A.    I believe that is correct, yes .
  6   have moved those valuations .                         6       Q.    And part of that differential
  7       Q.    Let me look at some numbers                 7   are publicly traded or ascertainable
  8   again . In the liquidation analysis in                8   securities . Correcc?
  9   November of 2020, the liquidation value is            9      A.     Yes .
10    $149 million . Correct?                              10      Q.     And basically you can get , or
 11        A.   Yes .                                      11   under the plan analysis or trustee
12        Q.    And in the liquidation analysis            12   analysis , if it is a marketable security
13    in January of 2021 , you have $191 million?          13   or where there is a market ,     the
14        A.    Yes .                                      14   liquidation number should be the same for
15        Q.    You see that number . So there             15   both . Is that fair?
 16   is $51 million there, right?                         16        A.      No .
 17       A.    No .                                       17        Q.      And why not?
18         Q.   What is the difference between             18       A.    We might have a different price
19    191 and - sorry. My math may be a little             19   target for a particular security than the
20    off . What is the difference between the             20   current trading value .
21    two numbers , Mr . Seery?                            21       Q.    I understand that , but I mean
 22        A.      Your math is off .                      22   that is based upon the capability of the
 23        Q.      Sorry . It is 41 million?               23   person making the decision as to when to
 24       A.       Correct .                               24   sell .    Correct?
 25        Q.      $22 million of that is the              25               MR . MORRIS :   Objection to form

                                                 Page 52                                                  Page 5.3
  1                     J . SEERY                           1                        J . SEERY
  2        of the question .                                2   $18 million .     How much of that is publicly
  3        Q.      Mr . Seery, yes or no?                   3   traded or ascertainable assets versus
  4        A.      I said no .                              4   operating businesses?
  5        Q.      What is that based on , then?            5       A.    I don ' t know off the top of my
  6        A.      The person ' s ability to assess         6   head the percentages .
  7   the market and timing .                               7       Q.      All right . The same question
  8       Q.    Okay . And again , couldn ' t a             8   for the p l an analysis where you have the
  9   trustee hire somebody as capable as you to            9   differential between the November number
10    both, A, assess the market and, B, make a            10   and the January number . How much of it is
11    determination as to when to sel l?                   11   marketable securities versus an operating
12              MR . MORRIS : Objection to form            12   business?
13        of the question .                                13       A.    I don ' t recall off the top of my
14         A.      I suppose a trustee could .             14   head .
15        Q.    And there are better peopl e or            15             MR . DRAPER : Let me take a
16    people equally or better than you at                 16       few-minute break . Can we take a
 17   assessing a market .     Correct?                    17        ten-minute break here?
 18       A.    Yes .                                      18              THE WITNESS : Sure.
 19              MR . MORRIS : Objection to form           19                (Recess . )
 20        of the question .                               20   BY MR . DRAPER:
 21        Q.    So, again , let ' s go back to            21        Q.      Mr . Seery, what I am going to
 22   that .    We have accounted for , out of             22   show you and what I would ask you to look
 23   $41 million where the l iquidation analysis          23   at is in the note E, in the statement of
 24   increases between the two dates ,                    24   assumptions for the November 2020
 25   $22 million of it .     That leaves                  25   disclosure statement .      It discusses fixed




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                             Sale of Assets of Affiliates or Controlled Entities

    Asset                                                   Sales Price
    Structural Steel Products                               $50 million
    Life Settlements                                        $35 million
    OmniMax                                                 $50 million
    Targa                                                   $37 million


       •   These assets were sold over the contemporaneous objections of James Dondero, who was the
           Portfolio Manager and key-man on the funds.
       •   Mr. Seery admitted 1 that he must comply with the Bankruptcy Code, the Federal Rules of
           Bankruptcy Procedure, and the Protocols for the sale of major assets of the estate. We believe
           that a competitive bid process and court approval should have been required for the sale of each
           of these assets (as was done for the sale of the building at 2817 Maple Ave. [a $9 million asset]
           and the sale of the interest in PetroCap [a $3 million asset]).




1
    See Mr. Seery’s Jan. 29, 2021 deposition testimony, Appendix p. A-20.


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                              20 Largest Unsecured Creditors

Name of Claimant                    Allowed Class 8   Allowed Class 9
Redeemer Committee of the
Highland Crusader Fund              $136,696,610.00
UBS AG, London Branch and UBS
Securities LLC
                                    $65,000,000.00    $60,000,000
HarbourVest entities                $45,000,000.00    $35,000,000
Acis Capital Management, L.P. and
Acis Capital Management GP, LLC     $23,000,000.00
CLO Holdco Ltd                      $11,340,751.26
Patrick Daugherty
                                                      $2,750,000 (+$750,000 cash payment
                                    $8,250,000.00     on Effective Date of Plan)
Todd Travers (Claim based on
unpaid bonus due for Feb 2009)      $2,618,480.48
McKool Smith PC                     $2,163,976.00
Davis Deadman (Claim based on
unpaid bonus due for Feb 2009)      $1,749,836.44
Jack Yang (Claim based on unpaid
bonus due for Feb 2009)             $1,731,813.00
Paul Kauffman (Claim based on
unpaid bonus due for Feb 2009)      $1,715,369.73
Kurtis Plumer (Claim based on
unpaid bonus due for Feb 2009)      $1,470,219.80
Foley Gardere                       $1,446,136.66
DLA Piper                           $1,318,730.36
Brad Borud (Claim based on unpaid
bonus due for Feb 2009)             $1,252,250.00
Stinson LLP (successor to Lackey
Hershman LLP)                       $895,714.90
Meta-E Discovery LLC                $779,969.87
Andrews Kurth LLP                   $677,075.65
Markit WSO Corp                     $572,874.53
Duff & Phelps, LLC                  $449,285.00
Lynn Pinker Cox Hurst               $436,538.06
Joshua and Jennifer Terry
                                    $425,000.00
Joshua Terry
                                    $355,000.00
CPCM LLC (bought claims of
certain former HCMLP employees)     Several million
TOTAL:                              $309,345,631.74   $95,000,000




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                                   Timeline of Relevant Events

 Date          Description
 10/29/2019    UCC appointed; members agree to fiduciary duties and not sell claims.
 9/23/2020     Acis 9019 filed
 9/23/2020     Redeemer 9019 filed
 10/28/2020    Redeemer settlement approved
 10/28/2020    Acis settlement approved
 12/24/2020    HarbourVest 9019 filed
 1/14/2021     Motion to appoint examiner filed
 1/21/2021     HarbourVest settlement approved; transferred its interest in HCLOF to HCMLP
               assignee, valued at $22 million per Seery
 1/28/2021     Debtor discloses that it has reached an agreement in principle with UBS
 2/3/2021      Failure to comply with Rule 2015.3 raised
 2/24/2021     Plan confirmed
 3/9/2021      Farallon Cap. Mgmt. forms “Muck Holdings LLC” in Delaware
 3/15/2021     Debtor files Jan. ‘21 monthly operating report indicating assets of $364 million,
               liabilities of $335 million (inclusive of $267,607,000 in Class 8 claims, but exclusive
               of any Class 9 claims), the last publicly filed summary of the Debtor's assets. The
               MOR states that no Class 9 distributions are anticipated at this time and Class 9
               recoveries are not expected.
 3/31/2021     UBS files friendly suit against HCMLP under seal
 4/8/2021      Stonehill Cap. Mgmt. forms “Jessup Holdings LLC” in Delaware
 4/15/2021     UBS 9019 filed
 4/16/2021     Notice of Transfer of Claim - Acis to Muck (Farallon Capital)
 4/29/2021     Motion to Compel Compliance with Rule 2015.3 Filed
 4/30/2021     Notice of Transfer of Claim - Redeemer to Jessup (Stonehill Capital)
 4/30/2021     Notice of Transfer of Claim - HarbourVest to Muck (Farallon Capital)
 4/30/2021     Sale of Redeemer claim to Jessup (Stonehill Capital) "consummated"
 5/27/2021     UBS settlement approved; included $18.5 million in cash from Multi-Strat
 6/14/2021     UBS dismisses appeal of Redeemer award
 8/9/2021      Notice of Transfer of Claim - UBS to Jessup (Stonehill Capital)
 8/9/2021      Notice of Transfer of Claim - UBS to Muck (Farallon Capital)

Critical unknown dates and information:

   •   The date on which Muck entered into agreements with HarbourVest and Acis to acquire their
       claims and what negative and affirmative covenants those agreements contained.
   •   The date on which Jessup entered into an agreement with the Redeemer Committee and the
       Crusader Fund to acquire their claim and what negative and affirmative covenants the agreement
       contained.
   •   The date on which the sales actually closed versus the date on which notice of the transfer was
       filed (i.e., did UCC members continue to serve on the committee after they had sold their claims).



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                 Debtor’s October 15, 2020 Liquidation Analysis [Doc. 1173-1]

                                                                 Plan Analysis     Liquidation
                                                                                   Analysis
 Estimated cash on hand at 12/31/2020                            $26,496           $26,496
 Estimated proceeds from monetization of assets [1][2]           198,662           154,618
 Estimated expenses through final distribution [1][3]            (29,864)          (33,804)
 Total estimated $ available for distribution                    195,294           147,309

 Less: Claims paid in full
 Administrative claims [4]                                       (10,533)          (10,533)
 Priority Tax/Settled Amount [10]                                (1,237)           (1,237)
 Class 1 – Jefferies Secured Claim                               -                 -
 Class 2 – Frontier Secured Claim [5]                            (5,560)           (5,560)
 Class 3 – Priority non-tax claims [10]                          (16)              (16)
 Class 4 – Retained employee claims                              -                 -
 Class 5 – Convenience claims [6][10]                            (13,455)          -
 Class 6 – Unpaid employee claims [7]                            (2,955)           -
 Subtotal                                                        (33,756)          (17,346)
 Estimated amount remaining for distribution to general          161,538           129,962
 unsecured claims
 Class 5 – Convenience claims [8]                                -                 17,940
 Class 6 – Unpaid employee claims                                -                 3,940
 Class 7 – General unsecured claims [9]                          174,609           174,609
 Subtotal                                                        174,609           196,489
 % Distribution to general unsecured claims                      92.51%            66.14%
 Estimated amount remaining for distribution                     -                 -
 Class 8 – Subordinated claims                                   no distribution   no distribution
 Class 9 – Class B/C limited partnership interests               no distribution   no distribution
 Class 10 – Class A limited partnership interests                no distribution   no distribution


Notable notations/disclosures in the Oct. 15, 2020 liquidation analysis include:

    •   Note [9]: General unsecured claims estimated using $0 allowed claims for HarbourVest and
        UBS. Ultimately, those two creditors were awarded $105 million of general unsecured claims
        and $95 million of subordinated claims.




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                              Updated Liquidation Analysis (Feb. 1, 2021) 2
                                                                   Plan Analysis      Liquidation
                                                                                      Analysis
    Estimated cash on hand at 1/31/2020 [sic]                      $24,290            $24,290
    Estimated proceeds from monetization of assets [1][2]          257,941            191,946
    Estimated expenses through final distribution [1][3]           (59,573)           (41,488)
    Total estimated $ available for distribution                   222,658            174,178

    Less: Claims paid in full
    Unclassified [4]                                               (1,080)            (1,080)
    Administrative claims [5]                                      (10,574)           (10,574)
    Class 1 – Jefferies Secured Claim                              -                  -
    Class 2 – Frontier Secured Claim [6]                           (5,781)            (5,781)
    Class 3 – Other Secured Claims                                 (62)               (62)
    Class 4 – Priority non-tax claims                              (16)               (16)
    Class 5 – Retained employee claims                             -                  -
    Class 6 – PTO Claims [5]                                       -                  -
    Class 7 – Convenience claims [7][8]                            (10,280)           -
    Subtotal                                                       (27,793)           (17,514)
    Estimated amount remaining for distribution to general         194,865            157,235
    unsecured claims
    % Distribution to Class 7 (Class 7 claims including in Class   85.00%             0.00%
    8 in Liquidation scenario)
    Class 8 – General unsecured claims [8] [10]                    273,219            286,100
    Subtotal                                                       273,219            286,100
    % Distribution to general unsecured claims                     71.32%             54.96%
    Estimated amount remaining for distribution                    -                  -
    Class 9 – Subordinated claims                                  no distribution    no distribution
    Class 10 – Class B/C limited partnership interests             no distribution    no distribution
    Class 11 – Class A limited partnership interests               no distribution    no distribution


Notable notations/disclosures in the Feb. 1, 2021 liquidation analysis include:

      •    claim amounts in Class 8 assume $0 for IFA and HM, $50.0 million for UBS and $45 million
           HV.
      •    Assumes RCP claims will offset against HCMLP's interest in fund and will not be paid from
           Debtor assets




2
    Doc. 1895.


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                 Summary of Debtor’s January 31, 2021 Monthly Operating Report 3


                                                 10/15/2019           12/31/2020            1/31/2021
    Assets
    Cash and cash equivalents                      $2,529,000           $12,651,000           $10,651,000
    Investments, at fair value                   $232,620,000         $109,211,000          $142,976,000
    Equity method investees                      $161,819,000         $103,174,000          $105,293,000
    mgmt and incentive fee receivable              $2,579,000            $2,461,000            $2,857,000
    fixed assets, net                              $3,754,000            $2,594,000            $2,518,000
    due from affiliates                          $151,901,000         $152,449,000          $152,538,000
    reserve against notices receivable                                ($61,039,000)         ($61,167,000)
    other assets                                   $11,311,000           $8,258,000            $8,651,000
                             Total Assets        $566,513,000          $329,759,000         $364,317,000

    Liabilities and Partners' Capital
    pre-petition accounts payable                   $1,176,000            $1,077,000           $1,077,000
    post-petition accounts payable                                         $900,000            $3,010,000
    Secured debt
                                   Frontier         $5,195,000           $5,195,000           $5,195,000
                                  Jefferies        $30,328,000                   $0                   $0
    Accrued expenses and other liabilities         $59,203,000          $60,446,000          $49,445,000
    Accrued re-organization related fees                                 $5,795,000           $8,944,000
    Class 8 general unsecured claims              $73,997,000           $73,997,000         $267,607,000
    Partners' Capital                            $396,614,000          $182,347,000          $29,039,000
           Total liabilities and partners'
                                    capital      $566,513,000          $329,757,000         $364,317,000


Notable notations/disclosures in the Jan. 31, 2021 MOR include:

      •    Class 8 claims totaled $267 million, a jump from $74 million in the prior month’s MOR
      •    The MOR stated that no Class 9 recovery was expected, which was based on the then existing
           $267 million in Class 8 Claims.
      •    Currently, there are roughly $310 million of Allowed Class 8 Claims.




3
 [Doc. 2030] Filed on March 15, 2021, the last publicly disclosed information regarding the value of assets in the
estate.


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                                    Value of HarbourVest Claim


                              HarbourVest Interest NAV by Month
 9/29/2020                                                  $22.2

10/31/2020                                                  $24.2

11/30/2020                                                  $34.1

12/31/2020                                                  $39.3

 1/14/2021                                                  $41.6

 1/31/2021

 2/28/2021                                                  $49.7

 3/31/2021                                                  $50.3

 4/30/2021                                                  $53.9

 5/31/2021                                                  $55.9




                            HarbourVest NAV Value v. Purchase Price
 $60.0



 $50.0



 $40.0



 $30.0



 $20.0



 $10.0



   $-                           T                 r        T                T                   T

   9/29/2020   10/29/2020   11/29/2020   12/29/2020     1/29/2021   2/28/2021   3/31/2021   4/30/2021   5/31/202

                                         ......   NAV      Purchase Price




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                                 Estate Value as of August 1, 2021 (in millions) 4
    Asset                                                              Low                        High
    Cash as of 6/30/2021                                               $17.9                      $17.9
                                                       Targa Sale      $37.0                      $37.0
                                                 8/1 CLO Flows         $10.0                      $10.0
                                                 Uchi Bldg. Sale       $9.0                       $9.0
                                                       Siepe Sale      $3.5                       $3.5
                                                   PetroCap Sale       $3.2                       $3.2
                                         HarbourVest trapped cash      $25.0                      $25.0
    Total Cash                                                         $105.6                     $105.6
    Trussway                                                           $180.0                     $180.0
    Cornerstone (125mm; 16%)                                           $18.0                      $18.0
    HarbourVest CLOs                                                   $40.0                      $40.0
    CCS Medical (in CLOs and Highland Restoration)                     $20.0                      $20.0
    MGM (direct ownership)                                             $32.0                      $32.0
    Multi-Strat (45% of 100mm; MGM; CCS)                               $45.0                      $45.0
    Korea Fund                                                         $18.0                      $18.0
    Celtic (in Credit-Strat)                                           $12.0                      $40.0
    SE Multifamily                                                     $0.0                       $20.0
    Affiliate Notes                                                    $0.0                       $70.0
    Other                                                              $2.0                       $10.0
    TOTAL                                                              $472.6                     $598.6



                                                 Assets and Claims
    $700.0
    $600.0        ,...._____
    $500.0   ••                  •
    $400.0
    $300.0
                                     '\.       • • • • • • • •
    $200.0
    $100.0
       $-
             •• • • • • • • • • • • • • • •
                                                                                                                 ..
                  Total Assets          Class 8 Claims      Class 9 Claims        Unsecured Creditors' Claims




4
  Values are based upon historical knowledge of the Debtor’s assets (including cross-holdings) and publicly filed
information.


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                     HarbourVest Motion to Approve Settlement [Doc. 1625]
  P ACHULSKI ST ANG ZIEHL & JONES LLP
  Jeffrey . Pomerantz (CA Bar No. 1437 17) (admitted pro hac 1 ice)
  Ira D. Kharascb (CA Bar No. 109084) (admitted pro hac vice)
  John A. MrnTis (NY Bar No. 266326) (admitted pro hac vi e)
  Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
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  Counsel for the Debtor and Debtor-in-Possession


                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE ORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISIO

                                                                  §
  In re:                                                          § Chapter 11
                                                                  §
  HIGHLAND CAP IT AL MANAGEMENT, L.P.                       1     §   Case No. 19-34054-sgj] 1
                                                                  §
                                     Debtor.                      §
 ------------------

           DEBTOR'S MOTIO FOR ENTRY OF AN ORDER APPROVING
     SETTLEME T WITH HARBOURVEST (CLAIM OS. 143, l47, 149, 150, 153, 154)
            AND AUTHORIZIN G ACTIONS CON I TENT THEREWITH


  TO THE HONORABLE STACEY G. C. JERNIGAN,
  UNlT ED ST A TES BANKRUPTCY JUDGE:



  1 The last four digits of the Debtor's taxpayer identification number are 6725. The headquarters and service address

  for the Debtor is 300 Crescent Court, Suite 700, Dallas, TX 7520 1.




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             Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

     possession ("Highland" or the "Debtor"), files this motion (the " Motion") for entry of no order,

     substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

     Rules of Bankn1ptcy Procedure (the "Bankruptcy Rules"), approving a settlement agreement (the

     "Settlement Agreement"), 2 a copy of which is attached as Exhibit I to the Declaration ofJohn A.

     Morris in Support of the Debtor ·s Motion for Entry of an Order Approving Settlement with

     HarbourVest (Claim Nos. 143, 147, 149. 150, 153. 154) and Authorizing Actions Consistent

     Therewith being filed simultaneously with this Motion ("Morris Dec."), that, among other things,

     fully and finally resolves the proofs of claim fi led by HarbourYest 2017 Global Fund LP.,

     HarbourYest 2017 Global AIF LP., HarbourYest Dover Street IX Investment LP., HY

     International YID Secondary LP., HarbourYest Skew Base AIF L.P., and HarbourYest Partners

     L.P. (collectively, "HarbourVest"). In support of this Motion, the Debtor represents as follows:

                                                JURISDICTION

                     l.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

     and 1334. This matter is a core proceediJJg within the meaning of 28 U.S.C. § I57(b)(2). Venue

     in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                     2.      The statutory predicates for the relief sought herein are sections lOS(a)

     and 363 of title 11 of the United States Code (the " Bankruptcy Code"), and Rule 90 19 of the

     Bankruptcy Rules.




     2
      Al l capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
     Agreement.

                                                         2


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                                          RELEVANT BACKGROUND

 A.         Procedural Background
                     3.       On October 16, 20 19 (the "Petition Date"), the Debtor fi led a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

 District of Delaware, Case No. 19-12239 (CSS) (the "Delaware Court").

                     4.       On October 29, 2019, the official committee of unsecured creditors (the

 "Committee") was appointed by the U.S. Trustee in the Delaware Court.

                     5.       On December 4, 2019, the Delaware Court entered an order tra11Sferring

 venue of the Debtor's case to this Court [Docket No. 186]. 3

                     6.       On December 27, 2019, the Debtor fi led that certain Motion of the Debtor

for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

 Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

 281] (the "Settlement Motion"). This Court approved the Settlement Motion on January 9, 2020

 [Docket No. 339] (the "Settlement Order'').

                     7.       In connection with the Settlement Order, an independent board of

 directors was constituted at the Debtor's general partner, Strand Advisors, Inc., and certain

 operating protocols were instituted.

                     8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

 Jr., as the Debtor's chief executive officer and chief restructuring officer [Docket No. 854].

                     9.       The Debtor bas continued in the possession of its property and bas

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.


 3
     All docket numbers refer to the docket maintained by this Court.

                                                            3


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B.       Overview ofHarbourVest's Claims

                  10.      HarbourVest's claims against the Debtor's estate arise from its $80 million

 investment in Highland CLO Funding, f/k/a Acis Loan Funding, Ltd. ("HCLOF"), pursuant to

which HarbourVest obtained a 49 percent interest in HCLOF (the "Investment").

                  11.      In brief, HarbourVest contends that it was fraudulently induced into

entering into the Investment based on the Debtor's misrepresentations and omissions concerning

certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

 manager from collecting on his arbitration award and misrepresented the reasons changing the

portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

with the former portfolio manager would not impact investment activities, and (4) expressed

confidence in the ability of HCLOF to reset or redeem the collateralized loan obligations

("CLOs") under its control.

                  12.      HarbourVest seeks to rescind its Investment and claims damages in excess

of $300 million based on theories of fraud, fraudulent inducement, fraudulent concealment,

fraudulent misrepresentation, negligent misrepresentation, and breach of fiduciary duty (under

Guernsey law), and on alleged violations of state securities laws and the Racketeer l nfluenced

Corrupt Organization Act ("RICO").

                  13 .     HarbourVest's allegations are summarized below. 4




4
  Solely for purposes of this Motion, and not for any other reason, the facts set forth herein are adopted largely from
the HarbourVes/ Response to Debtor's First Omnibus Objection to Certain (A) Duplicate Claims: (B) Overstated
Claims: (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liabiliiy Claims: and (F) lnsujficient-Documemalion
Claims [Docke t No. I057] (the "Response").



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C.      Summary of HarbourVest's Factual AJlegations

               14.     At the time HarbourVest made its Investment, the Debtor was embroiled

m an arbitration against Joshua Terry ("Mr. Terry"), a former employee of the Debtor and

limited partner of Acis Capital Management, L.P. ("Acis LP"). Through Acis LP, Mr. Terry

managed Highland's CLO business, including CLO-related inve.stments held by Acis Loan

Funding, Ltd. ("Acis Funding" ).

               15.     The litigation between Mr. Terry and the Debtor began in 2016, after the

Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

he obtained an award of approximately $8 million (the "Arbitration Award" ) on October 20,

2017.

               16.     HarbourVest alleges that the Debtor responded to the Arbitration Award

by engaging in a series of fraudu lent transfers and corporate restructurings, the true purpose.s of

which were fraudu lently concealed from HarbourVest.

               17.     For example, according to HarbourVest, the Debtor changed the name of

the target fund from Acis Funding to " Highland CLO Funding, Ltd." (" HCLOF") and "swapped

out" Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the " Structural Changes").

The Debtor allegedly told HarbourVest that it made these changes because of the "reputational

harm" to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

them under the "Highland" CLO brand instead of the Acis CLO brand.

               18.     In addition, HarbourVest also alleges that the Debtor had no intention of

allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to "denude"


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 Acis of assets by fraudu lently transferring virtually all of its assets and attempting to transfer its

 profitable portfolio management contracts to non-Acis, Debtor-related entities.

                 19.    Unaware of the fraudulent transfers or the true purposes of the Structural

 Changes, and in reliance on representations made by the Debtor, HarbourYest closed on its

 Investment in HCLOF on November 15, 20 17.

                 20.    After discovering the transfers that occurred between Highland and Acis

 between October and December 2017 following the Arbitration Award (the "Transfers"), on

 January 24, 2018, Terry moved for a temporary restraining order (the "TRO") from the Texas

 state court on the grounds that the Transfers were pmsued for the purpose of rendering Acis LP

 judgment-proof. The state court granted the TRO, enjoining the Debtor from transferring any

 CLO management contracts or other assets away from Acis LP.

                 21.    On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

 aga inst Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

 Capital Management, L.P.. Case No. 18-30264-sgjl l (Bankr. N.D. Tex. 2018) and In re Acis

 Capital Management GP, LLC, Case No. 18-30265-sgjl 1 (Bankr. N.D. Tex. 2018) (collectively,

 the "Acis Bankruptcy Case"). The Bankruptcy Court overruled the Debtor's objection, granted

 the involuntary petitions, and appointed a chapter 11 trustee (the "Acis Trustee").            A long

 sequence of events subsequently transpired, all of which relate to HarbourYest's claims,

 including:

         •    On May 31 , 2018, the Court issued a sua sponte TRO preventing any actions m
              furtherance of the optional redemptions or other liquidation of the Acis CLOs.

         •    On June 14, 20 18, HCLOF withdrew optional redemption notices.

         •    The TRO expired on June 15, 20 18, and HCLOF noticed the Acis Trustee that it was
              requesting an optional redemption.




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         •   HCLOF's request was withdrawn on July 6, 20L8, and on June 21 , 2018, the Acis
             Trustee sought an injunction preventing Highland/HCLOF from seeking further
             redemptions (the "Preliminary In junction").

         •   The Court granted the Preliminary Injunction on July I 0, 20 18, pending the Acis
             Trustee's attempts to confirm a p lan or resolve the Acis Bankruptcy.

         •   On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
             for Acis, and held that the Preliminary Injunction must stay in place on the ground
             that the "evidence thus far bas been compelling that numerous transfers after the Josh
             Terry judgment denuded Acis of value."

         •   After tJ1e Debtor made various statements implicating HarbourVest in the Transfers,
             the Acis Trustee investigated HarbourVest's involvement in sucb Transfers, including
             exteDsive discovery and taking a 30(b)(6) deposition of HarbourVest's managing
             director, Michael Pugatch, on November 17, 2018.

         •   On March 20, 2019, HCLOF sent a letter to Acis LP stating tJ1at it was not interested
             in pursuing, or able to pursue, a CLO reset transaction.

  D.     The Parties' Pleadings and Positions Concerning HarbourVest's
         Proofs of Claim

                 22.     On April 8, 2020, HarbourVest filed proofs of claim against Highland that

  were subsequently denoted by the Debtor's claims agents as claim numbers 143, 147, 149, 150,

  153, and 154, respectively (collectively, the "Proofs of Claim"). Morris Dec. Exhibits 2-7.

                 23 .    The Proofs of Claim assert, among other things, that HarbourVest suffered

  significant barrn due to conduct undertaken by the Debtor and the Debtor's employees, including

  "financial barm resulting from (i) court orders in ilie Acis Bankruptcy that prevented certain

  CLOs in which HCLOF was invested from being refinanced or reset and court orders that

  othe1wise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; aDd (ii) significant

  fees and expenses related to the Acis Bankruptcy that were charged to HCLOF." See, e.g. ,

  Morris Dec. Exhibit 2 iJ3.

                 24.     HarbourVest also asserted "ally and all of its right to payment, remedies,

  and other claims (including contingent or unliquidated claims) against the Debtor in connection

  witb and relating to the forgoing barm, including for any amounts due or owed under the various

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 agreements with the Debtor in connection with relating to" the Operative Documents "and any

 and all legal and equitable claims or causes of action relating to the forgoing harm." See, e.g.,

 Morris Dec. Exhi bit 2 iJ4.

                25.     Highland subsequently objected to HarbourVesl's Proofs of Claim on the

 grounds that they were no-liabil ity claims. [Docket No. 906] (the "Claim Objection").

                26.     On September 11 , 2020, HarbourVest filed its Response. The Response

 articulated specified claims under U.S. federal and state and Guernsey law. including claims for

 fraud, fraudu lent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

 misrepresentation (collectively, the "Fraud Claims"), U.S. State and Federal Securities Law

 Claims (the "Securities Claims"), violations of the Federal Racketeer Influenced and Corrupt

 Organizations Act ("RICO"), breach of fiduciary dluty and misuse of fund assets, and an unfair

 prejudice claim under Guernsey law (collectively, with the Proofs of Claim. the "HarbourVest

 Claims").

                27.     On October 18, 2020, Harbow·Vest filed its Motion of HarbourVest

 Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Tempora,y Allowance

 of Claims for Pwposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the "30 18

 Motion"). lo its 3018 Motion, HarbourVest sought for its Claims to be temporari ly allowed for

 votillg purposes in the amount of more than $300 million (based largely on a theory of treble

 damages).

 E.     Settlement Discussions
                28.     ill October, tbe parties discussed the possibi lity of resolving the Rule 30 I 8

 Motion.

                29.     To November, the parties broadened the discussions in an attempt to reach

 a global resolution of the HarbourVest Claims.        ill the pursuit thereof, the parties and their


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  counsel participated in several conference calls where they engaged in a spirited exchange of

  perspective,s concerning the facts and the law.

                   30.     During follow up meetings, the parties' interests became more defined.

  Specifically, HarbourVest sought to maximize its recovery whi le fully extracting itself from the

  Investment, while the Debtor sought to minjmize the HarbourVest Claims consistent with its

  perceptions oftbe facts and law.

                   3 l.     After the pa11ies' interests became more defined. the principals engaged in

  a series of direct, arm's-length, telephoruc negotiations that ultimately lead to the settlement,

  whose terms are summarized below.

  F.        Summary of Settlement Terms

                    32.     The Settlement Agreement contains the followi.ng material te1ms, among

  others:

            •   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
                by the Debtor; 5

            •   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
                amount of $45 million and shall vote its Class 8 claim in that amount to support the
                Plan;

            •   HarbourVest shall receive a subordinated, allowed, general unsecured, non-priority
                claim in the amount of $35 rrullion and shall vote its Class 9 claim in that amount to
                support the Plan;

            •   HarbourVest will support confirmation of the Debtor's Plan, including, but not
                lirruted to, voting its claims in support of the Plan;

            •   The HarbourVest Claims shall be allowed in the aggregate amount of$45 million for
                voting purposes;

            •   HarbourVest will support the Debtor's pursuit of its pending Plan of Reorganization;
                and

            •   Tbe parties shall exchange mutual releases.

  5
   The NAY for HarbourVest's 49.98% interest in HCLOF was estimated to be a   roximate!Y $22 million as of
  December I. 2020.

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 See generally Morris Dec. Exhibit l.

                                 BASIS FOR RELIEF REQUESTED
                33.     Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

 a settlement, providing that:

          On motion by the trustee a11d after notice and a bearing, the court may
          approve a compromise or settlement. Notice shall be given to creditors, the
          United States trustee, the debtor, and indenture trustees as provided in Rule
          2002 and to any other entity as the court may direct.

 FED. R. BANKR. P. 9019(a).

                34.     Settlements in bankruptcy ru·e favored as a means of minimizing litigation,

 expediting the administration of the bankruptcy estate, and providing for tbe efficient resolution

 of bankruptcy cases. See Myers v. Martin (In re Martin), 9 1 F.3d 389, 393 (3d C ir. 1996);

 Rivercity v. He,pel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

 Bankruptcy Rule 90J9(a), a bankruptcy court may approve a compromise or settlement as long

 as the proposed settlement is fa ir, reasonable, and in the best interest of the estate. See In re Age

 Ref Inc., 801 F.3d 530, 540 (5th C ir. 2015). Ultimately, "approval of a compromise is within

 the sound discretion of the bankruptcy court." See United Stares v. AWECO, Inc. (In re A WECO,

 Inc.). 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing. 624 F.2d at 602-03.

                35.     1n making this determination, the United States Court of Appeals for the

 Fifth Circuit applies a three-part test, "with a focus on comparing 'the tem1s of the compromise

 with the rewards of litigation."' Official Comm. of Unsecured Creditors v. Cajun Elec. Power

 Coop. (In re Cajun Elec. Power Coop.), 119 F.3d 349, 356 (5th Cir. 1997) (citing Jackson

 Brewing, 624 F.2d at 602). The Fifth Circuit bas instructed courts to consider the following

 factors: "(l) The probability of success in the litigation, with due consideration for the

 uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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 attendant expense, inconvenience and delay, and (3) All oth,~r factors bearing on the wisdom of

 the compromise." Id. Under the rnbric of the third factor referenced above, the Fifth Circuit bas

 specified two additional factors that bear on the decision to approve a proposed settlement. First,

 the court should consider "the paramount interest of creditors with proper deference to their

 reasonable views." Id.; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Co,p. (In re Foster

 Mortgage Co,p.), 68 F.3d 9 14, 917 (5th Cir. 1995). Second, the court shou ld consider the

 "extent to which the settlement is truly the product of anns-le:ngth bargaining, and not of fraud or

 collusion." Age Ref Inc., 801 F.3d at 540; Foster Mortgage Cotp., 68 F.3d at 9 18 (citations

 omitted).

                  36.    There is ample basis to approve the proposed Settlement Agreement based

 on the Ru le 90 19 factors set forth by the Fifth Circuit.

                  37.    First, although the Debtor believes that it has valid defenses to the

 HarbourVest Claims, there is no guarantee that the Debtor would succeed in its litigation with

 HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

 part, on the credibility of witnesses whose veracity bas already been called into question by this

 Court.      Moreover, it will be difficult to dispute that tbe Transfers precipitated the Acis

 Bankniptcy, and, u ltimately, the imposition of the Bankruptcy Court's TRO that restricted

 HCLOF's ability to reset or redeem the CLOs and tbat is at the core of tbe HarbourVest Claims.

                  38.    The second factor- the complexity, duration, and costs of litigation-also

 weighs heavi ly in favor of approving tbe Settlement Agreement. As trus Court is aware, the

 events formi ng the basis of the HarbourYest Claims-incluiding the Terry Litigation and Acis

 Bankruptcy-proceeded for years in this Court and in mulltiple other forums, and has already

 cost the Debtor's estate millions of dollars in legal fees.   lf the Settlement Agreement is not

 approved, then the parties will expend significant resources litigating a host of fact-intensive


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 fraudulent statements and omissions and whether HarbourVest reasonably relied on those

 statements and omissions.

                         39.         Third, approval of the Settlement Agreement is justified by the paramount

 interest of creditors. Specifically, the settlement will enable the Debtor to: (a) avoid incurring

 substantial litigation costs; (b) avoid the litigation risk associated with HarbourVest's $300

 million claim; a11d (c) through the plan support provisions, increase the likelihood that tbe

 Debtor's pending plan of reorganization will be confirmed.

                         40.         Finally, the Settlement Agreement was unquestionably negotiated at

 arm' s-length. The terms of the settlement are the result of numerous, ongoing discussions and

 negotiations between the pa11ies and their counsel and represent neither party's "best case

 scenario." lndeed, the Settlement Agreement should be approved as a rational exercise of the

 Debtor's business judgment made after due deliberation of the facts and circumstances

 concerning HarbourVest's Claims.

                                                        NO PRIOR REQUEST

                         41.         No previous request for tbe relief sought herein has been made to tbis, or

 any other, CoUJt.

                                                                   NOTICE


                         42.         Notice of tbis Motion sball be given to the following parties or, in lieu

 thereof, to tbeir counsel, if kuown: (a) counsel for HarbourVest; (b) the Office of the United

 States Trustee; (c) the Office of the United States Attorney for the Northern District of Texas; (d)

 the Debtor's principal secured parties; (e) counsel to the Committee; and (t) parties requesting

 notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of tbe nature of the

 relief requested, no other or further notice need be given.

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         WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the

 form attached hereto as Exhibit A, (a) granting the relief requested herein, and (b) granting such

 other relief as is just and proper.



 Dated: December 23, 2020.                 PACHULSKI STANG ZlEHL & JONES LLP

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                                           lra D. Kharasch (CA Bar No. 109084)
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                              UBS Settlement [Doc. 2200-1]
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                                     Exhibit 1
                           Settlement Agreement




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                                   SETTLEMENT AGREEMENT

          This Settlement Agreement (the "Agreement") is entered into as of March 30, 2021, by
  and among (i) Highland Capital Management, L.P. ("HCMLP" or the "Debtor"), (ii) Highland
  Credit Opportunities CDO, L.P. (n/k/a Highland Multi Strategy Credit Fund, L.P.) ("Multi-
  Strat," and together with its general partner and its direct and indirect wholly-owned subsidiaries,
  the "MSCF Parties"), (iii) Strand Advisors, Inc. ("Strand"), and (iv) UBS Securities LLC and
  UBS AG London Branch (collectively, "UBS").

          Each of HCMLP, the MSCF Parties, Strand, and UBS are sometimes referred to herein
  collectively as the "Parties" and individually as a "Party."

                                           RE C I TA L S

         WHEREAS, in 2007, UBS entered into certain contracts with HCMLP and two funds
  managed by HCMLP- Highland CDO Opportunity Master Fund, L.P. ("CDO Fund") and
  Highland Special Opportunities Holding Company ("SOHC," and together with CDO Fund, the
  "Funds") related to a securitization transaction (the "Knox Agreement");

        WHEREAS, in 2008, the parties to the Knox Agreement restructured the Knox
  Agreement;

          WHEREAS, UBS terminated the Knox Agreement and, on February 24, 2009, UBS
  filed a complaint in the Supreme Court of the State of New York, County of New York (the
  "State Court") against HCMLP and the Funds seeking to recover damages related to the Knox
  Agreement, in an action captioned UBS Securities LLC, et al. v. Highland Capital Management,
  L.P., et al. , Index No. 650097/2009 (N.Y. Sup. Ct.) (the "2009 Action");

         WHEREAS, UBS's lone claim against HCMLP in the 2009 Action for indemnification
  was dismissed in early 20 l 0, and thereafter UBS amended its complaint in the 2009 Action to
  add five new defendants, Highland Financial Partners, L.P. ("HFP"), Highland Credit Strategies
  Master Funds, L.P. ("Credit-Strat"), Highland Crusader Offshore Partners, L.P. ("Crusader"),
  Multi-Strat, and Strand, and to add new claims for fraudulent inducement, fraudulent
  conveyance, tortious interference with contract, alter ego, and general partner liability;

         WHEREAS, UBS filed a new, separate action against HCMLP on June 28, 2010, for,
  inter alia, fraudulent conveyance and breach of the implied covenant of good faith and fair
  dealing, captioned UBS Securities LLC, et al. v. Highland Capital Management, L.P. , Index No.
  650752/2010 (N.Y. Sup. Ct.) (the "2010 Action'');

         WHEREAS, in November 2010, the State Court consolidated the 2009 Action and the
  20 IO Action (hereafter referred to as the "State Court Action"), and on May 11, 2011 , UBS filed
  a Second Amended Complaint in the 2009 Action;

          WHEREAS, in 2015, UBS entered into settlement agreements with Crusader and Credit-
  Strat, and thereafter UBS filed notices with the State Court in the State Court Action dismissing
  its claims against Crusader and Credit-Strat;




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                                                                         EXECUTION VERSION

           WHEREAS, the State Court bifurcated claims asserted in the State Court Action for
    purposes of trial, with the Phase I bench trial deciding UBS's breach of contract claims against
    the Funds and HCMLP's counterclaims against UBS;

          WHEREAS, on August 7, 2017, the Funds, along with Highland CDO Opportunity
   Fund, Ltd., Highland CDO Holding Company, Highland Financial Corp., and HFP, purportedly
   sold assets with a purported collective fair market value of $105,647,679 (the "Transferred
   Assets") and purported face value of over $300,000,000 to Sentinel Reinsurance, Ltd.
   ("Sentinel") pursuant to a purported asset purchase agreement (the "Purchase Agreement");

          WHEREAS, Sentinel treated the Transferred Assets as payment for a $25,000,000
    premium on a document entitled "Legal Liability Insurance Policy" (the "Insurance Policy");

          WHEREAS, the Insurance Policy purports to provide coverage to the Funds for up to
   $100,000,000 for any legal liability resulting from the State Court Action (the "Insurance
   Proceeds");

           WHEREAS, one of the Transferred Assets CDO Fund transferred to Sentinel was CDO
    Fund's limited partnership interests in Multi-Strat (the "CDOF Interests");

            WHEREAS, Sentinel had also received from HCMLP limited partnership interests in
    Multi-Strat for certain cash consideration (together with the CDOF Interests, the "MSCF
    Interests");

          WHEREAS, the existence of the Purchase Agreement and Insurance Policy were
   unknown to Strand's independent directors and the Debtor's bankruptcy advisors prior to late
   January 2021;

          WHEREAS, in early February 2021, the Debtor disclosed the existence of the Purchase
    Agreement and Insurance Policy to UBS;

           WHEREAS, prior to such disclosure, the Purchase Agreement and Insurance Policy
    were unknown to UBS;

           WHEREAS, on November 14, 2019, following the Phase I trial, the State Court issued
   its decision determining that the Funds breached the Knox Agreement on December 5, 2008 and
   dismissing HCMLP's counterclaims;

          WHEREAS, Sentinel purportedly redeemed the MSCF Interests in November 2019 and
   the redeemed MSCF Interests are currently valued at approximately $32,823,423.50 (the
   "Sentinel Redemption");

          WHEREAS, on February 10, 2020, the State Court entered a Phase I trial judgment
   against the Funds in the amount of $1,039,957,799.44 as of January 22, 2020 (the "Phase I
   Judgment");

          WHEREAS, Phase II of the trial of the State Court Action, includes, inter alia, UBS's
   claim for breach of implied covenant of good faith and fair dealing against HCMLP, UBS's



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   fraudulent transfer claims against HCMLP, HFP, and Multi-Strat, and UBS's general partner
   claim against Strand;

          WHEREAS, on October 16, 2019, HCMLP filed a voluntary petition for relief under
   chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the United States
   Bankruptcy Court for the District of Delaware (the "Bankruptcy Case"). The Bankruptcy Case
   was transferred to the United States Bankruptcy Court for the Northern District of Texas (the
   "Bankruptcy Court") on De-cember 4, 2019;

       WHEREAS, Phase II of the trial of the State Court Action was automatically stayed as to
   HCMLP by HCMLP's bankruptcy filing;

          WHEREAS, on May 11, 2020, UBS, Multi-Strat, Highland Credit Opportunities CDO,
   Ltd., and Highland Credit Opportunities CDO Asset Holdings, L.P. (collectively, the "May
   Settlement Parties"), entered into a Settlement Agreement (the "May Settlement") pursuant to
   which the May Settlement Parties agreed to the allocation of the proceeds o f certain sales of
   assets held by Multi-Strat, including escrowing a portion of such funds, and restrictions on
   Multi-Strat's actions;

           WHEREAS, on June 26, 2020, UBS timely filed two substantively identical claims in
   the Bankruptcy Case: (i) Claim No. 190 filed by UBS Securities LLC; and (ii) Claim No. 191
   filed by UBS AG London Branch (hereinafter collectively referred to as the "UBS Claim"). The
   UBS Claim asserts a general unsecured claim against HCMLP for $1 ,039,957,799.40;

           WHEREAS, on August 3, 2020, the Bankruptcy Court entered an Order J)irecting
   Mediation [Docket No. 912] pursuant to which HCMLP, UBS, and several other parties were
   directed to mediate their Bankruptcy Case disputes before two experienced third-party mediators,
   Retired Judge Allan Gropper and Sylvia Mayer (together, the "Mediators"). HCMLP and UBS
   formally met with the Mediators together and separately on numerous occasions, including on
   August 27, September 2, 3, and 4, and December 17, 2020, and had numerous other informal
   discussions outside of the presence of the Mediators, in an attempt to resolve the UBS Claim;

         WHEREAS, on August 7, 2020, HCMLP filed an objection to the UBS Claim [Docket
   No. 928]. Also on August 7, 2020, the Redeemer Committee of the Highland Crusader Fund,
   and Crusader, Highland Crusader Fund, L.P., Highland Crusader Fund, Ltd., and Highland
   Crusader Fund II, Ltd. (collectively, the " Redeemer Committee"), objected to the UBS Claim
   [Docket No. 933]. On September 25, 2020, UBS filed its response to these objections [Docket
   No. 1105];

           WHEREAS, on October 16, 2020, HCMLP and the Redeemer Committee each moved
   for partial summary judgment on the UBS Claim [Docket Nos. 1180 and 1183, respectively], and
   on November 6, 2020, UBS opposed these motions [Docket No. 1337];

           WHEREAS, by Order dated December 9, 2020, the Bankruptcy Court granted, as set
   forth therein, the motions for partial summary judgment filed by HCMLP and the Redeemer
   Committee and denied UBS's request for leave to file an amended proof of claim [Docket No.
   1526];




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          WHEREAS, on November 6, 2020, UBS filed UBS 's Motion for Temporary Allowance
   of Claims for Voting Purposes Pursuant to Federal Rule of Bankruptcy Procedure 3018 [Docket
   No. 1338] (the "3018 Motion"), and on November 16, 2020, HCMLP and the Redeemer
   Committee each opposed the 3018 Motion [Doclket Nos. 1404 and 1409, respectively];

         WHEREAS, by Order dated December 8, 2020, the Bankruptcy Court granted the 3018
   Motion and allowed the UBS Claim, on a temporary basis and for voting purposes only, in the
   amount of$94,761,076 [Docket No. 1518];

         WHEREAS, on January 22, 2021, the Debtor filed the Fifth Amended Plan of
   Reorganization for Highland Capital Management, L.P. (As Modified) [Docket No. 1808] (as
   amended, and as may be further amended, supplemented, or otherwise modified, the "Plan");

          WHEREAS, on March 29, 2021, the Debtor caused CDO Fund to make a claim on the
   Insurance Policy to collect the Insurance Proceeds pursuant to the Phase I Judgment;

           WHEREAS, on March 29, 2021, UBS filed an adversary proceeding seeking injunctive
   relief and a motion for a temporary restraining order and preliminary injunction to, among other
   things, enjoin the Debtor from allowing Multi-Strat to distribute the Sentinel Redemption to
   Sentinel or any transferee of Sentinel (the "Multi-Strat Proceeding"), which relief the Debtor, in
   its capacity as Multi-Strat's investment manager and general partner, does not oppose;

          WHEREAS, the Parties wish to enter into this Agreement to settle all claims and
   disputes between and among them, to the extent and on the terms and conditions set forth herein,
   and to exchange the mutual releases set forth herein, without any admission of fault, liability, or
   wrongdoing on the part of any Party; and

          WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
   pursuant to Federal Rule of Bankruptcy Procedure 9019 ("Rule 9019") and section 363 of the
   Bankruptcy Code;

          NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
   and promises made herein, and other good and valuable consideration, the receipt of which is
   hereby acknowledged, the Parties agree as follows:

                                                   AGREEMENT

          1.      Settlement of Claims. In full and complete satisfaction of the UBS Released
   Claims (as defined below):

                (a)    The UBS Claim will be allowed as (i) a single, general unsecured claim in
   the amount of $65,000,000 against HCMLP, which shall be treated as a Class 8 General
   Unsecured Claim under the Plan; 1 and (ii) a single, subordinated unsecured claim in the amount
   of $60,000,000 against HCMLP, which shall be treated as a Class 9 Subordinated General
   Unsecured Claim under the Plan.



   1 Capitalized   terms used but not defined herein shall have the meanings attributed to them in the Plan.




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                    (b)    Multi-Strat will pay UBS the sum of $18,500,000 (the "Multi-Strat
    Payment") as follows: (i) within two (2) business days after the Order Date, the May Settlement
    Parties will submit a Joint Release Instruction (as defined in the May Settlement) for the release
    of the amounts held in the Escrow Account (as defined in the May Settlement) to be paid to UBS
    in partial satisfaction of the Multi-Strat Payment on the date that is ten (10) business days
    following the Order Date; and (ii) Multi-Strat will pay UBS the remainder of the Multi-Strat
    Payment in immediately available funds on the date that is ten (10) business days following the
    Order Date, provided that, for the avoidance of doubt, the amounts held in the Escrow Account
    will not be paid to UBS until and unless the remainder of the Multi-Strat Payment is made.

                    (c)     Subject to applicable law, HCMLP will use reasonable efforts to (i) cause
    CDO Fund to pay the Insurance Proceeds in full to UBS as soon as practicable, but no later than
    within 5 business days of CDO Fund actually receiving the Insurance Proceeds from or on behalf
    of Sentinel; (ii) if Sentinel refuses to pay the Insurance Proceeds, take legal action reasonably
    designed to recover the Insurance Proceeds or the MSCF Interests or to return the Transferred
    Assets to the Funds to satisfy the Phase I Judgment and in addition shall provide reasonable
    assistance to UBS in connection with any legal action UBS takes to recover the Insurance
    Proceeds or to return the Transferred Assets to the Funds to satisfy the Phase I Judgment or
    obtain rights to the MSCF interests, including but not limited to the redemption payments in
    connection with the MSCF Interests; (iii) cooperate with UBS and participate (as applicable) in
    the investigation or prosecution of claims or requests for injunctive relief against the Funds,
    Multi-Strat, Sentinel, James Dondero, Isaac Leventon, Scott Ellington, Andrew Dean,
    Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving, and/or any other current or
    former employee or director of the Funds or Sentinel and/or any other former employee or
    former director of any of the HCMLP Parties that is believed to be involved with the Purchase
    Agreement, Insurance Policy, Transferred Assets, the transfer of the MSCF Interests, or any
    potentially fraudulent transfer of assets from the Funds to Sentinel, excluding the individuals
    listed on the schedule provided to UBS on March 25, 2021 (the " HCMLP Excluded
    Employees"); (iv) as soon as reasonably practicable, provide UBS with all business and trustee
    contacts at the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
    Funding Ltd, Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
    if any, that are actually known by the Debtor after reasonable inquiry; (v) as soon as reasonably
    practicable, provide UBS with a copy of the governing documents, prospectuses, and indenture
    agreements for the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan
    Funding Ltd, Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd,
    as applicable, that are in the Debtor's actual possession, custody, or control, (vi) as soon as
    reasonably practicable, provide, to the extent possible, any CUSIP numbers of the securities of
    the Funds, HFP, Greenbriar CLO Ltd., Greenbriar CLO Corp., Aberdeen Loan Funding Ltd,
    Eastland CLO Lt~ Grayson CLO Ltd, Valhalla CLO Ltd, and Governance Re Ltd., as
    applicable, including information regarding the location and amount of any cash related to those
    entities' holdings, in each case only to the extent actually known by the Debtor after reasonable
    inquiry; (vii) cooperate with UBS to assign or convey any such assets described in Section
    l(c)(vi) or any other assets owned or controlled by the Funds and/or HFP, including for
    avoidance of doubt any additional assets currently unknown to the Debtor that the Debtor
    discovers in the future after the Agreement Effective Date; (viii) respond as promptly as
    reasonably possible to requests by UBS for access to relevant documents and approve as
    promptly as reasonably possible requests for access to relevant documents from third parties as
    needed with respect to the Transferred Assets, the Purchase Agreement, the Insurance Policy, the


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   MSCF Interests and any other assets currently or formerly held by the Funds or HFP, including
   without limitation the requests listed in Appendix A (provided, however, that the provision of
   any such documents or access will be subject to the common interest privilege and will not
   constitute a waiver of any attorney-client or other privilege in favor of HCMLP) that are in the
   Debtor's actual possession, custody, or control; (ix) preserve all documents in HCMLP's
   possession, custody, or control regarding or relating to the Purchase Agreement, the Insurance
   Policy, the MSCF Interests, or any transfer of assets from the Funds to Sentinel, including but
   not limited to the documents requested in Appendix A, from 2016 to present, and issue a
   litigation hold to all individuals deemed reasonably necessary regarding the same; and (x)
   otherwise use reasonable efforts to assist UBS to collect its Phase I Judgment against the Funds
   and HFP and assets the Funds and/or HFP may own, or have a claim to under applicable law
   ahead of all other creditors of the Funds and HFP; provided, however, that, from and after the
   date hereof, HCMLP shall not be required to incur any out-of-pocket fees or expenses, including,
   but not limited to, those fees and expenses for outside consultants and professionals (the
   "Reimbursable Expenses"), in connection with any provision of this Section 1(c) in excess of
   $3,000,000 (the "Expense Cap"), and provided further that, for every dollar UBS recovers from
   the Funds (other than the assets related to Greenbriar CLO Ltd. or Greenbriar CLO Corp.),
   Sentinel, Multi-Strat (other than the amounts set forth in Section l (b) hereof), or any other
   person or entity described in Section l (c)(iii) in connection with any claims UBS has that arise
   out of or relate to the Phase I Judgment, the Purchase Agreement, the Insurance Policy, the
   Transferred Assets, the MSCF Interests, or the Insurance Proceeds (the "UBS Recovery"), UBS
   will reimburse HCMLP ten percent of the UBS Recovery for the Reimbursable Expenses
   incurred by HCMLP, subject to: (I) the occurrence of the Agreement Effective Date and (2)
   UBS's receipt and review of invoices and time records (which may be redacted as reasonably
   necessary) for outside consultants and professionals in connection with such efforts described in
   this Section l(c), up to but not exceeding the Expense Cap after any disputes regarding the
   Reimbursable Expenses have been resolved pursuant to procedures to be agreed upon, or absent
   an agreement, in a manner directed by the Bankruptcy Court; and provided further that in any
   proceeding over the reasonableness of the Reimbursable Expenses, the losing party shall be
   obligated to pay the reasonable fees and expenses of the prevailing party; and provided further
   that any litigation in which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on
   behalf of or for UBS's benefit pursuant to this Section l(c) shall be conducted in consultation
   with UBS, including but not limited to the s-election of necessary outside consultants and
   professionals to assist in such litigation; and provided further that UBS shall have the right to
   approve HCMLP's selection of outside consultants and professionals to assist in any litigation in
   which HCMLP is a co-plaintiff with UBS or a plaintiff pursuing claims on behalf of or for
   UBS's benefit pursuant to this Section l(c).

                 (d)     Redeemer Appeal.

                         (i)   On the Agreement Effective Date, provided that neither the
   Redeemer Committee nor any entities acting on its behalf or with any assistance from or
   coordination with the Redeemer Committee have objected to this Agreement or the 9019 Motion
   (as defined below), UBS shall withdraw with prejudice its appeal of the Order Approving
   Debtor's Settlement with (A) the Redeemer Committee of the Highland Crusader Fund (Claim
   No. 72) and (BJ the Highland Crusader Funds (Claim No. 81), and Authorizing Actions
   Consistent Therewith [Docket No. 1273] (the "Redeemer Appeal"); and



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                           (ii)    The Parties have stipulated to extend the deadline for the filing of
   any briefs in the Redeemer Appeal to June 30, 2021 and will agree to such further extensions as
   necessary to facilitate this Settlement Agreement.

                  (e)     As of the Agreement Effective Date, the restrictions and obligations set
   forth in the May Settlement, other than those in Section 7 thereof, shall be extinguished in their
   entirety and be of no further force or effect.

                  (f)    On the Agreement Effective Date, the Debtor shall instruct the claims
   agent in the Bankruptcy Case to adjust the claims register in accordance with this Agreement.

                  (g)     On the Agreement Effective Date, any claim the Debtor may have against
   Sentinel or any other party, and any recovery related thereto, with respect to the MSCF Interests
   shall be automatically transferred to UBS, without any further action required by the Debtor. For
   the avoidance of doubt, the Debtor shall retain any and all other claims it may have against
   Sentinel or any other party, and the recovery related thereto, unrelated to the MSCF Interests.

          2.      Definitions.

                  (a)   "Agreement Effective Date" shall mean the date the full amount of the
   Multi-Strat Payment defined in Section l (b) above, including without limitation the amounts
   held in the Escrow Account (as defined in the May Settlement), is actually paid to UBS.

              (b)    "HCMLP Parties" shall mean (a) HCMLP, in its individual capacity; (b)
   HCMLP, as manager of Multi-Strat; and (c) Strand.

                 (c)    "Order Date" shall mean the date of an order entered by the Bankruptcy
   Court approving this Agreement pursuant to a motion filed under Rule 9019 and section 363 of
   the Bankruptcy Code.

                  (d)     "UBS Parties" shall mean UBS Securities LLC and UBS AG London
   Branch.

          3.      Releases.

                   (a)     UBS Releases. Upon the occurrence of the Agreement Effective Date,
   and to the maximum extent pennitted by law, each of the UBS Parties hereby forever, finally,
   fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
   exonerates, forever discharges, and covenants never to sue (A) the HCMLP Parties and each of
   their current and former advisors, attorneys, trustees, directors, officers, managers, members,
   partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
   affiliates, successors, designees, and assigns (each in their capacities as such), except as
   expressly set forth below, and (B) the MSCF Parties and each of their current and fonner
   advisors, attorneys, trustees, directors, officers, managers, members, partners, employees,
   beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates, successors,
   designees, and assigns (each in their capacities as such), except as expressly set forth below, for
   and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
   liens, losses, costs and expenses (including, without limitation, attorneys' fees and related costs),
   damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known


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    or unknown, suspected or unsuspected, matured or unmarured, liquidated or unliquidated,
    contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
    any claims, defenses, and affirmative defenses, whether known or unknown, including, without
    limitation, those that have been or could have been alleged or asserted in the State Court Action
    or the Bankruptcy Case (collectively, the "UBS Released Claims"), provided, however, that
    notwithstanding anything to the contrary herein, such releases shall not apply to (1) the
    obligations of the HCMLP Parties and MSCF Parties under this Agreement, including without
    limitation the allowance of or distributions on account of the UBS Claim or the settlement terms
    described in Sections l(a)-(g) above; (2) the Funds or HFP, including for any liability with
    respect to the prosecution, enforcement, collection, or defense of the Phase I Judgment, Purchase
    Agreement, and/or Insurance Policy, or such prosecution, enforcement, collection, or defense of
    the Phase I Judgment, Purchase Agreement, and/or Insurance Policy by UBS; (3) James Dondero
    or Mark Okada, or any entities, including without limitation Hunter Mountain Investment Trust,
    Dugaboy Investment Trust, and NexBank, SSB, owned or controlled by either of them, other
    than the HCMLP Parties and MSCF Parties (but for the avoidance of doubt, such releases of the
    HCMLP Parties and MSCF Parties shall be solely with respect to such entities and shall not
    extend in any way to James Dondero or Mark Okada in their individual capacity or in any other
    capacity, including but not limited to as an investor, officer, trustee, or director in the HCMLP
    Parties or MSCF Parties); (4) Sentinel or its subsidiaries, parents, affiliates, successors,
    designees, assigns, employees, or directors, including James Dondero, Isaac Leventon, Scott
    Ellington, Andrew Dean, Christopher Walter, Jean Paul Sevilla, Matthew DiOrio, Katie Irving,
    and/or any other current or former employee or director of the Funds or Sentinel and/or any other
    former employee or former director of any of the HCMLP Parties that is believed to be involved
    with the Purchase Agreement, Insurance Policy, MSCF Interests, or Transferred Assets,
    including for any liability with respect to the prosecution, enforcement, collection, or defense of
    the Phase I Judgment, Purchase Agreement, the MSCF Interests, any potentially fraudulent
    transfer of assets from the Funds to Sentinel and/or Insurance Policy, excluding the HCMLP
    Excluded Employees; (5) the economic rights or interests of UBS in its capacity as an investor,
    directly or indirectly (including in its capacity as an investment manager and/or investment
    advisor), in any HCMLP-affiliated entity, including without limitation in the Redeemer
    Commjttee and Credit Strat, and/or in such entities' past, present or future subsidiaries and
    feeders funds (the "UBS Unrelated Investments"); and (6) any actions taken by UBS against any
    person or entity, including any HCMLP Party or MSCF Party, to enjoin a distribution on the
    Sentinel Redemption or the transfer of any assets currently held by or within the control of CDO
    Fund to Sentinel or a subsequent transferee or to seek to compel any action that only such person
    or entity bas standing to pursue or authorize in order to permit UBS to recover the Insurance
    Proceeds, Transferred Assets, the Phase I Judgment or any recovery against HFP; provided,
    however, that, from and after the date hereof, any out-of-pocket fees or expenses incurred by
    HCMLP in connection with this Section 3(a)(6) will be considered Reimbursable Expenses and
    shall be subject to, and applied against, the Expense Cap as if they were incurred by HCMLP
    pursuant to Section l (c) subject to the occurrence of the Agreement Effective Date and after any
    disputes regarding such Reimbursable Expenses have been resolved in the manner described in
    Section l(c).

                   (b)    HCMLP Release. Upon the occurrence of the Agreement Effective Date,
    and to the maximum extent permitted by law, each of the HCMLP Parties hereby forever, finally,
    fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
    exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of


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   their current and former advisors, attorneys, trustees, directors, officers, managers, members,
   partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
   affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
   and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
   costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
   injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
   unknown, suspected or unsuspected, matured or unrnatured, liquidated or unliquidated,
   contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
   any claims, defenses, and affirmative defenses, whether known or unknown, including, without
   limitation, those that have been or could have been alleged or asserted in the State Court Action
   or the Bankruptcy Case (collectively, the "HCMLP Released Claims"), provided, however, that
   notwithstanding anything to the contrary herein, such releases shall not apply to the obligations
   of the UBS Parties under this Agreement or Section 7 of the May Settlement; and (b) the
   obligations of the UBS Parties in connection with the UBS Unrelated Investments.

                   (c)     Multi-Strat Release. Upon the occurrence of the Agreement Effective
   Date, and to the maximum extent permitted by law, each of the MSCF Parties hereby forever,
   finally, fully, unconditionally, irrevocably, and completely releases, relieves, acquits, remises,
   exonerates, forever discharges, and covenants never to sue any of the UBS Parties and each of
   their current and former advisors, attorneys, trustees, directors, officers, managers, members,
   partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents,
   affiliates, successors, designees, and assigns (each in their capacities as such), for and from any
   and all claims, debts, liabilities, demands, obligations, promises, acts, agreements, liens, losses,
   costs and expenses (including, without limitation, attorneys' fees and related costs), damages,
   injuries, suits, actions, and causes of action of whatever kind or nature, whether known or
   unknown, suspected or unsuspected, matured or unrnatured, liquidated or unliquidated,
   contingent or fixed, at law or in equity, or statutory or otherwise, including, without limitation,
   any claims, defenses, and affirmative defenses, whether known or unknown, including, without
   limitation, those that have been or could have been alleged or asserted in the State Court Action
   or the Bankruptcy Case (collectively, the "Multi-Strat Released Claims"), provided, however,
   that notwithstanding anything to the contrary herein, such releases shall not apply to the
   obligations of the UBS Parties under this Agreement or Section 7 of the May Settlement.

          4.    No Third Party Beneficiaries. Except for the parties released by this
    Agreement, no other person or entity shall be deemed a third-party beneficiary of this
    Agreement.

           5.      UBS Covenant Not to Sue. Subject to the occurrence of the Agreement
   Effective date, if UBS ever controls any HCMLP-affiliated defendant in the State Court Action
   by virtue of the prosecution, enforcement, or coUection of the Phase I Judgment (collectively, the
   "Controlled State Court Defendants"), UBS covenants on behalf of itself and the Controlled
   State Court Defendants, if any, that neither UBS nor the Controlled State Court Defendants will
   assert or pursue any claims that any Controlled State Court Defendant has or may have against
   any of the HCMLP Parties; provided, however, that nothing shall prohibit UBS or a Controlled
   State Court Defendant from taking any of the actions set forth in Section 3(a)(l)-(6); provided
   further, however, if and to the extent UBS receives any distribution from any Controlled State
   Court Defendant that is derived from a claim by a Controlled State Court Defendant against the
   Debtor, subject to the exceptions set forth in Section 3(a), which distribution is directly


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   attributable to any property the Controlled State Court Defendant receives from the Debtor and
   separate and distinct from property owned or controlled by CDO Fund, SOHC, or Multi-Strat,
   then such recovery shall be credited against all amounts due from the Debtor's estate on account
   of the UBS Claim allowed pursuant to Section l(a) of this Agreement, or if such claim has been
   paid in full, shall be promptly turned over to the Debtor or its successors or assigns.

          6.      Agreement Subject to Bankruptcy Court Approval.

                   (a)    The force and effect of this Agreement and the Parties' obligations
   hereunder are conditioned in all respects on the approval of this Agreement and the releases
   herein by the Bankruptcy Court. The Parties agree to use reasonable efforts to have this
   Agreement expeditiously approved by the Bankruptcy Court by cooperating in the preparation
   and prosecution of a mutually agreeable motion and proposed order (the "9019 Motion") to be
   filed by the Debtor no later than five business days after execution of this Agreement by all
   Parties unless an extension is agreed to by both parties.

          7.      Representations and Warranties.

                   (a)   Each UBS Party represents and warrants that (i) it has full authority to
   enter into this Agreement and to release the UBS Released Claims and has not sold, transferred,
   or assigned any UBS Released Claim to any other person or entity, and (ii) no person or entity
   other than such UBS Party has been, is, or will be authorized to bring, pursue, or enforce any
   UBS Released Claim on behalf of, for the benefit of, or in the name of (whether directly or
   derivatively) such UBS Party.

                   (b)    Each HCMLP Party represents and warrants that (i) it bas full authority to
   enter into this Agreement and to release the HCMLP Released Claims and bas not sold,
   transferred, or assigned any HCMLP Released Claim to any other person or entity, and (ii) no
   person or entity other than such HCMLP Party has been, is, or will be authorized to bring,
   pursue, or enforce any HCMLP Released Claim on behalf of, for the benefit of, or in the name of
   (whether directly or derivatively) such HCMLP Party.

                   (c)    Each MSCF Party represents and warrants that (i) it bas full authority to
   enter into this Agreement and to release the Multi-Strat Released Claims and bas not sold,
   transferred, or assigned any Multi-Strat Released Claim to any other person or entity, and (ii) no
   person or entity other than such MSCF Party has been, is, or will be authorized to bring, pursue,
   or enforce any Multi-Strat Released Claim on behalf of, for the benefit of, or in the name of
   (whether directly or derivatively) such MSCF Party.




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                                                                        EXECUTION VERSION

            8.      No Admission of Liability. The Parties acknowledge that there is a bona fide
    dispute with respect to the UBS Claim. Nothing in this Agreement shall be construed, expressly
    or by implication, as an admission of liability, fault, or wrongdoing by HCMLP, the MSCF
    Parties, Strand, UBS, or any other person, and the execution of this Agreement does not
    constitute an admission of liability, fault, or wrongdoing on the part of HCMLP, the MSCF
    Parties, Strand, UBS, or any other person.

           9.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
    the benefit of each of the Parties and their representatives, successors, and assigns.

            10.     Notice. Each notice and other communication hereunder shall be in writing and
    will, unless otherwise subsequently directed in writing, be delivered by email and overnight
    delivery, as set forth below, and will be deemed to have been given on the date following such
    mailing.

           HCMLP Parties or the MSCF Parties

           Highland Capital Management, L.P.
           300 Crescent Court, Suite 700
           Dallas, Texas 75201
           Attention: General Counsel
           Telephone No.: 972-628-4100
           E-mail: notices@HighlandCapital.com

           with a copy (which shall not constitute notice) to:

           Pachulski Stang Ziehl & Jones LLP
           Attention: Jeffrey Pomerantz, Esq.
           10100 Santa Monica Blvd., 13th Floor
           Los Angeles, CA 90067
           Telephone No.: 310-277-6910
           E-mail: jpomerantz@pszjlaw.com

           UBS

           UBS Securities LLC
           UBS AG London Branch
           Attention: Elizabeth Kozlowski, Executive Director and Counsel
           1285 Avenue of the Americas
           New York, NY 10019
           Telephone No.: 212-713-9007
           E-mail: elizabeth.kozlowski@ubs.com

           UBS Securities LLC
           UBS AG London Branch
           Attention: John Lantz, Executive Director
           1285 Avenue of the Americas
           New York, NY 10019



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           Telephone No.: 212-713-1371
           E-mail: john.lantz@ubs.com

           with a copy (which shall not constitute notice) to:

           Latham & Watkins LLP
           Attention: Andrew Clubok
                      Sarah Tornkowiak
           555 Eleventh Street, NW, Suite 1000
           Washington, D.C. 20004-1304
           Telephone No.: 202-637-3323
           Email: andrew.clubok@lw.com
                  sarah.tornkowiak@lw.com

           11.      Advice of Counsel. Each of the Parties represents that such Party has: (a) been
    adequately represented by independent legal counsel of its own choice, throughout all of the
    negotiations that preceded the execution of this Agreement; (b) executed this Agreement upon
    the advice of such counsel; (c) read this Agreement, and understands and assents to all the terms
    and conditions contained herein without any reservations; and (d) had the opportunity to have
    this Agreement and all the terms and conditions contained herein explained by independent
    counsel, who has answered any and all questions asked of such counsel, or which could have
    been asked of such counsel, including, but not limited to, with regard to the meaning and effect
    of any of the provisions of this Agreement.

            12.     Entire Agreement. This Agreement contains the entire agreement and
    understanding concerning the subject matter of this Agreement, and supersedes and replaces all
    prior negotiations and agreements, written or oral and executed or unexecuted, concerning such
    subject matter. Each of the Parties acknowledges that no other Party, nor any agent of or
    attorney for any such Party, has made any promise, representation, or warranty, express or
    implied, written or oral, not otherwise contained in this Agreement to induce any Party to
    execute this Agreement. The Parties further acknowledge that they are not executing this
    Agreement in reliance on any promise, representation, or warranty not contained in this
    Agreement, and that any such reliance would be unreasonable. This Agreement will not be
    waived or modified except by an agreement in writing signed by each Party or duly authorized
    representative of each Party.

            13.    No Party Deemed Drafter. The Parties acknowledge that the tenns of this
    Agreement are contractual and are the result of ann's-length negotiations between the Parties
    and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
    of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
    construed against any Party.

          14.    Future Cooperation. The Parties agree to cooperate and execute such further
    documentation as is reasonably necessary to effectuate the intent of this Agreement.

            15.    Counterparts. This Agreement may be executed in counterparts with the same
    force and effect as if executed in one complete document. Each Party's signature hereto will
    signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.


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   Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
   originals of this Agreement for any purpose.

           16.     Governing Law; Venue; Attorneys' Fees and Costs. The Parties agree that this
   Agreement will be governed by and will be construed according to the laws of the State of New
   York without regard to conflict-of-law principles. Each of the Parties hereby submits to the
   exclusive jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and
   thereafter to the exclusive jurisdiction of the state and federal courts located in the Borough of
   Manhattan, New York, with respect to any disputes arising from or out of this Agreement. In
   any action to enforce this Agreement, the prevailing party shall be entitled to recover its
   reasonable and necessary attorneys' fees and costs (including experts).

                               [Remainder ofPage Intentionally Blank}




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  IT IS HEREBY AGREED.

                                   HIGHLAND CAPITAL MANAGEMENT, L.P.


                                   By:
                                   Name:   --+---=--<'--'-'-"'-"--"--'--'-=...,_,,_"'--'--,~ - - -
                                   Its:


                                   HIGHLAND MULTI STRATEGY CREDIT
                                   FUND,     L.P.   (f/k/a  Highland Credit
                                   Opportunities CDO, L.P.)


                                   By:
                                   Name:_---=-----=-==-="""'-....!....!....-""='--4-1--"-'-~--
                                   lts:


                                   HIGHLAND CREDIT OPPORTUNITIES CDO,
                                   Ltd.




                                   HIGHLAND CREDIT OPPORTUNITIES CDO
                                   ASSET HOLDINGS, L.P.


                                   By:
                                   Name:
                                   Its:
                                                   ~~~1
                                   STRAND ADVISORS, INC.


                                   By:
                                   Name:   -   -   ~   ....,.....:'--n'....::.::;__-=~_..;.;..-   ----,.-
                                   lts:




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                                   UBS SECURITIES LLC

                                   By:          ~~~
                                   Name: clmlatz
                                   Its:  Authorized Signatory

                                   By:          G. /'-It /"$xi J __
                                   Name: Elizab'eth Kozlowski "
                                   Its:  Autho1ized Signatory

                                   UBS AG LONDON BRANCH


                                   By:          ~~~l
                                   Name: William Chandler
                                   Its:  Authorized Signatory
                                                  .,                   ,f   I

                                   By:          (t.· ~·LI,~
                                   Name: '. liza eth Kozlowski
                                                                  ,"•~ 1o4-:L
                                   Its:         Authorized Signatory




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                                      APPENDIX A
  •    The search parameters (custodians, date ranges, search terms) used to locate the
       documents produced to UBS on February 27, 2021 (and any additional parameters used
       for the previous requests from UBS);
  •    Identity of counsel to, and trustees of, CDO Fund or SOHC;
  •    Current or last effective investment manager agreements for CDO Fund and SOHC,
       including any management fee schedule, and any documentation regarding the
       termination of those agreements;
  •    The tax returns for the CDO Fund and SOHC from 2017-present;
  •    Communications between any employees of Sentinel (or its afftliates) and any
       employees of the HCMLP Parties, CDO Fund, SOHC, or any of Dondero, Leventon, or
       Ellington from 2017-present;
  •    Documents or communications regarding or relating to the Purchase Agreement,
       Insurance Policy, or June 30, 2018 Memorandum entitled ''Tax Consequences of
       Sentinel Acquisition of HFP/CDO Opportunity Assets" (the "Tax Memo"), including
       without limitation (i) amendments to these documents, (ii) transfer of assets pursuant to
       these documents, (iii) board minutes or resolutions regarding or relating to these
       documents, (iv) claims made on the Insurance Policy; (v) communications with the IRS
       regarding the asset transfer pursuant to these documents; and (vi) any similar asset
       purchase agreements, capital transfer agreements, or similar agreements;
  •    Documents or communications regarding or relating to the value of any assets
       transferred pursuant to the Insurance Policy or Purchase Agreement, including without
       limitation those assets listed in Schedule A to the Purchase Agreement, from 2017 to
       present, including documentation supporting the $105,647,679 value of those assets as
       listed in the Tax Memo;
  •    Documents showing the organizational structure of Sentinel and its affiliated entities,
       including information on Dondero's relationship to Sentinel;
  •    Any factual information provided by current or former employees of the HCMLP
       Parties, CDO Fund, SOHC, or Sentinel regarding or relating to the Purchase
       Agreement, Insurance Policy, Tax Memo, and/or transfer of assets pursuant to those
       documents;
  •    Debtor's settlement agreements with Ellington and Leventon;
  •    Copies of all prior and future Monthly Reports and Valuation Reports (as defined in the
       Indenture, dated as of December 20, 2007, among Greenbriar CLO Ltd., Greenbriar
       CLO Corp., and State Street Bank and Trust Company); and
  •    Identity of any creditors of CDO Fund, SOHC, or HFP and amount of debts owed to
       those creditors by CDO Fund, SOHC, or HFP, including without limitation any debts
       owed to the Debtor.




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                                  Hellman & Friedman Seeded Farallon Capital Management
OUR FOUNDER


     gET\JIIN TO ABOUT c/ABOUT/)




Warren Hellman: One of the good guys

Warren Hellman was a devoted family man, highly successful businessman, active philanthropist, dedicated musician, arts pat ron,
endurance ath lete and all-around good guy. Born In New York City i n 1934, he grew up In the Bay Area, graduating from the University of
California at Berke ley. After serving in the U.S. Army and attending Harvard Business School, Warren began his finance career at Lehman
Brothers, becoming t he youngest partner in the firm's history at age 26 and subsequently serving as President . After a distinguished
career on Wa ll Street, Warren moved back west and co-founded Hellman & Fr1edman, build ing it into one of the ·industry's leading private
equity fi rms.



Warren deeply believed in the power of people to accomplish incredible things and used his success to improve and enrich the lives of
countless people. Throughout his career, Warren helped found or seed rnany successful businesses including Matri1< Partners, Jordan
Management Company, Farallon Capital Management and Hall Capital Partners.



Within the community, Warren and his family were generous supporters of dozens of organizations and causes in the arts, public
education, ciVic life, and public health, including creating and running the San Francisco Free Clinic. Later in life, Warren became an
accomplished 5-string banjo player and found great joy in sharing the love of music with others. In true form, he made something larger of
this avocation to benefit others by founding the Hardly Strictly Bluegrass Festiva l, an annual three-day, free music festival that draws
hund reds of thousands of people toget her from around t he Bay Area.



An accomplished endurance athlete, Warren regularly completed 100-mile runs, horseback rides and combinations of the two. He also
was an avid skier and national caliber master ski racer and served as president of the U.S. Ski Team in the late 1970s, and is credited with
helpi ng revitalize the Sugar Bowl ski resort in the Californ ia Sierras.



In short, War ren Hellman embodied the ideal of IIVing life to the fu llest. He had an active mind and body, and a huge heart. We are lu cky
to call him our founder. Read more about Warren. (https://hf.com/wp-content/uploads/2015/09/Warren-Hellman-News-Release.pdf)




5:FChfonicle/5FGaten.lz Kafalla                          RtlbertHolmgren                                    no caption


htlps:1/hf.corn/Warren--hellman/                                                                                                                    112




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                         Hellman & Friedman Owned a Portion of Grosvenor until 2020

                                                   Grosvenor Capital Management
               GRO         ENOR




                                            In 2007, H&F invested in Grosvenor, one of the world's largest ancl most diversifiecl independent
                                            alternative asset management firms. The Company offers comprehensive public and private markets
                                            solutions and a broad suite of investment and advisory choices that span hedge fund s. private equity,
                                            and various credit and specialty strategies. Grosvenor specia lizes in deve loping customized
                                            investment programs tailored to each client's specific investment goals.



                                            SECTOR

                                            Fina ncial Services



                                            STATUS

                                            Past



                                            www.gcmlp.com (http://www.gcmlp.com)




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                                   CORNER OFFICE



                0
              Julie Segal
                                   GCM Grosvenor to Go Public
                                   The $57 billion alternatives manager w!ll become a public company after merging with a SPAC backed by
                                   Cantor Fitzgerald.

                                   August 03, 2020




                                                                                                                     Chicago, IL (Tim Boyle/Bloomberg)




                                   In a sign of the times, GCM Grosvenor will become a public company through a SPAC.


                                   The Chicago-based alternative investments firm is planning to go public by merging with a
                                   special purpose acquisition company in a deal valued at $2 billion. The SO-year-old firm has
                                   $57 billion in assets in private equity, infrastructure, real estate, credit, and absolute return
                                   investments.


                                   "We have long valued having external shareholders and we wanted to preserve the
                                   accountability and focus that comes with that," Michael Sacks, GCM Grosvenor's chairman
                                   and CEO, said in a statement.


                                   GCM Grosvenor will com bine with CF Finance Special Acquisition Corp, a SPAC backed by
                                   Cantor Fitzgerald, according to an announcement from both companies on Monday. After
                                   the company goes public, Sacks will continue to lead GCM Grosvenor, which is owned by
                                   management and Hellman & Friedman, a private equity firm. Hellman & Friedman, which
                                   has owned a minority stake of the Chicago asset manager since 2007, will sell its equity as
https:/lwww.lnst:1tut1ona11nvestor.com/artlcle/b1ms8f4rt98f1g/GCM-Grosvenor-to-Go-Publie                                                                        113




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                                 Farallon was a Significant Borrower for Lehman


Case Study - Large Loan Origination
Debt origination for an affiliate of Simon Property Group Inc. and FaraHon Capital Management
                                                                                  'I ransaction 0Hn ie\\
  Date                               June 2007
         -------------- ♦                             In June 2007, Lehman Brothers co-originated a loan in the aggregate amount of $32 1
  Asset Class                            Retail       million (Lehman portion: $121 million) with JP Morgan to a special purpose affiliate of
  Asset Size                  1,808,506 Sq. Ft.       a joint venture between Simon Property Grou Inc (" Simon") and Farallon Capital
                                                      Management "farallon " secured by the shopping center known as Gurnee Mills Mall
  Sponsor         Simon Property Group Inc./          (the " Property") located in Gurnee, IL .
                 Farallon Capital Management
                                                  ♦   The Property consists of a one-story, 200 store discount mega-mall comprised of
  Transaction                       Refinance
  Type                                                1,808,506 square feet anchored by Burlington Coat Factory, Marshalls, Bed Bath &
                                                      Beyond and Kohls among other national retailers. Built in 199 1, the Property underwent
  Total Debt    Lehman Brothers: $12 1 million        a $5 million interior renovation in addition to a $71 mi llion redevelopment between 2004
  Amount              JP Morgan: $200 million         and 2005. As of March 2007, the Property had a in-line occupancy of 99.S%.


                                                                                  Lehman Brothers Role
                                                  ♦   Simon and Farallon comprised the sponsorship which eventually merged with The Mills
                                                      Corporation in early 2007 for $25.25 per common share in cash. The total value of the
                                                      transaction was approximately $1.64 billion for all of the outstanding common stock and
                                                      a_Qproximately $7.9 billion includin g assumed debt and preferred e<J!lill'.
                                                  ♦   Lehman and JP Morgan subsequently co-originated $321 mi llion loan at 79.2% LTV
                                                      based on an appraisal completed in March by Cushman & Wakefield. The Loan was
                                                      used to refinance the indebtedness secured by the Property.

                                                                                  Sponsorship O, en ie\\
                                                  ♦   The Mills Corporation, based in Chevy Chase MD is a developer owner and manager of
                                                      a diversified portfolio of retail destinations including regional shopping malls and
                                                      entertainment centers. They currently own 38 properties in the United States totaling 47
                                                      million square feel.



 LEHMAN B ROTHERS                                                      32




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                           Mr. Seery Represented Stonehill While at Sidley


James P. Seery. Jr.
John G. Hutchinson
John J. Lavelle
Martin B. Jackson
Sidley Austin LLP
787 Seventh A venue
  ew York, ew York 10019
(212) 39-5300 (tel)
 212 839-5599 (fax)

Attorneys for the Steering Group

UNITED STATES BANKRUPTCY CO RT
SOUTHERN DLSTRICT OF EW YORK
--------------------------------------------------------------- X

In re:                                                               Chapter 11

BLO KB STER INC., et al.,                                            Case   o. 10-14997 BRL

                                   Debtors.                          (Jointly Administered)

------------------X

  THE BACKSTOP LKNDERS OBJECTION TO THE MOTION OF LYME REGI TO
 ABANDON CERTAI CAUSES OF ACTIO OR, IN THE ALTERNATIVE, TO GRANT
  ST DING TO LYME REGIS TO PURSUE CLAIMS ON BEHALF OF THE ESTATE

         I.      The Steering Group of Senior Secured               oteholders who are Backstop Lenders --

lcahn Capital LP, Monarch Alternative Capital LP, Owl Creek Asset Management, L.P.,

Stonehill Ca ital Management LLC. ru1d Yarde Partners, lnc. (collectively, the "Backstop

Lenders') -- hereby file this objection (tbe 'Objectjon") to the Motion of Lyme Regis Partners.

LLC ("Lyme Regis') to Abandon Certain Causes of Action or, in the Alternative, to Grant

Standing to Lyme Regis to Pursue Claims on Behalf of the Estate (the' Motion") [Docket No.

593 ].




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Stonehill Founder (Motulsky) and Grosvenor’s G.C. (Nesler) Were Law School Classmates




                 Over 25 years earl ier, here is a group at a
                      party. From the left Bob Zinn, Dave
                   Lowentha l, Rory little, Joe Nesler Jon
                  Polansky (in front of Joe) John Motulsky
                      and Mark Windfeld-Hansen ('behind
                 bottle!) Motulsky c1irculated this photo at
                          the reun ion. Thanks John1




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                 Joseph H. Nesler (He/Him)
                                                                                          ( More ) ( 6 Message )
                 General Counsel




                       Joseph H. Nesler (He/Him).                              Yale Law School

                       3rd
                       General Counsel
                       Winnetka, Illinois, United States -
                       Contact info

                       500+ connections

                       ( 6 Message ) ( More )


                          Open to work
                          Chief Compliance Officer and General Counsel roles
                          See all details




                       About
                       I have over 38 years of experience representing participants in the investment
                       management industry with respect to a wide range of legal and regulatory matters,
                       including SEC, DOL, FINRA, and NFA regu lations and examinations.          ... see more




                       Activity
                       522 followers

                       Posts Joseph H. created, shared, or commented on in the last 90 days are displayed
                       here.
https://www.linkedin.com/in/josephnesl er/




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        Joseph H. Nesler (He/ Him)
        General Counsel
                                                                                ( M ore ) (   6 Message )
             -~ ....... -. ·-· ·--
                              General Counsel
                              Dalpha Capital Management , LLC
                              Aug 2020 - Jul 2021 • 1 yr




            II                Of Counsel
                              Win ston & Strawn LLP
                              Sep 2018 - Jul 2020 • 1 yr 11 mos
                              Greater Chicago Area



                              Principal
                              The Law Offices of Joseph H. Nesler, LLC
                              Feb 2016 - Aug 2018 • 2 yrs 7 mos



                              Grosvenor Capital Management, LP.
                               11 yrs 9 mos


                              Independent Consultant to Grosvenor Capital Management,
                              L.P.
                              May 2015 - Dec 2015 • 8 mos
                              Chicago, Illinois


                              General Counsel
                              Apr 2004 - Apr 2015 • 11 yrs. 1 mo
                              Chicago, Illinois

                              Managing Director, General Counsel and Chief Com liance
                              Officer (April 2004 - Apri l 20 15)




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            Investor Communication to Highland Crusader Funds Stakeholders
                                                                                   A lvarez & Marsal
                                                                             Management, LLC 2 0 29 Ce1
                                                                                      Park Ea st S ui te 206(
                                                                                            Ange l es , CA 9




     July 6, 2021


     R e: Update & Notice of Distribution


     Dear Highland Crusader Funds Stakeholder,

             As you know, in October 2020, the Bankruptcy Court approved a settlement of the
     Redeemer Committee' s and the Crusader Funds' claims against Highland Capital Management
     LP. (" HCM' ), as a result of which the Redeemer Committee was allowed a general unsecured
     claim of $137,696,610 against HCM and the Crusader Funds were allowed a general unsecured
     claim of $50,000 against HCM (collectively, the "Claims"). In addition, as part of the settlement,
     various interests in the Crusader Funds held by HCM and certain of its affi liates are to be
     extinguished (the' Extinguished Interests"). and the Redeemer ommittee and the Crusader Funds
     received a general release from HCM and a waiver by HCM of any claim to distributions or fees
     that it might othe1wise receive from the Crusader Funds (the ''Released Claims' and, collectively
     witl1 the Extinguished Interests, the ' Retained Rights" ).

            A timely appeal oftbe settlement was taken by UBS (the 'UBS Appea l) in the United States
     District Court for the Northern District of Texas, Dallas Division. Howe er, the Bankruptcy Court
     subsequently approved a settlement betv,reen HCM and UBS, resulting in dismissal of the UBS
     Appeal with prejudice on June 14, 2021 .

            On April 30, 2021 , the Cmsader Funds and the Redeemer Committee consummated the sale
     of the Claims against HCM and the majority of the remaining investments held by the Crusader
     Funds to Jessup Holdings LLC "Jessup") for 78 million in cash. which was aid in full to the
     Cmsader Funds at closin . The sale specifically excluded the Crusader Funds investment in
     Cornerstone Healthcare Group Holding Inc. and excluded certain specified provisions of the
     settlement agreement with HCM (the "Settlement Agreement"), including, but not limited to, the
     Retained Rights. The sale of the Claims and iJ1vestments was made with no holdbacks or escrows.

            The sale to Jessup resulted from a solicitation of offers to purchase the Claims commenced
     by Alvarez & Marsal CRF anagement LLC ("A&M CRF"), as Investment Manager of the
     Crusader Funds. in consultation with the Redeemer Committee. Ultimately. the Crusader Funds
     and the Redeemer Committee entered exclusive negotiations with Jessu , culminating in the sale
     to Jessup.

            A& CRF, pursuant to the Plan and Scheme and with the approval of House Hanover, the
     Redeemer Committee and the Board of the Master Fund, now intends to distribute the proceeds
     from the Jessup transaction ($78 million , net of any applicable tax withholdings and with no
     reserves for the Extinguished Claims or the Released Claims. lJ1 addition the distribution will
     include approximately $9.4 million in proceeds that have been redistributed due to the cancellation


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            and extinguishment of the interests and shares in the Crusader Funds held by HCM. Charitable
            OAF and Eames i.n connection with the Settlement Agreement, resulting in a total gross
            distribution of $87.4 million. Distributions will be based on net asset value as of June 30, 202 l.

                   Please note that A&M CRF intends to make the distributions by wire transfer no later than
            July 31 , 2021. Please confirm your wire instructions on or before July 20, 2021. lf there are any
            revisions to your wire information, please use the attached template to provide SEI and A&M CRF
            your updated information on investor letterhead. This information should be sent on or before JuJy
            20, 2021 to Alvarez & Marsal CRF and SEI at CRFlnvestor@alvarezandmarsal.com and A[FS-
            IS Cnisader@seic.com. respectively.

                  The wire payments will be made to the investor bank account on file with an effective and record
           date of July I , 2021. Should you have any questions, please contact SE] or A&M CRF at the e-mail
           addresses listed above.



   Sincerely,


   Alvarez & Marsal CRF Management, LLC


   By: _ ~- - -
       Steven Varner
       Managing Director




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                                                                                                        Ross Tower
MUNSCH /                                                                           500 N. Akard Street, Suite 3800
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                                               May 11, 2022

Ms. Nan R. Eitel
Office of the General Counsel
Executive Office for U.S . Trustees
20 Massachusetts A venue, NW
8th Floor
Washington, DC 20530

Dear Ms. Eitel:

        By way of follow-up to the letter Douglas Draper sent to your offices on October 4, 2021 and my
letter dated November 3, 202 l , I write to provide additional information regarding the systemic abuses
of bankruptcy process occasioned during the bankruptcy of Texas-headquartered Highland Capital
Management, L.P. ("Highland" or the ''Debtor"). Those abuses, as detailed in our prior letters, include
potential insider trading and breaches of fiduciary duty by those charged with protecting creditors,
understated estimations of estate value seemingly designed to line the pockets of Debtor management,
gross mistreatment of employees who were key to the bankruptcy process, and ultimately a plan aimed
at liquidating an otherwise viable estate, to the detriment of stakeholders and third-pa1ty investors in
Debtor-managed funds and in violation of investors' due process rights and various fiduciary duties and
duties of candor to the Bankruptcy Court and all constituents. In particular, I write this letter to further
detail:

        1.      Actions and omissions by the Debtor that have but a single apparent purpose: to spend the
assets of the Highland estate to emich those currently managing the estate at the expense of the business
owners (the equity). Currently, the Highland estate has more than enough assets to pay 100% of the
allowed creditors' claims. But doing so would dep1ive the current steward, Jim Seery, as well as his
professional cohorts, the opportunity to reap tens, if not hundreds of millions of dollars, in fees. This
motivation explains the acts and omissions described below-all designed to prop up a fa9ade that the
post-confirmation bankruptcy machinations are necessary, and to avoid any scrutiny of that fas:ade, and
to foreclose any investigation into a contrary thesis.

        2.     The Debtor's intentional understatement of the value of the estate for personal gain, the
gain of professionals, and the gain of affiliated or related secondary c laims-buyers.

        3.      The failure to adhere to fiduciary duties to maximize the value of estate assets and failure
to contest baseless proofs of claim to enable Highland to emerge from bankruptcy as a going concern and
to preserve value for all stakeholders.

       4.      The gross misuse of estate assets by the Debtor and Debtor professionals in pursuing
baseless and stale claims against former insiders of the Debtor when the current value of the estate (over



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$650 million with the recent completion of the MGM sale, which includes over $200 million in cash)
greatly exceeds the estate's general unsecured claims ($410 million).

        5.      The failure of the Debtor's CRO and CEO, Jim Seery, to adhere to his fiduciary duty to
maximize the value of the estate. As evidenced by the chart below, all general unsecured claims could
have been resolved using $163 million of debtor cash and other liquidity. Instead, proofs of claim were
inflated and sold to Stonehill Capital Management ("Stonehill") and Farallon Capital Management
("Farallon"), which are both affiliates of Grosvenor (the largest investor in the Crusader Funds, which
became the largest creditor in the bankruptcy). Mr. Seery has a long-standing relationship with
Grosvenor and was appointed to the Independent Board (the board charged with managing the Debtor's
estate) by the Redeemer Committee of the Crusader Funds, on which Grosvenor held five of nine seats.


          Creditor                  Class 8    Class 9   Purchaser                 Purchase Price
          Redeemer                 $137.0     $0.0       Stonehill                $78.0 ($65.0 net of
                                                                                  other assets)
          ACIS                     $23.0      $0.0       Farallon                 $8.0
          Harbour Vest             $45.0      $35.0      Farallon                 $27.0
          UBS                      $65.0      $60.0      Stonehill and Farallon   $50.0
          TOTAL                    $270.0     $95.0                               $150.0 to $163.0

        As highlighted in the prior letters to your office and as fmiher detailed herein, this is the type of
systemic abuse of process that is something lawmakers and the Executive Office of the U.S. Trustee (the
"EOUST") should be concerned about. Accordingly, we urge the EOUST to exercise its "broad
administrative, regulatory, and litigation/enforcement authorities . . . to promote the integrity and
efficiency of the bankruptcy system for the benefit of all stakeholders-debtors, creditors, and the public." 1
Specifically, we believe it would be appropriate for the EOUST to undertake an investigation to confirm
the current value of the estate and to ensure that the claims currently being pursued by the Debtor are
intended to benefit creditors of the estate, and not just to further enrich Debtor professionals and Debtor
management.

                                                   BACKGROUND

The Players

James Dondero - co-founder of Highland in 1993. Mr. Dondero is chiefly responsible for ensuring that
Highland weathered the global financial crisis, evolving the firm's focus from high-yield credit to other
areas, including real estate, private equity, and alternative investments. Mr. Dondero is a dedicated
philanthropist who has actively supported initiatives in education, veterans' affairs, and public policy.
He currently serves as a member of the Executive Board of the Southern Methodist University Cox
School of Business and sits on the Executive Advisory Council of the George W. Bush Presidential
Center.


1
    https://www.justice.gov/ust.


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Highland-Highland Capital Management, L.P., the Debtor. Highland is an SEC-registered investment
advisor co-founded by James Dondero in 1993. Prior to its bankruptcy, Highland served as adviser to a
suite of registered funds, including open-end mutual funds, closed-end funds, and an exchange-traded
fund.

Strand - Strand Advisors, Inc., a Delaware corporation. The general partner of Highland.

The Independent Board - the managing board installed after Highland's bankruptcy filing. To avoid a
protracted dispute, and to facilitate the restructuring, on January 9, 2020, Mr. Dondero agreed to resign
as the sole director of Strand, on the condition that he would be replaced by three independent directors
of Strand, who would act as fiduciaries of the estate and work to restructure Highland's business so it
could continue operating and emerge from bankruptcy as a going concern. Pursuant to an agreement with
the Creditors' Committee that was approved by the Bankruptcy Court, Mr. Dondero, UBS, and the
Redeemer Committee each were permitted to choose one director. Mr. Dondero chose The Honorable
Former Judge Russell F. Nelms, UBS chose John Dubel, and the Redeemer Committee chose James P.
Seery, Jr. 2

Creditors' Committee - On October 29, 2019, the bankruptcy court appointed the Official Committee of
Unsecured Creditors, which consisted of: (1) The Redeemer Committee of the Highland Crusader Fund
(Eric Felton), (2) Meta e-Discovery (Paul McVoy), (3) UBS Securities LLC and UBS AG London Branch
(Elizabeth Kozlowski), and (4) Acis Capital Management, L.P. and Acis Capital Management GP, LLP
(Joshua Terry).

James P. Seery, Jr. - a member of the Independent Board, and the Chief Executive Officer, and Chief
Restructuring Officer of the Debtor. Beginning in March 2020, Mr. Seery ran day-to-day operations and
negotiations with the Creditors' Committee, investors, and employees in return for compensation of
$150,000 per month and generous incentives and stands to earn millions more for administering the
Debtor's post-confirmation liquidation. Judge Nelms and John Dubel remained on the Independent
Board, receiving weekly updates and modest compensation.

Acis - Acis Capital Management, L.P., a former affiliate of Highland. Acis is currently owned and
controlled by Josh Teny, a former employee of Highland. Acis (Joshua Terry) was a member of
Highland's Creditors' Committee.

UBS - UBS Securities LLC and UBS AG London Branch, collectively. UBS asserted claims against
Highland arising out of a default on a 2008 warehouse lending facility (to which Highland was neither a
party nor a guarantor). Highland had paid UBS twice for full releases of claims UBS asserted against
Highland - approximately $110 million in 2008 and an additional $70.5 million via settlement with
Barclays, the Crusader Funds, and Credit Strategies in June 2015. UBS was a member of the Creditors'
Committee and appointed John Dubel to the Independent Board.


2 See Stipulation in Support of Motion of the Debtor for Approval of Settlement with the Official Committee of Unsecured

Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary Course, Dkt. 338; Order
Approving Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures
for Operations in the Ordinary Course, Dkt. 339.


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HarbourVest-HarbourVest Partners, LLC. HarbourVest is a private equity fund of funds and one of the
largest private equity investment managers globally. Harbour Vest has approximately $75 billion in assets
under management. HabourVest has deep ties with Grosvenor and has jointly with Grosvenor sponsored
59 LBO transactions in the last two years.

The Crusader Funds - a group of Highland-managed funds formed between 2000 and 2002. During the
financial crisis, to avoid a run on the Crusader Funds at low-watermark prices, the funds' manager
temporarily suspended redemptions, leading investors to sue. That dispute resolved with the formation
of an investor committee self-named the "Redeemer Committee" and the orderly liquidation of the
Crusader Funds, which resulted in investors' receiving a return of their full investment plus a return, as
opposed to the 20 cents on the dollar they would have received had their redemption requests been paid
when made. Subsequently, when disputes regarding management of the Crusader Funds' liquidation
arose, the Redeemer Committee instituted an arbitration against Highland, resulting in an arbitration
award against Highland of approximately $190 million. Nonetheless, due to offsets and double-counting,
the Debtor initially estimated the value of the Redeemer arbitration award at $105 million to $110 million.
In a 9019 settlement with the Debtor, the Crusader Funds ultimately received allowed claims of $137
million, plus $17 million of sundry claims and retention of an interest in Cornerstone Healthcare Group,
Inc., an acute-health-care company, valued at over $50 million. Notably, UBS objected to the Crusader
Funds' 9019 settlement, arguing that the Redeemer arbitration award was actually worth much less-
between $74 and $128 million. The Crusader Funds sold their allowed claims to Stonehill, in which
Grosvenor is the largest investor. This sale to an affiliated fund without approval of other investors in
the fund is a violation of the Investment Advisers Act of 1940.

The Redeemer Committee - The Redeemer Committee of the Highland Crusader Funds was a group of
investors in the Crusader Funds that oversaw the liquidation of the funds. The Redeemer Committee was
comprised of nine members. Grosvenor held five seats. Concord held one seat.

Grosvenor - GCM Grosvenor is a global alternative asset management firm with over $59 billion in
assets under management. Grosvenor has one of the largest operations in the Cayman Islands, with more
than half of their assets under management originating through its Cayman operations. Unlike most firms
operating in the Cayman Islands, Grosvenor has its own corporate and fiduciary services firm. This
structure provides an additional layer of opacity to anonymous corporations from the British Virgin
Islands (which includes significant Russian assets), Hong Kong (which includes significant Chinese
assets), and Panama (which includes significant South American assets). As a registered investment
adviser, Grosvenor must adhere to know-your-customer regulations, must report suspicious activities,
and must not facilitate non-compliance or opacity. In 2020, Michael Saks and other insiders distributed
all of Grosvenor's assets to shareholders and sold the firm to a SPAC originated by Cantor Fitzgerald. 3
In 2020, the equity market valued asset managers and financial-services firms at decade-high valuations.
It makes little sense that Grosvenor would use the highly dilutive SPAC process (as opposed to engaging


3  See https://www.wsj.com/articles/gcm-grosvenor-to-merge-with-cantor-fitzgerald-spac-11596456900. The Securities and
Exchange Commission recently released a rule proposal that is focused on enhancing disclosure requirements around special
purpose acquisition companies, including additional disclosures about SP AC sponsors, conflicts of interest and sources of
dilution, business combination transactions between SPACs and private operating companies, and fairness of these
transactions. See https ://www.pionline.com/re gulation/sec-proposes-enhanced-spac-discl osure-rule.


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in a traditional IPO or other strategic-sale alternatives) unless such a structure was employed to avoid the
diligence and management-liability tail inherent in more traditional processes.

Farallon - Farallon Capital Management, L.L.C. Farallon is a hedge fund that manages capital on behalf
of institutions and individuals and was previously the largest hedge fund in the world. Farallon has
approximately $27 billion in assets under management. Grosvenor is a significant investor in Farallon.
Grosvenor and Farallon are fmiher linked by Hellman & Friedman, LLC, an American private equity
firm. Hellman & Friedman owned a stake in Grosvenor from 2007 until it went public in 2020 and seeded
Farallon's initial capital.

Muck - Muck Holdings, LLC. Muck is owned and controlled by Farallon. Together with Jessup
Holdings, LLC (described below)), Muck acquired 90.28% of the general unsecured claims (inclusive of
Class 8 and Class 9) in the Highland bankruptcy.

Stonehill - Stonehill Capital Management, LLC. Stonehill provides portfolio management for pooled
investment vehicles. It has approximately $3 billion in assets under management, which we have reason
to believe includes approximately $1 billion from Grosvenor.

Jessup - Jessup Holdings, LLC. Jessup is ovmed and controlled by Stonehill. Together with Muck
(Farallon), Stonehill acquired 90.28% of the general unsecured claims (inclusive of Class 8 and Class 9)
in the Highland bankruptcy.

Marc Kirschner/Teneo - The Debtor retained Marc Kirschner to pursue over $1 billion in claims against
former insiders and affiliates of the Debtor despite the significant solvency of the estate ($650 million in
assets versus $410 million in claims). Kirschner' s bankruptcy restructuring firm was purchased by Teneo
(which also purchased the restructuring practice ofKPMG). Teneo is sponsored by LetterOne, a London-
based private equity firm owned by Mikhail Fridman, a Russian oligarch. Fridman is also the primary
investor in Concord Management, LLC ("Concord"), which held a position on the Redeemer Committee.
During the resolution of a 2018 arbitration involving a Debtor-managed fund, the Highland Credit
Strategies Fund, evidence emerged demonstrating that Concord was operating as an unregistered
investment adviser of Russian money from Alfa-Bank, Russia's largest privately held bank and a key
part of Fridman's Alfa Group Consortium. -That money that was funneled into BVI-domiciled shell
companies into the Cayman Islands, then into various hedge funds and private equity funds in the U.S.
Evidence of these activities was presented by the Debtor to Grosvenor, and the Debtor asked to have
Concord removed from the Redeemer Committee. Concord was never removed. Concord is a large
investor in Grosvenor. Grosvenor, in turn, is a large investor in Stonehill and Farallon.

Circumstances Precipitating Bankruptcy

       Notwithstanding Highland's historical success with Mr. Dondero at the helm, Highland's funds-
like many other investment platforms-suffered losses during the financial crisis, leading to myriad
lawsuits by investors. One of the most contentious disputes involved investors in the Crusader Funds. As
explained above, a group of Crusader Funds investors sued after the funds' manager temporarily
suspended redemptions during the financial crisis. That dispute resolved with the formation of the
"Redeemer Committee" and the orderly liquidation of the Crusader Funds, which resulted in investors'



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receiving a return of their investments plus a profit, as opposed to the 20 cents on the dollar they would
have received had their redemption requests been honored when made.

       Despite the successful liquidation of the Crusader Funds, the Redeemer Committee sued Highland
again several years later, claiming that Highland had improperly delayed the liquidation and paid itself
fees not authorized under the parties' earlier settlement agreement. The dispute went to arbitration,
ultimately resulting in an arbitration award against Highland of $189 million (of which Highland
expected to make a net payment of $110 million once the award was confirmed).

         In view of the expected arbitration award and believing that a restructuring of its judgment
liabilities was in Highland's best interest, on October 16, 2019, Highland-a Delaware limited
partnership-filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the
Bankruptcy Comi for the District of Delaware. 4

        On October 29, 2019, the Bankruptcy Court appointed the Creditors' Committee. At the time of
their appointment, creditors agreeing to serve on the Creditors' Committee were given an Instruction
Sheet by the Office of the United States Trustee, instructing as follows:

          Creditors wishing to serve as fiduciaries on any official committee are advised that
          they may not purchase, sell or otherwise trade in or transfer claims against the
          Debtor while they are committee members absent an order of the Court. By
          submitting the enclosed Questionnaire and accepting membership on an official
          committee of creditors, you agree to this prohibition. The United States Trustee
          reserves the right to take appropriate action, including removing the creditor from
          any committee, if the information provided in the Questionnaire is inaccurate, if the
          foregoing prohibition is violated, or for any other reason the United States Trustee
          believes is proper in the exercise of her discretion.

See Instruction Sheet, Ex. A (emphasis in original).

       In response to a motion by the Creditors' Committee, on December 4, 2019, the Delaware
Bankruptcy Court transfen-ed the bankruptcy case to the Northern District of Texas, to Judge Stacey G.C.
Jernigan's court. 5

    SYSTEMIC PROBLEMS OCCURRING IN THE CONTEXT OF HIGHLAND'S COURT-
                       ADMINISTERED BANKRUPTCY

Mr. Dondero Gets Pushed Out of Management and New Debtor Management Announces Plans
to Liquidate the Estate

      From the outset of the case, the Creditors' Committee and the U.S. Trustee's Office in Dallas
pushed to replace Mr. Dondero as the sole director of Strand. To avoid a protracted dispute and to


4In re Highland Capital Mgmt., L.P., Case No. 19-12239-CSS (Bankr. D. Del.) ("Del. Case"), Dkt. 1.
5
 See In re Highland Capital Mgmt., L.P., Case No. 19-34054 (Bankr. N.D. Tex.), Dkt. 186. All subsequent docket references
are to the docket of the Bankruptcy Court for the N01them District of Texas.


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facilitate the restructuring, on January 9, 2020, Mr. Dondero agreed to resign as the sole director of
Strand, on the condition that he would be replaced by the Independent Board. 6

        In brokering the agreement, Mr. Dondero made clear his expectations that new, independent
management would not only preserve Highland's business by expediting an exit from bankruptcy in three
to six months but would also preserve jobs and enable continued collaboration with charitable causes
supported by Highland and Mr. Dondero. Unfo1tunately, those expectations did not materialize. Rather,
it quickly became clear that Strand's and Highland's management was being dominated by one of the
independent directors, Mr. Seery. Shortly after his placement on the Board, on March 15, 2020, Mr. Seery
became de facto Chief Executive Officer, after which he immediately took steps to freeze Mr. Dondero
out of operations completely, to the detriment of Highland's business and its employees. The Bankruptcy
Court formally approved Mr. Seery's appointment as CEO and Chief Restructuring Officer on July 14,
2020. 7 Although Mr. Seery publicly represented that his goal was to restructure the Debtor's business
and enable it to emerge as a going concern, privately he was engineering a much different plan. Less
than two months after Mr. Seery's appointment as CEO/CRO, the Debtor filed its initial plan of
reorganization, disclosing for the first time its intention to terminate substantially all employees by the
end of 2020 and to liquidate Highland's assets by 2022. 8

       Over objections by Mr. Dondero and numerous other stakeholders, the Bankruptcy Court
confirmed Highland's Fifth Amended Plan of Reorganization on February 22, 2021 (the "Plan"). 9 There
are appeals of that Plan, as well as many of the other rulings made by the Bankruptcy Court, currently
pending before the United States District Comt and the Comt of Appeals for the Fifth Circuit.

Transparency Problems Pervade the Bankruptcy Proceedings

         The Regulatory Framework

        As you are aware, one of the most impmiant features of federal bankruptcy proceedings is
transparency. The EOUST instructs that "Debtors-in-possession and trustees must account for the
receipt, administration, and disposition of all prope1iy; provide information concerning the estate and the
estate's administration as paities in interest request; and file periodic reports and summaries of a debtor's
business, including a statement of receipts and disbursements, and such other information as the United
States Trustee or the United States Bankruptcy Court requires." See http://justice.gov/ust/chapter-l l-
info1mation (citing 11 U.S.C. § 1106(a)(l), 1107(a)). And Federal Rule of Bankruptcy Procedure
2015 .3( a) states that "the trustee or debtor in possession shall file periodic financial reports of the value,
operations, and profitability of each entity that is not a publicly traded corporation or a debtor in a case
under title 11, and in which the estate holds a substantial or controlling interest." This rule requires the
trustee or a debtor in possession to file a report for each non-debtor affiliate prior to the first meeting of

6
  Frank Waterhouse and Scott Ellington, Highland employees, remained as officers of Strand, Chief Financial Officer and
General Counsel, respectively.
7
  See Order Approving Debtor's Motion Under Bankruptcy Code Sections 105(a) and 363(b) Authorizing Retention of James
P. Seery, Jr. as Chief Executive Officer, Chief Restrncturing Officer, and Foreign Representative Nunc Pro Tune to March
15, 2020, Dkt. 854.
8
  See Plan of Reorganization of Highland Capital Management, L.P. dated August 12, 2020, Dkt. 944.
9
  See Order (I) Confirming the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As Modified);
and (II) Granting Related Relief, Dkt. 1943.


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creditors and every six months thereafter until the effective date of a plan of reorganization. Fed R.
Bankr. P. 2015.3(b). Importantly, the rule does not absolve a debtor from filing reports due prior to the
effective date merely because a plan has become effective. 10 Notably, the U.S. Trustee has the duty to
ensure that debtors in possession properly and timely file all required reports. 28 U.S.C. § l 112(b)(4)(F),
(H).

        The entire purpose of these guidelines and rules is to ensure that external stakeholders can fairly
evaluate the progress of bankruptcy proceedings, including compliance with legal requirements.
Particularly in large bankruptcies, creditors and investors alike should expect that debtors, their
management, and representatives on creditors' committees abide by their reporting obligations and all
other legal requirements. Bankruptcy is not meant to be a safe haven for lawlessness, nor is it designed
to obfuscate the operations of the debtor. Instead, transparency is mandatory so that the debtor is
accountable to stakeholders and so that stakeholders can ensure that all insiders are operating for the
benefit of the estate. This becomes all the more important when a debtor or an estate holds substantial
assets through non-debtor subsidiaries or vehicles, as is the case here; hence, the purpose of Rule 2015.3.

          In Highland's Bankruptcy, the Regulato,y Framework Is Ignored

       Against this regulatory backdrop, the Highland bankruptcy offered almost no transparency to
stakeholders. Traditional reporting requirements were ignored, and neither the Bankruptcy Court nor the
U.S. Trustee's Office did anything to ensure compliance. This opened the door to numerous abuses of
process and potential violations of federal law, as detailed below. Additionally, the lack of proper and
accurate information and intentional hiding of material information led creditors to vote for the Debtor's
plan and the Bankruptcy Court to confirm that plan which, we believe, would not have happened had the
Debtor complied with its fiduciary and reporting duties.

        As Mr. Draper and I have already highlighted, one significant problem in Highland's bankruptcy
was the Debtor's failure to file any of the reports required under Bankruptcy Rule 2015.3, either on behalf
of itself or its affiliated entities. Typically, such reports would include information like asset value,
income from financial operations, profits, and losses for each non-publicly traded entity in which the
estate has a substantial or controlling interest.

        The Debtor's failure to file the required Rule 2015 .3 reports was brought to the attention of the
Debtor, the Bankruptcy Court, and the U.S. Trustee's Office. During the hearing on Plan confirmation,
the Debtor was questioned about the failure to file the reports. The sole excuse offered by the Debtor's
Chief Restructuring Officer and Chief Executive Officer, Mr. Seery, was that the task "fell through the
cracks." 11 Nor did the Debtor or its counsel ever attempt to show "cause" to gain exemption from the
reporting requirement. That is because there was no good reason for the Debtor's failure to file the
required reports. In fact, although the Debtor and the Creditors' Committee often refer to the Debtor's
structure as a "byzantine empire," the assets of the estate fall into a handful of discrete investments, most
of which have audited financials and/or are required to make monthly or quarterly net-asset-value or fair-

10 After notice and a hearing, the bankruptcy comt may grant relief from the Rule 2015.3 disclosure requirement "for cause,"
including that "the trustee or debtor in possession is not able, after a good faith effo1t, to comply with th[e] rep01ting
requirements, or that the information required by subdivision (a) is publicly available." Fed. R. Bankr. 2015.3(d).
11 See Dkt. 1905 (Feb. 3, 2021 Hr'g Tr. at 49:5-21 ).




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value determinations. 12 Rather than disclose financial information that was readily available, the Debtor
appears to have taken deliberate and strategic steps to avoid transparency.

        Despite these transparency problems, the Debtor's confirmed Plan contains prov1s10ns that
effectively release the Debtor from its obligation to file any of the repo1is due for any period prior to the
effective date-thereby sanctioning the Debtor's failure and refusal to follow the rules. The U.S. Trustee
also failed to object to this portion of the Court's order of confirmation, which is directly at odds with
the spirit and mandate of the Periodic Repo1iing Requirements adopted by the EOUST and historical
rules mandating transparency. 13

       Because neither the federal Bankruptcy Comi nor the U.S. Trustee advocated or demanded
compliance with the rules, the Debtor, its newly appointed management, and the Creditors' Committee
charged with protecting the interests of all creditors were able to manipulate the estate for the benefit of
a handful of insiders, seemingly in contravention of law.

The Lack of Transparency Permitted the Debtor to Quietly Sell Assets Without Observing Best
Practices

        Highland engaged in several other asset sales in bankruptcy without disclosing those sales in
advance to outside stakeholders or investors, and without offering investors in funds impacted by the
sales the opp01iunity to purchase the assets. For example:

         •         The Debtor sold approximately $25 million of NexPoint Residential Trust shares that
                   today are valued at over $70 million; the Debtor likewise sold $6 million of Portola
                   Pharma shares that were taken over less than 60 days later for $18 million.

         •         The Debtor divested interests w01ih $145 million held in ce1iain life settlements (which
                   paid on the death of the individuals covered, whose average age was 90) for $35 million
                   rather than continuing to pay premiums on the policies and did so without obtaining
                   updated estimates of the life settlements' value, to the detriment of the fund and investors
                   (today two of the covered individuals have a life expectancy of less than one year).

         •         The Debtor sold interests in OmniMax without informing the Bankruptcy Comi, without
                   engaging in a competitive bidding process, and without cooperating with other funds
                   managed by Mr. Dondero, resulting in what we believe is substantially lesser value to the
                   debtor (20% less than Mr. Dondero received in funds he managed).

         •         The Debtor sold interests in Structural Steel Products (worth $50 million) and Targa
                   (worth $37 million), again without any process or notice to the Bankruptcy Court or

12
   During a deposition, Mr. Seery identified most of the Debtor's assets "[o]ffthe top of [his] head" and acknowledged that
he had a subsidiary ledger that detailed the assets held by entities below the Debtor. See Exh. A (Jan. 29, 2021 Dep. Tr. at
22:4-10; 23:1-29:10).
13
   See "Procedures for Completing Uniform Periodic Reports in Non-Small Business Cases Filed Under Chapter 11 of Title
11" (the "Periodic Reporting Requirements"). The Periodic Reporting Requirements reaffirmed the EOUST's commitment to
maintaining "uniformity and transparency regarding a debtor's financial condition and business activities" and "to inform
creditors and other interested pmties of the debtor's financial affairs." 85 Fed. Reg. 82906.


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                   outside stakeholders, resulting in a loss to the estate of over $10 million versus cost and
                   $20 million versus fair market value.

         •         The Debtor "sold" interests in certain investments commonly refen-ed to as PetroCap
                   without engaging in a public sale process and without exploring any other method of
                   liquidating the asset.

Because the Bankruptcy Code does not define what constitutes a transaction in the "ordinary course of
business," the Debtor's management was able to characterize these massive sales as ordinary course
transactions when they were anything but ordinary, resulting in diminution in value to the estate and its
creditors. Equally as troubling, for certain similar sale transactions the Debtor did seek Bankruptcy Court
approval, thus acknowledging that such approval was necessary or, at a minimum, that disclosures
regarding non-estate asset sales are required.

The Lack of Transparency Permitted the "Inner Circle" to Manipulate the Estate for Personal
Gain

         Largely because of the Debtor's failure to file Rule 2015 .3 repo1is for affiliate entities, interested
parties and creditors wishing to evaluate the w01ih and mix of assets held in non-Debtor affiliates could
not do so. This is particularly problematic because the Debtor sold $172 million in assets, which altered
the mix of assets and liabilities of the Debtor's affiliates and controlled entities. In addition, the estate's
asset value decreased by approximately $200 million in a matter of months in the wake of the global
pandemic. Absent financial reporting, it was impossible for stakeholders to dete1mine whether the $200
million impairment in asset value reflected actual realized losses or merely temporary mark-downs
precipitated by problems experienced by certain assets during the pandemic (including labor sho1iages,
supply-chain issues, travel inteITuptions, and the like). A Rule 2015.3 repo1i would have revealed the
mix of assets and the corresponding reduction in liabilities of the affiliated or controlled entity-
information that was critical in evaluating the w01ih of claims against the estate or future investments
into it.

        In stark contrast to its non-existent public disclosures, the Debtor provided the Creditors'
Committee with robust weekly information regarding transactions involving assets held by the Debtor or
its wholly owned subsidiaries, transactions involving managed entities and non-managed entities in
which the Debtor held an interest, transactions involving non-discretionary accounts, and weekly budget-
to-actuals reports referencing non-Debtor affiliates' 13-week cash flow budget. In other words, the
Committee had real-time financial information with respect to the affairs of non-Debtor affiliates, which
is precisely the type of information that should have been disclosed to the public pursuant to Rule 2015 .3.
The Debtor's "inner circle" - the Debtor (as well as its advisors and professionals) and the Creditors'
Committee (and its counsel) - had access to critical information upon which any reasonable investor
would rely. But because of the lack ofreporting, the public did not.

         Mr. Seery's Compensation Structure Encouraged Misrepresentations Regarding the Value of
         the Estate and Assets of the Estate

       Mr. Seery's compensation package encouraged, and the lack of transparency permitted,
manipulation of the estate and settlement of creditors' claims at inflated amounts.


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        Upon his initial appointment as an Independent Director in January 2020, Mr. Seery received
compensation from the Debtor of $60,000 per month for the first three months, $50,000 per month for
the following three months, and $30,000 per month for remaining months, subject to adjustment by
agreement with the Debtor. 14

        When Mr. Seery subsequently was appointed the Debtor's CEO and CRO in July 2020, he his
compensation package was handsomely improved. His base salary, which was on the verge of dropping
to $30,000 per month, was increased retroactively back to March 15, 2020, to $150,000 per month.
Additionally, his employment agreement contemplated a discretionary "Restructuring Fee" 15 that would
be calculated in one of two ways:

           (1)      If Mr. Seery were able to resolve a material amount of outstanding claims against the
                    estate, he would be entitled to $1 million on confirmation of what the Debtor termed a
                    "Case Resolution Plan," $500,000 at the effective date of the Case Resolution Plan, and
                    $750,000 upon completion of distributions to creditors under the plan.

           (2)      If, by contrast, Mr. Seery were not able to resolve the estate and instead achieved a
                    "Monetization Vehicle Plan," he would be entitled to $500,000 on confirmation of the
                    Monetization Vehicle Plan, $250,000 at the effective date of that plan, and-most
                    importantly-a to-be-determined "contingent restructuring fee" based on "performance
                    under the plan after all material distributions" were made.

The Restructuring Fee owed for a Case Resolution Plan was materially higher than that payable under
the Monetization Vehicle Plan and was intended to provide a powerful economic incentive for Mr. Seery
to steer Highland through the Chapter 11 case and emerge from bankruptcy as a going concern.

        Despite the structure of his compensation package, Mr. Seery saw greater value in aligning
himself with creditors and the Creditors' Committee. To that end, he publicly alienated and maligned
Mr. Dondero, and he found willing allies in the Creditors' Committee. The posturing also paved the way
for Mr. Seery to bestow upon the hold-out creditors exorbitant settlements at the expense of equity and
earn his Restructuring Fee. In fact, at the time of Mr. Seery's formal appointment as CEO/CRO, he had
already negotiated settlements in principle with Acis and the Redeemer Committee (both members of the
Creditors' Committee), 16 leaving only the HarbourVest and UBS (also a member of the Creditors'
Committee) claims to resolve. In other words, Mr. Seery had curried favor with two of the four members
of the Creditors' Committee who would ultimately approve his Restructuring Fee and future
compensation following plan consummation.

       Ultimately, the confirmed Plan appointed Mr. Seery as the Claimant Trustee, which continued his
compensation of $150,000 per month (termed his "Base Salary") and provided that the Oversight Board
and Mr. Seery would negotiate additional "go-forward" compensation, including a "success fee" and
severance pay. 17 Mr. Seery's success fee presumably is (or will be) based on whether his liquidation of

14
   See   Dkt. 339, ,r 3.
15
   See   Dkt. 854, Ex. 1.
16
   See   Dkt. 864, p. 8, I. 24 - p. 9, I. 8.
17
   See   Plan Supplement, Dkt. 1875, § 3.13(a)(i).


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the estate outperforms what was disclosed in the Plan Analysis. In other words, Mr. Seery had a financial
incentive to grossly understate the value of the estate in public disclosures, not only to facilitate claims
trading and resolution of the biggest claims in bankruptcy but also to ensure that he eventually receives
a large "success fee" and severance payment. In fact, during a deposition taken on October 21, 2021,
Mr. Seery testified that he expected to make "a few million dollars a year" for each year during the years
that he will take to liquidate the Debtor, although we estimate that, based on the estate's nearly $650
million value today, Mr. Seery's success fee could approximate $50 million.

            Mr. Seery Enters into Inflated Settlements

        Even before his appointment as CEO and CRO of the Debtor, Mr. Seery had effectively seized
control of the Debtor as its de facto chief executive officer. 18 Thus, while he was in the process of
negotiating his compensation agreement, he was simultaneously negotiating settlements with the
remaining creditors to ensure he earned his Restructuring Fee, even ifhe did so at inflated amounts. One
transaction that highlights this is the settlement with the Crusader Funds and the Redeemer Committee.

        In connection with Mr. Seery's appointment as CEO and CRO, the Debtor announced that it had
reached an agreement in principle with the Crusader Funds and the Redeemer Committee. Even UBS,
one of the members of the Creditors' Committee, thought the settlement was inflated. In its objection to
the Debtor's 9019 motion, UBS stated: 19

                     The Redeemer Claim is based on an Arbitration Award that required the Debtor,
            inter alia, to pay $118,929,666 (including prejudgment interest and attorneys' fees) in
            damages and to pay Redeemer $71,894,891 (including prejudgment interest) in exchange
            for all of Crusader's shares in Cornerstone. Pursuant to that same Arbitration Award, the
            Debtor also retained the right to receive $32,313,000 in Defe1Ted Fees upon Crusader's
            liquidation. As shown below, after accounting for those reciprocal obligations to the
            Debtor and depending on the true value of the Cornerstone shares to be tendered (which
            is disputed), the actual value of the Arbitration Award to Redeemer is between
            $74,911,557 and $128,011,557. 3

                    Under the Proposed Settlement, however, Redeemer stands to gain far more
            because the Debtor has inexplicably agreed to release its rights to Crusader's Cornerstone
            shares and the Deferred Fees (with a combined value that could be as much as
            $115,913,000)-providing a substantial windfall to Redeemer. The Debtor has failed to
            provide sufficient information to permit this Court to meaningfully evaluate the true value
            of the Proposed Settlement, including the fair value of the Cornerstone shares, which it
            must do in order for this Com1 to have the information it needs to approve the Proposed
            Settlement. Depending on the valuation of the Cornerstone shares, the value of the
            Proposed Settlement to Redeemer may be as much as $253,609,610-which substantially
            exceeds the face amount of the Redeemer Claim.



18   See Dkt. 864, p. 6, I. 18 - 22.
19
     See Dkt. 1190, p. 6- 7.


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                  In the meantime, other general unsecured creditors of the Debtor will receive a
          much lower percentage recovery than they would if those assets were instead transfened
          to the Debtor's estate, as required by the Arbitration Award, and evenly distributed among
          the Debtor's creditors. The Proposed Settlement is only in the best interests of Redeemer
          and, as such, it should be rejected.


                    3
                                                          ******
                      The potential range of value attributable to the Cornerstone shares is
                    significant because, according to the Debtor's liquidation analysis, the
                    Debtor expects to have only $195 million total in value to distribute, and
                    only $161 million to distribute to general unsecured creditors under its
                    proposed plan. See Liquidation Analysis [Dkt. No. 1173-1]; First
                    Amended Plan of Reorganization of Highland Capital Management, L.P.
                    [Dkt. No. 1079].

       UBS was right. Mr. Seery agreed to a settlement that substantially overpaid the Redeemer
Committee, and UBS only agreed to withdraw its objection and appeal of the Redeemer Committee's
settlement when the Debtor bestowed upon UBS its own lavish settlement. 20

        It is worth noting that the Redeemer Committee ultimately sold its bankruptcy claim for $78
million in cash, but the sale excluded, and the Crusader Funds retained, its investment in Cornerstone
Healthcare Group Holding Inc. and certain non-cash consideration. 21 At the end of the day, the Crusader
Funds and the Redeemer Committee cashed out of their bankruptcy claims for total consideration at the
very least of $13 5 million, meaning they received 105% of the highest estimate (according to UBS) of
the net amount of their arbitration award. 22

          The Inner Circle Doesn't Object to Inflated Settlements

       Following the Bankruptcy Court's approval of settlements with Acis/Josh Teny and the Crusader
Funds/the Redeemer Committee, Mr. Seery turned his attention to the two remaining critical holdouts:
HarbourVest and UBS. HarbourVest, a private equity fund-of-funds with approximately $75 billion
under management, had invested pre-bankruptcy $80 million into (and obtained 49.98% of the
outstanding shares of) a Highland fund called Acis Loan Funding, later rebranded as Highland CLO

20 See Dkt 2199. Under the te1ms of the UBS Settlement, UBS received a Class 8 claim in the amount of $65 million, a Class
9 claim in the amount of$60 million, a payment in cash of$18.5 million from a non-Debtor fund managed by the Debtor, and
the Debtor's agreement to assist UBS in pursuing other claims against former Debtor affiliates related to a default on a credit
facility during the Global Financial Crisis. Importantly, over the course of the preceding 11 years, UBS had already received
payments totaling $180 million in connection with this dispute, and just prior to bankruptcy, UBS and the Debtor had reached
a settlement in principle in which the Debtor would pay UBS just $7 million and $10 million in future business.
21
   See Exh. B.
22 The estimation of a total recovery of $135 million includes attributing $48 million to the retained Cornerstone investment.

The $48 million valuation equated to a -45% interest in Cornerstone, which was valued pre-pandemic at approximately $107
million. Following COVID, Cornerstone's long-term acute care facilities flourished. Additionally, Cornerstone held a direct
investment of over 800,000 shares in MGM, which was held on its books at approximately $72 per share. The per-share
closing price on the sale of MGM to Amazon exceeded $164, which would have increased the company's valuation
(irrespective of the post-COVID growth) by more than $70 million, bring Crusader Funds' windfall to more than $205 million.


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Funding, Ltd. ("HCLOF"). A charitable fund called the Charitable DAF Fund, L.P. ("DAF") held
49.02% member interests in HCLOF, and the remaining ~2.00% was held by Highland and ce1iain of its
employees.

         Before Highland filed bankruptcy, a dispute arose between HarbourVest and Highland in which
HarbourVest claimed it was duped into making the investment into HCLOF because Highland allegedly
failed to disclose facts relating to the investment (namely, that Highland was engaged in ongoing
litigation with former employee, Josh Teffy, which would result in HCLOF's incuning legal fees and
costs). HarbourVest alleged that, as a result of the Teny lawsuit, HCLOF incurred approximately $15
million in legal fees and costs. In Highland's bankruptcy, however, HarbourVest filed a proof of claim
alleging that it was due over $300 million in damages in the dispute, a claim that the Debtor and Debtor's
counsel initially argued was absurd. Indeed, Debtor management valued HarbourVest's claims at $0,
which was consistently reflected in the Debtor's publicly-filed financial statements up through and
including its December 2020 Monthly Operating Report. 23 Nevertheless, as one of the final creditor
claims to be resolved, Mr. Seery ultimately agreed to give HabourVest a $45 million Class 8 claim and a
$35 million Class 9 claim. 24 At that time, the Debtor's public disclosures reflected that Class 8 creditors
could expect to receive 71.32% payout on their claims, and Class 9 creditors could expect 0.00%. Thus,
HarbourVest's total $80 million in allowed claims would result in HarbourVest receiving $32 million in
cash. 25 The cash consideration was offset by HarbourVest's agreement to convey its interest in HCLOF
to the Debtor (or its designee) and to vote in favor of the Debtor's Plan. In its pleadings and testimony in
support of the settlement, the Debtor represented that the value of HarbourVest's interest in HCLOF was
$22.5 million. In other words, from the outside looking in, the Debtor agreed to pay $9.5 million for a
spurious claim.

        Oddly enough, no creditors (other than former insiders) objected. What the inner circle
presumably knew was that the settlement was actually a windfall for the Debtor. As we have previously
detailed, the $22.5 million valuation of HCLOF that the Debtor utilized in seeking approval of the
settlement was based upon September 2020 figures when the economy was still reeling from the
pandemic. The value of that investment rebounded rapidly, particularly because of the pending MGM
sale to Amazon that was disclosed to the Debtor but not the public (i.e., material non-public information).
We have subsequently learned that the actual value of the HCLOF at the time the Bankruptcy Court
approved the HarbourVest settlement was at least $44 million-a value that Mr. Seery would have known
but that was not disclosed to the Court or the public.

        Likewise, there were no objections to the UBS settlement, which is puzzling. As detailed in the
Debtor's 64-page objection to the UBS proof of claim and the Redeemer Committee's 431-page objection
to the UBS proof of claim, UBS' s claims against the Debtor were razor thin and largely foreclosed by res
judicata and a settlement and release executed in connection with the June 2015 settlement. Moreover,
the publicly available information indicated that:

              •    The estate's asset value had decreased by $200 million, from $556 million on October 16,

23 See Monthly Operating Report for Highland Capital Management for the Month Ending December 2020, Dkt. 1949.
24 Class 8 consists of general unsecured claims; Class 9 consists of subordinated claims.
25 We have reason to believe that HarbourVest's Class 8 and Class 9 claims were contemporaneously sold to Farallon Capital

Management-an SEC-registered investment advisor-for approximately $27 million.


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                      2019, to $328 million as of September 30, 2020 (increasing only slightly to $364 million
                      as of January 31, 2021 ); 26

                •     Allowed claims against the estate increased by $236 million from December 2020 to
                      January 2021, with Class 8 claims ballooning $74 million in December to $267 million in
                      January;

                •     Due to the decrease in the value of the Debtor's assets and the increase in the allowed
                      claims amount, the ultimate projected recovery for Class 8 Claims decreased from 87.44%
                      to 71.32% in just a matter of months.

The Liquidation Analysis estimated total assets remaining for distribution to general unsecured claims to
be $195 million, with general unsecured claims totaling $273 million. By the time the UBS settlement
was presented to the court for approval, the allowed Class 8 Claims had increased to $309,345,000,
reducing the distribution to Class 8 creditors to 62.99%. Surely significant creditors like the Redeemer
Committee-whose projected distribution dropped from $119,527,515 when it voted for the Plan to
$86,105,194 with the HarbourVest and UBS claims included-should have taken notice.

Mr. Seery Stacks the Oversight Board

         As previously disclosed, we believe Mr. Seery facilitated the sale of the four largest claims in the
estate to Farallon and Stonehill. Based upon conversations with representatives of Farallon, Mr. Seery
contacted them directly to encourage their acquisition of claims in the bankruptcy estate. 27 We believe
Mr. Seery did so by disclosing the true value of the estate versus what was publicly disclosed in comi
filings, demonstrating that there was substantial upside to the claims as compared to what was included
in the Plan Analysis. For example, publicly available information at the time Farallon and Stonehill
acquired the UBS claim indicated the purchase would have made no economic sense: the publicly
disclosed Plan Analysis estimated that there would be a 71.32% distribution to Class 8 creditors and a
0.00% distribution to Class 9 creditors, which would mean that Farallon and Stonehill would have lost
money on the claim acquisition. We can only conclude Mr. Seery (or others in the Debtor's management)
apprised Stonehill and Farallon of the true estate value (which was material, non-public information at
the time), which based upon accurately disclosed financial statements would indicate they were likely to
recover close to 100% on both Class 8 and Class 9 claims.

       As set forth in the previous letters, three of the four members of the Creditors' Committee and
one non-committee member sold their claims to two buyers Farallon, through Muck, and Stonehill,
through Jessup. The four claims purchased by Farallon and Stonehill comprise the largest four claims in
the Highland bankruptcy by a substantial margin, collectively totaling almost $270 million in Class 8
claims and $95 million in Class 9 claims:



26 Compare Jan. 31, 2021 Monthly Operating Report [Dkt. 2030], with Disclosure Statement (approved on Nov. 24, 2020)
[Dkt. 1473].
27
   We believe Mr. Seery made similar calls to representatives of Stonehill. We are informed and believe that Mr. Seery has
long-standing relationships with both Farallon and Stonehill.


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  Claimant                            Class 8 Claim          Class 9 Claims            Date Claim Settled
  Redeemer Committee                  $136,696,610           NIA                       October 28, 2020
  Acis Capital                        $23,000,000            NIA                       October 28, 2020
  HarbourVest                         $45,000,000            $35,000,000               January 21, 2021
  UBS                                 $65,000,000            $60,000,000               May 27, 2021
  TOTAL:                              $269,696,610           $95,000,000

        From the information we have been able to gather, it appears that Stonehill and Farallon purchased
these claims for the following amounts:

         Creditor                 Class 8    Class 9       Purchaser                      Purchase Price
         Redeemer                 $137.0    $0.0           Stonehill                     $78.0 28
         ACIS                     $23.0     $0.0           Farallon                      $8.0
         HarbourVest              $45.0     $35.0          Farallon                      $27.0
         UBS                      $65.0     $60.0          Stonehill and Farallon        $50.0
         TOTAL                    $270.0    $95.0                                        $150.0 - $165.0


        As the purchasers of the four largest claims in the bankruptcy, Muck (Farallon) and Jessup
(Stonehill) are overseeing the liquidation of the reorganized Debtor. These two hedge funds also will
dete1mine the performance bonus due to Mr. Seery for liquidating the estate. As set forth below, we
estimate that the estate today is worth nearly $650 million and has approximately $200 million in cash,
which could result in Mr. Seery's receipt of a performance bonus approximating $50 million. Thus, it is
a warranted and logical deduction that Farallon and Stonehill may have been provided material, non-
public inf01mation to induce their purchase of these claims. As set fo11h in previous letters, there are three
primary reasons to believe this:

               •   The scant publicly available information regarding the Debtor's estate ordinarily would
                   have dissuaded sizeable investment in purchases of creditors' claims;

               •    The information that was actually publicly available ordinarily would have compelled a
                    prudent investor to conduct robust due diligence prior to purchasing the claims; and

               •    Yet these claims purchasers spent in excess of $ 100 million (and likely closer to $ 150
                    million) on claims, ostensibly without any idea of what they were purchasing.

For example, consider the sale of the Crusader Funds' claims, which we know was sold for $78 million.
Based upon the publicly available information at the time of the acquisition, the expected distribution
would have been $86 million. Surely a sophisticated hedge fund would not invest $78 million in a
pmiicularly contentious bankruptcy if it believed its maximum return was $86 million years later.




28 Because the transaction included "the majority of the remaining investments held by the Crusader Funds," the net amount

paid by Stonehill for the Claims was approximately $65 million.


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        Ultimately, the Plan, Mr. Seery' s compensation package, and the lack of transparency to everyone
other than the Debtor, its management, and the Creditors' Committee permitted Debtor management and
the Creditors' Committee to support grossly inflated claims (at the expense ofresidual stakeholders) in a
grossly understated estate, which facilitated the sales of those claims to a small group of investors with
significant ties to Debtor management. In doing so, Mr. Seery installed on the Reorganized Debtor's
Oversight Board friendly faces who stand to make $370 million on ~$150 million investment. And Mr.
Seery's plan has already worked. Notably, while the confirmed Plan was characterized by the Debtor as
a monetization plan, 29 the newly installed Oversight Board supported, and the Court approved, paying
Mr. Seery the much more lucrative Case Resolution Fee, netting Mr. Seery $1.5 million more than he
was entitled to receive under his employment agreement.

        In a transparent bankruptcy proceeding, we question whether any of this could have happened.
What we do know is that the Debtor's non-transparent bankruptcy has ensured there will be nothing left
for residual stakeholders, while emiching a handful of intimately connected individuals and investors.

                                                    Value as of Aug. 2021     March 2022 High
                                                                              Estimate updated
                                                                              for MGM closing
     Asset                                         Low         High
     Cash as of 4/25/22                            $17.9       $17.9
                                      Targa Sale   $37.0       $37.0
                                 8/1 CLO Flows     $10.0       $10.0
                                Uchi Bldg. Sale    $9.0        $9.0
                                      Siepe Sale   $3.5        $3.5
                                  PetroCap Sale    $3.2        $3.2
                                 Park West Sale    $3.5        $3.5
                             HCLOF trapped cash    $25.0       $25.0
     Total Cash                                    $105.6      $105.6       $200
     Trussway                                      $180.0      $180.0       $180.0
     Cornerstone (125mm; 16%)                      $18.0       $18.0        $25.0
     HCLOF                                         $40.0       $40.0        $20.0

     CCS Medical (in CLOs and Highland             $20.0       $20.0        $30.0
     Restoration)
     MGM (direct ownership)                        $32.0       $32.0        $0.0
     Multi-Strat (45% of 100mm; MGM;               $45.0       $45.0        $30.0
     CCS)
     Korea Fund                                    $18.0       $18.0        $20.0
     Celtic (in Credit-Strat)                      $12.0       $40.0        $40.0
     SE Multifamily                                $0.0        $20.0        $20.0
     Affiliate Notes                               $0.0        $70.0        $70.0
     Other                                         $2.0        $10.0        $10.0

29
     See Dkt. 194., p.5.


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     Highland Restoration Capital Partners
     TOTAL                                              $472.6            $598.6          $645.0


The Bankruptcy Professionals are Draining the Estate

               Yet another troubling aspect of the Highland bankruptcy has been the rate at which Debtor
professionals have drained the Estate, largely through invented, unnecessary, and greatly overstaffed and
overworked offensive litigation. The sums expended between case filing and the effective date of the
Plan (the "Effective Date") are staggering:

 Professional                                                     Fees                         Ex[!enses
 Hunton Andrews Kurth                                             $1,147,059.42                $2,747.84
 FTI Consulting, Inc.                                             $6,176,551.20                $39,122.91
 Teneo Capital, LLC                                               $1,221,468.75                $6,257.07
 Marc Kirschner                                                   $137,096.77
 Sidley Austin LLP                                                $13,134,805.20               $211,841.25
 Pachulski Stang Ziehl & Jones                                    $23,978,627.25               $334,232.95
 Mercer (US) Inc.                                                 $202,317.65                  $2,449.37
 Deloitte Tax LLP                                                 $553,412.60
 Development Specialists, Inc.                                    $5,562,531.12                $206,609.54
 James Seery30                                                    $5,100,000.00
 Quinn Emanuel Urquhart & Sullivan, LLP
 Wilmer Cutler Pickering Hale & Dorr LLP                          $2,645,729.72                $5,207.53
 Kurtzman Carson Consultants LLC                                  $2,054,716.00
 Foley & Lardner LLP                                              $629,088.00
 Casey Olsen Cayman Limited                                       $280,264.00
 ASW Law Limited                                                  $4,976.00
 Houlihan Lokey Financial Advisors, Inc.                          $766,397.00
 Berger Hanis, LLP
 Hayward PLLC                                                     $825,629.50                 $46,482.92
                                                                  $64,420,670.18              $854,951.38

 Total Fees and Expenses                                                                       $65,275,621.56


"The [bankruptcy] estate is not a cash cow to be milked to death by professionals seeking compensation
for services rendered to the estate which have not produced a benefit commensurate with the fees sought."
In re Chas. A. Stevens & Co., 105 B.R. 866, 872 (Bankr. N.D. Ill. 1989).




30   This amount includes Mr. Seery's success fee, which was paid a month following the Effective Date.


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        The rate at which Debtor professionals have drained the estate is in stark contrast to the treatment
of the employees who stayed with the Debtor (without a key employee retention plan or key employee
incentive program) on the promise they would be made whole for prepetition deferred compensation that
had not yet vested, only to be stiffed and summarily terminated. Even worse, some of these employees
have been targeted by the litigation sub-trust for acts they took in the course and scope of their
employment.

        Following the Effective Date, siphoning of estate assets continues. Mr. Seery still receives base
compensation of $150,000 per month, and he expects to receive compensation of at least "a few million
dollars a year" according to his own deposition testimony. In addition, his retention was conditioned
upon receiving a to-be-negotiated success fee and severance payment (notably, none of which is disclosed
publicly).

        Likewise, Teneo Capital, LLC was retained as the litigation adviser. For its services post-
Effective Date, it is compensated $20,000 per month for Mr. Kirschner as trustee for the Litigation
Subtrust, plus the regularly hourly fees of any additional Teneo personnel, plus a "Litigation Recovery
Fee." The Litigation Recovery Fee is equal to 1.5% of Net Litigation Proceeds up to $100 million and
2.0% of Net Litigation Proceeds above. Interestingly, although "Net Litigation Proceeds" is defined as
gross litigation proceeds less certain fees incuned in pursing the litigation, net proceeds are not reduced
by Mr. Kirschner's monthly fee, contingency fees charged by any other professionals, or litigation
funding financing. Moreover, Teneo is given credit for any litigation recoveries regardless of whether
those recoveries stem from actions commenced by the litigation trustee. The Debtor has not disclosed,
and is not required to disclose, the terms upon which any professionals have been engaged following the
Effective Date, including Quinn Emanuel Urquhaii & Sullivan, LLP, counsel for the Litigation Subtrust.
Based upon pre-Effective Date monthly expenses, the number of lawyers that attend various matters on
behalf of the Debtor,31 and the addition of Quinn Emanuel Urquhart & Sullivan, LLP and Teneo, we
believe the Debtor could be spending as much as $5-$7 million per month.

        The Reorganized Debtor and the Highland Claimant Trust recently filed heavily redacted,
quarterly post-confirmation reports. 32 Of note, the Reorganized Debtor disclosed that it has disbursed
$81,983,611 since the Effective Date but disclosed that it has only paid $47,793 in priority claims and
$6,918,473 in general unsecured claims, while still estimating a total recovery to general unsecured
claims of $205,144,544. The Highland Claimant Trust disclosed that it has disbursed an additional
$7,152,331 since the Effective Date.

                                                   CONCLUSION

        The Highland bankruptcy is an extreme example of the abuses that can occur if the federal bench,
federal government appointees, and federal lawmakers do not police federal bankruptcy proceedings by

31 In connection with a recent two-day trial on an administrative claim, the Debtor was represented by John Mon-is ($1,245.00
per hour), Greg Demo ($950 per hour), and Hayley Winograd ($695 per hour), and was assisted by paralegal La Asia Canty
($460 per hour). The Debtor's local counsel, Zachery Annable ($300 per hour), was also present, and Jeffrey Pomerantz
($1,295 per hour) observed the trial via WebEx. Despite the army of lawyers, Mr. M01Tis handled virtually the entire
proceeding, with Ms. Winograd examining only two small witnesses. Messrs. Pomerantz, Demo, and Annable played no
active role in the proceedings.
32
   Dkt 3325 and 3326.


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permitting debtors-in-possession to hide material information, violate duties of transparency and candor,
and manipulate information and transactions to benefit disclosed and undisclosed insiders or "friends" of
insiders. Bankruptcy should not be an avenue for opportunistic venturers to prey upon companies to the
detriment of third-party stakeholders and the bankruptcy estate. We therefore encourage your office to
investigate the problems inherent in the Highland bankruptcy. At a minimum, we ask that the EOUST
seek orders from the Bankruptcy Court compelling the Debtor to undertake the following actions:

               1. turn over all financial repo1ts that should have been disclosed during the pendency of the
                  bankruptcy, including 2015.3 reports;

               2. provide a detailed disclosure of the assets Reorganized Debtor;

               3. provide a copy of the executed Claimant Trust Agreement, which should already have
                  been disclosed;

               4. disclose all solvency analyses p repared by the Debtor; and

               5. provide copies of all agreements for the engagement of Debtor professionals post-
                  confirmation, including the terms of Mr. Seery's success fee and severance agreement,
                  compensation agreements for personnel of the Reorganized Debtor, and the fee
                  arrangement w ith Quinn Emanuel Urquhart & Sullivan, LLP.

                                                       Sincerely,




DR:




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